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Fill in this information to identify the case:

Debtor name         Compass Medical P.C.

United States Bankruptcy Court for the:    DISTRICT OF MASSACHUSETTS - EASTERN DIVISION

Case number (if known)    23-10886
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                              $4,119,539.00
      From 1/01/2023 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                            $62,663,998.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other


      For year before that:                                                            Operating a business                           $141,045,031.00
      From 1/01/2021 to 12/31/2021
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Compass Medical P.C. v.                                               Suffolk Superior Court                        Pending
             Steward Medical Group, Inc.                                           3 Pemberton Square                          On appeal
             2017-1407-BLS-1                                                       Boston, MA 02108
                                                                                                                               Concluded

      7.2.   Richard Callanan on behalf of                                                                                       Pending
             himself and all others                                                52 Obery St #2041
                                                                                                                               On appeal
             simularly situated v.                                                 Plymouth, MA 02360
                                                                                                                               Concluded
             Compass Medical, P.C.
             2383CV00437

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
             Recipient's name and address              Description of the gifts or contributions                 Dates given                            Value


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Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received             If not money, describe any property transferred               Dates              Total amount or
               the transfer?                                                                                                                      value
               Address
      11.1.    Murphy & King, Professional
               Corportion
               28 State Street
               Suite 3101
               Boston, MA 02109                                                                                       2/2/23                  $10,000.00

               Email or website address


               Who made the payment, if not debtor?




      11.2.    Murphy & King, Professional
               Corportion
               28 State Street
               Suite 3101
               Boston, MA 02109                                                                                       2/9/23                  $10,000.00

               Email or website address


               Who made the payment, if not debtor?




      11.3.    Murphy & King, Professional
               Corportion
               28 State Street
               Suite 3101
               Boston, MA 02109                                                                                       2/28/23                 $15,000.00

               Email or website address


               Who made the payment, if not debtor?




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               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.4.    Murphy & King, Professional
               Corportion
               28 State Street
               Suite 3101
               Boston, MA 02109                                                                                        4/13/23                  $29,588.12

               Email or website address


               Who made the payment, if not debtor?




      11.5.    Murphy & King, Professional
               Corportion
               28 State Street
               Suite 3101
               Boston, MA 02109                                                                                        5/9/23                   $20,660.52

               Email or website address


               Who made the payment, if not debtor?




      11.6.    Murphy & King, Professional
               Corportion
               28 State Street
               Suite 3101
               Boston, MA 02109                                                                                        6/2/23                   $66,481.86

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses

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    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      No. Go to Part 9.
          Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services             If debtor provides meals
                                                       the debtor provides                                                      and housing, number of
                                                                                                                                patients in debtor’s care
      15.1.    Compass Medical                         Health care facility
               8 Commerce Blvd.,
               Middleboro, MA 02021
                                                       Location where patient records are maintained (if different from         How are records kept?
                                                       facility address). If electronic, identify any service provider.
                                                                                                                                Check all that apply:

                                                                                                                                 Electronically
                                                                                                                                 Paper
      15.2.    Compass Medical                         Health care facility
               15-21 Bristol Drive
               Easton, MA 02021
                                                       Location where patient records are maintained (if different from         How are records kept?
                                                       facility address). If electronic, identify any service provider.
                                                                                                                                Check all that apply:

                                                                                                                                 Electronically
                                                                                                                                 Paper
      15.3.    Compass Medical                         Health care facility
               1 Compass Way
               East Bridgewater, MA
                                                       Location where patient records are maintained (if different from         How are records kept?
                                                       facility address). If electronic, identify any service provider.
                                                                                                                                Check all that apply:

                                                                                                                                 Electronically
                                                                                                                                 Paper
      15.4.    Compass Medical                         Health care facility
               152 Dean Street
               Units 9 and 14
                                                       Location where patient records are maintained (if different from         How are records kept?
               Taunton, MA                             facility address). If electronic, identify any service provider.
                                                                                                                                Check all that apply:

                                                                                                                                 Electronically
                                                                                                                                 Paper
      15.5.    Compass Medical                         Health care facility
               152 Dean Street
               Units 15, 16, 17
                                                       Location where patient records are maintained (if different from         How are records kept?
               Taunton, MA                             facility address). If electronic, identify any service provider.
                                                                                                                                Check all that apply:

                                                                                                                                 Electronically
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                Facility name and address              Nature of the business operation, including type of services            If debtor provides meals
                                                       the debtor provides                                                     and housing, number of
                                                                                                                               patients in debtor’s care
                                                                                                                                Paper
      15.6.     Compass Medical                        Health care facility
                54 Miller Street
                Quincy, MA
                                                       Location where patient records are maintained (if different from        How are records kept?
                                                       facility address). If electronic, identify any service provider.
                                                                                                                               Check all that apply:

                                                                                                                                Electronically
                                                                                                                                Paper
      15.7.     Compass Medical                        Health care facility
                10 Forbes Road
                Suite 190E
                                                       Location where patient records are maintained (if different from        How are records kept?
                Braintree, MA                          facility address). If electronic, identify any service provider.
                                                                                                                               Check all that apply:

                                                                                                                                Electronically
                                                                                                                                Paper

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      No.
          Yes. State the nature of the information collected and retained.

                 Patient records
                 Does the debtor have a privacy policy about that information?
                  No
                  Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Compass Medical, P.C. Employee Profit Sharing Plan                                  EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Iron Mountain                                          Tammy DiPietro                        Archived records                             No
                                                                                                                                                Yes


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.


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      Case title                                           Court or agency name and              Nature of the case                            Status of case
      Case number                                          address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                      Do not include Social Security number or ITIN.

                                                                                                      Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26a.1.        John D.


      26a.2.        Kelly Conclan


      26a.3.        Nicole Redette


      26a.4.        Merilyn Troudeau


      26a.5.        Michelle Paynter


      26a.6.        Katherine Paynter


      26a.7.        Rosemary Flood



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.


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           None
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Brookline Bank
                    131 Clarendon St.
                    Boston, MA 02116
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.2.        Brian Chrisholm
                    Cain & Cain
                    Fall River

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Jamie Barber


      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      John Donovan


      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Trish Corcoran


      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Bruce Weinstein                                                                             Board Member


      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Dhrur Shah                                                                                  Board Member


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      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Michael Achey                                                                              Board Member


      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      John Cavallo                                                                               Board Member


      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Ed Hassan                                                                                  Board Member


      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Karen Allard                                                                               Board Member


      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Shuchi Gupta                                                                               Board Member




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      No
          Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Dr. Michael Myers                      185 Spring Street                                   None
                                             Hull, MA 02045


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

          No
      Yes. Identify below.
             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.


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   Name of the pension fund                                                                    Employer Identification number of the pension
                                                                                               fund




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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge, information, and belief.

Executed on         June 20, 2023

   /s/ Jamie Barber                                             Jamie Barber
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor
                                      Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                    Doc      SOFA06/23/23
                                        37 Filed  Question 3:Entered
                                                              Payments  in 90 Days
                                                                     06/23/23      Prepetition
                                                                               17:36:44   Desc Main
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Payment History Report
Sorted By Check Number
Activity From: 3/1/2023 to 5/31/2023
                                                                                                       COMPASS MEDICAL, PC (PHA)

Bank Code:    C EASTERN BANK CKING

Check            Check          Vendor
Number/          Date           Number         Name           Discount                             Check Amount      Check Type
      Invoice Number                      Invoice Date        Amount            Invoice Amount
026836               3/7/2023   PETTYBI        COMPASS MEDICAL                                          92,829.24    Auto
       3/23TRANSFER                       3/7/2023                       0.00          92,829.24
026837           4/18/2023      PETTYBI         COMPASS MEDICAL                                         50,000.00    Auto
       4/23TRANSFER                       4/18/2023                      0.00          50,000.00
026838           4/20/2023      PETTYBI         COMPASS MEDICAL                                         31,000.00    Auto
         4/23TRANS                        4/19/2023                      0.00         31,000.00
                                                                                   Bank C Total:        173,829.24




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Bank Code:        D

Check            Check            Vendor
Number/          Date             Number           Name             Discount                             Check Amount      Check Type
      Invoice Number                          Invoice Date          Amount            Invoice Amount
000628                3/3/2023    CABLE             COMCAST                                                       89.04    Manual
         1/23EIM                              1/7/2023                         0.00              89.04
000629                3/3/2023    CABLE             COMCAST                                                       89.05    Manual
         1/23EFM                              1/14/2023                        0.00              89.05
000630                3/3/2023    REPUBLI           REPUBLIC SERVICES INC                                        105.40    Manual
         05766                                1/25/2023                        0.00             105.40
000631                3/3/2023    REPUBLI           REPUBLIC SERVICES INC                                        159.71    Manual
         05960                                1/25/2023                        0.00             159.71
000632                3/3/2023    REPUBLI           REPUBLIC SERVICES INC                                        127.55    Manual
         08002                                1/25/2023                        0.00             127.55
000633                3/3/2023    REPUBLI           REPUBLIC SERVICES INC                                       4,236.97   Manual
         10051                                1/25/2023                        0.00           4,236.97
000634                3/10/2023   EASTON2           EASTON 21 BRISTOL, LLC                                    106,555.40   Manual
       RENT022123                             2/21/2023                     0.00            106,555.40
000635           3/10/2023        362BED            362 N BEDFORD STREET, LLC                                  11,939.72   Manual
       RENT022123                             2/21/2023                    0.00              11,939.72
000636           3/10/2023        EQU IND           EQUITY INDUSTRIAL SOUTHEAST LP                            120,983.33   Manual
       RENT022123                             2/21/2023                     0.00            120,983.33
000637           3/10/2023        MILLERS           MILLER STREET MIEDICAL CENTER, LLC                         73,364.22   Manual
       RENT022123                             2/21/2023                   0.00               73,364.22
000638           3/10/2023        COMPMB            CT COMPASS MIDDLEBOROUGH LLC                               75,101.73   Manual
       RENT022123                             2/21/2023                  0.00                75,101.73
000639           3/10/2023        COSAN             CHRONIC CARE MANAGEMENT INC                                86,295.70   Manual
       DECEMBER2022                           12/31/2022                   0.00              86,295.70
000640          3/10/2023         QUADIEN          QUADIENT FINANCE USA INC                                      601.01    Manual
         2/23EAIM                             2/7/2023                      0.00                601.01
000641                3/10/2023   QUADIEN           QUADIENT FINANCE USA INC                                    4,121.60   Manual
         2/23EB                               2/13/2023                     0.00              4,121.60
000642                3/10/2023   QUAD L            QUADIENT LEASING USA, INC.                                   191.26    Manual
         N9813048                             2/15/2023                     0.00                191.26
000643                3/10/2023   BRAIN             BRAINTREE ELECTRIC LIGHT DEPT                                641.20    Manual
         1/23BN981                            1/20/2023                     0.00                328.79
         2/23BN981                            2/20/2023                     0.00                312.41
000644                3/10/2023   BRAIN             BRAINTREE ELECTRIC LIGHT DEPT                                866.87    Manual
         1/23BN830                            1/19/2023                        0.00             441.10
         2/23BN830                            2/19/2023                        0.00             425.77
000645                3/10/2023   DOXY.ME           DOXY.ME LLLC                                                2,200.00   Manual
       3C364319-0031                          1/16/2023                   0.00                2,200.00
000646            3/10/2023       FORBES            TEN FORBES ASSOCIATES                                      23,185.00   Manual
       RENT022123                             2/21/2023                        0.00          23,185.00
000647           3/10/2023        NATIONA           NATIONAL GRID                                              52,416.33   Manual
         1/23BO106                            1/17/2023                        0.00              18.38
         1/23BO248                            1/16/2023                        0.00              78.76
         1/23BO310                            1/16/2023                        0.00             904.50
         1/23BO311                            1/16/2023                        0.00             902.23
         1/23BO513                            1/17/2023                        0.00             195.70
         1/23BO523                            1/17/2023                        0.00              80.13
         1/23BO536                            1/17/2023                        0.00              63.07
         1/23BO537                            1/17/2023                        0.00              86.08
         1/23BO557                            1/17/2023                        0.00             407.12
         1/23BO559                            1/17/2023                        0.00             229.78
         1/23BO596                            1/17/2023                        0.00              69.03
         1/23BO943                            1/16/2023                        0.00             127.10
         1/23EB136                            1/16/2023                        0.00           5,812.20
         1/23EB199                            1/16/2023                        0.00           2,837.89
         1/23EB206                            1/16/2023                        0.00          11,507.11

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Bank Code:        D

Check            Check            Vendor
Number/          Date             Number           Name             Discount                             Check Amount     Check Type
      Invoice Number                          Invoice Date          Amount            Invoice Amount
         1/23EB302                            1/16/2023                        0.00               9.64
         1/23EB306                            1/16/2023                        0.00           2,550.19
         1/23EB388                            1/16/2023                        0.00           1,288.18
         1/23EB406                            1/16/2023                        0.00           1,314.41
         1/23EB487                            1/16/2023                        0.00           1,127.89
         1/23EB488                            1/16/2023                        0.00             364.74
         1/23EB490                            1/16/2023                        0.00             259.72
         1/23QU035                            1/13/2023                        0.00           2,388.32
         1/23QU169                            1/13/2023                        0.00           2,281.05
         1/23QU551                            1/13/2023                        0.00              18.38
         1/23QU556                            1/13/2023                        0.00           2,015.78
         1/23QU574                            1/13/2023                        0.00              54.32
         1/23QU679                            1/13/2023                        0.00           2,868.21
         1/23QU847                            1/13/2023                        0.00           5,669.55
         1/23QU918                            1/13/2023                        0.00           3,794.83
         1/23QU933                            1/13/2023                        0.00           3,109.57
         2/23BO513                            2/14/2023                        0.00             -17.53
000648                3/10/2023   CABLE             COMCAST                                                      206.05   Manual
         1/23TAU                              1/5/2023                         0.00             206.05
000649                3/10/2023   CABLE             COMCAST                                                      322.92   Manual
         1/23MBRO                             1/15/2023                        0.00             322.92
000650                3/10/2023   SPRINT            SPRINT                                                       199.22   Manual
         1/23ADMIN                            1/7/2023                         0.00             199.22
000651                3/10/2023   CABLE             COMCAST                                                      155.30   Manual
         1/23BO                               1/21/2023                        0.00             155.30
000652                3/10/2023   VE2175            VERIZON                                                      110.53   Manual
         1/23ADMIN                            1/22/2023                        0.00             110.53
000653                3/10/2023   VE2197            VERIZON                                                      364.08   Manual
         1/23POTS                             1/28/2023                        0.00             364.08
000654                3/10/2023   VE2036            VERIZON                                                      720.12   Manual
         1/23POTS                             1/22/2023                  0.00                   720.12
000655                3/10/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                    183.28   Manual
                                                    MASSACHUSETTS
         1/23BO769                            1/26/2023                  0.00                   183.28
000656                3/10/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                    147.40   Manual
                                                    MASSACHUSETTS
         1/23BO418                            1/26/2023                  0.00                   147.40
000657                3/10/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                    697.62   Manual
                                                    MASSACHUSETTS
         1/23TAU                              1/24/2023                  0.00                   697.62
000658                3/10/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                  3,437.98   Manual
                                                    MASSACHUSETTS
         1/23EB                               1/26/2023                  0.00                 3,437.98
000659                3/10/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                    765.40   Manual
                                                    MASSACHUSETTS
         1/23BO403                            1/26/2023                  0.00                   765.40
000660                3/10/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                    855.11   Manual
                                                    MASSACHUSETTS
         1/23HH                               1/26/2023                  0.00                   855.11
000661                3/10/2023   NATIONA           NATIONAL GRID                                              1,454.99   Manual
         1/23EB489                            1/16/2023                        0.00           1,454.99
000662                3/10/2023   NATIONA           NATIONAL GRID                                                981.51   Manual
         1/23EB216                            1/16/2023                        0.00             981.51
000663                3/10/2023   NATIONA           NATIONAL GRID                                                 10.08   Manual
         1/23EB196                            1/16/2023                        0.00              10.08
000664                3/10/2023   NATIONA           NATIONAL GRID                                                201.97   Manual
         1/23EB472                            1/16/2023                        0.00             201.97
000665                3/10/2023   NATIONA           NATIONAL GRID                                                153.02   Manual

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Bank Code:        D

Check            Check            Vendor
Number/          Date             Number           Name             Discount                             Check Amount     Check Type
      Invoice Number                          Invoice Date          Amount            Invoice Amount
         1/23EB137                            1/16/2023                        0.00             153.02
000666                3/10/2023   NATIONA           NATIONAL GRID                                              1,235.00   Manual
         1/23EB198                            1/16/2023                        0.00           1,235.00
000667                3/10/2023   NATIONA           NATIONAL GRID                                              1,175.57   Manual
         1/23EB468                            1/16/2023                        0.00           1,175.57
000668                3/10/2023   NATIONA           NATIONAL GRID                                              5,874.44   Manual
         1/23EB397                            1/16/2023                        0.00           5,874.44
000669                3/10/2023   NATIONA           NATIONAL GRID                                              2,260.77   Manual
         1/23EB382                            1/16/2023                        0.00           2,260.77
000670                3/10/2023   NATIONA           NATIONAL GRID                                                179.14   Manual
         1/23EB409                            1/16/2023                        0.00             179.14
000671                3/10/2023   NATIONA           NATIONAL GRID                                              3,863.47   Manual
         1/23EB391                            1/16/2023                        0.00           3,863.47
000672                3/23/2023   CABLE             COMCAST                                                      176.85   Manual
         2/23EFM                              2/14/2023                        0.00              89.06
         3/23EFM                              3/14/2023                        0.00              87.79
000673                3/23/2023   CABLE             COMCAST                                                      674.60   Manual
         2/23BRAIN                            2/8/2023                         0.00             337.30
         3/23BRAIN                            3/8/2023                         0.00             337.30
000674                3/23/2023   CABLE             COMCAST                                                      888.98   Manual
         2/23/QUIN                            2/2/2023                         0.00             444.49
         3/23QUIN                             3/2/2023                         0.00             444.49
000675                3/23/2023   CABLE             COMCAST                                                      561.04   Manual
         2/23HH                               2/1/2023                         0.00             280.52
         3/23HH                               3/1/2023                         0.00             280.52
000676                3/23/2023   CABLE             COMCAST                                                      176.85   Manual
         2/23EA                               2/1/2023                         0.00              89.06
         3/23EA                               3/1/2023                         0.00              87.79
000677                3/23/2023   CABLE             COMCAST                                                      410.86   Manual
         2/23TAU                              2/5/2023                         0.00             206.06
         3/23TAU                              3/5/2023                         0.00             204.80
000678                3/23/2023   CABLE             COMCAST                                                       88.06   Manual
         2/23MBXR                             2/1/2023                         0.00              88.06
000679                3/23/2023   CABLE             COMCAST                                                       89.06   Manual
         2/23EASX                             2/1/2023                         0.00              89.06
000680                3/23/2023   CABLE             COMCAST                                                       89.05   Manual
         2/23EIM                              2/7/2023                         0.00              89.05
000681                3/23/2023   CABLE             COMCAST                                                      272.80   Manual
         2/23EB                               2/4/2023                         0.00             272.80
000682                3/23/2023   CABLE             COMCAST                                                      333.01   Manual
         2/23MBRO                             2/15/2023                        0.00             333.01
000683                3/23/2023   CABLE             COMCAST                                                      215.19   Manual
         2/23BO                               2/21/2023                        0.00             215.19
000684                3/24/2023   SPRINT            SPRINT                                                       199.22   Manual
         2/23ADMIN                            2/7/2023                         0.00             199.22
000685                3/24/2023   VE2175            VERIZON                                                      109.82   Manual
         2/23ADMIN                            2/22/2023                        0.00             109.82
000686                3/24/2023   VE7931            VERIZON                                                       49.11   Manual
         2/23TAU                              2/6/2023                         0.00              49.11
000687                3/24/2023   VE2197            VERIZON                                                      363.62   Manual
         2/23POTS                             2/28/2023                     0.00                363.62
000688                3/24/2023   TMLP              TAUNTON MUNICIPAL LIGHT PLANT                              2,037.83   Manual
         2/23TAU                              2/14/2023                     0.00              2,037.83
000689                3/24/2023   QUADIEN           QUADIENT FINANCE USA INC                                     400.00   Manual
         2/23EFM                              2/21/2023                     0.00                400.00
000690                3/24/2023   QUADIEN           QUADIENT FINANCE USA INC                                   1,000.00   Manual

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                                                                                                             COMPASS MEDICAL, PC (PHA)

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Check            Check            Vendor
Number/          Date             Number           Name             Discount                             Check Amount     Check Type
      Invoice Number                          Invoice Date          Amount            Invoice Amount
         2/23TAU                              2/27/2023                     0.00              1,000.00
000691                3/24/2023   QUADIEN           QUADIENT FINANCE USA INC                                     253.56   Manual
         2/23MDLPC                            2/21/2023                     0.00                253.56
000692                3/24/2023   QUADIEN           QUADIENT FINANCE USA INC                                     380.00   Manual
         2/23QB                               2/28/2023                        0.00             380.00
000693                3/24/2023   NATIONA           NATIONAL GRID                                              1,674.54   Manual
         2/23EB198                            2/14/2023                        0.00           1,674.54
000694                3/24/2023   NATIONA           NATIONAL GRID                                              1,063.42   Manual
         2/23EB216                            2/14/2023                        0.00           1,063.42
000695                3/24/2023   NATIONA           NATIONAL GRID                                              1,598.01   Manual
         2/23EB489                            2/14/2023                        0.00           1,598.01
000696                3/24/2023   NATIONA           NATIONAL GRID                                              1,262.57   Manual
         2/23EB468                            2/14/2023                        0.00           1,262.57
000697                3/24/2023   NATIONA           NATIONAL GRID                                                189.16   Manual
         2/23EB409                            2/14/2023                        0.00             189.16
000698                3/24/2023   NATIONA           NATIONAL GRID                                              2,367.69   Manual
         2/23EB382                            2/14/2023                        0.00           2,367.69
000699                3/24/2023   NATIONA           NATIONAL GRID                                                142.39   Manual
         2/23EB137                            2/14/2023                        0.00             142.39
000700                3/24/2023   NATIONA           NATIONAL GRID                                              3,759.62   Manual
         2/23EB391                            2/14/2023                        0.00           3,759.62
000701                3/24/2023   NATIONA           NATIONAL GRID                                              2,057.21   Manual
         2/23EB397                            2/14/2023                        0.00           2,057.21
000702                3/24/2023   NATIONA           NATIONAL GRID                                                 10.10   Manual
         2/23EB196                            2/14/2023                        0.00              10.10
000703                3/24/2023   NATIONA           NATIONAL GRID                                                212.89   Manual
         2/23EB472                            2/14/2023                        0.00             212.89
000704                3/24/2023   NATIONA           NATIONAL GRID                                             55,958.36   Manual
         2/23BO106                            2/14/2023                        0.00              21.64
         2/23BO248                            2/14/2023                        0.00              92.87
         2/23BO310                            2/14/2023                        0.00             909.32
         2/23BO311                            2/14/2023                        0.00           1,044.75
         2/23BO523                            2/14/2023                        0.00              82.43
         2/23BO536                            2/14/2023                        0.00              73.67
         2/23BO537                            2/14/2023                        0.00             142.77
         2/23BO557                            2/14/2023                        0.00             529.23
         2/23BO559                            2/14/2023                        0.00             131.72
         2/23BO596                            2/14/2023                        0.00              57.57
         2/23BO943                            2/14/2023                        0.00             155.58
         2/23EB136                            2/14/2023                        0.00           6,104.59
         2/23EB199                            2/14/2023                        0.00           3,418.03
         2/23EB206                            2/14/2023                        0.00          12,421.09
         2/23EB302                            2/14/2023                        0.00               9.74
         2/23EB306                            2/14/2023                        0.00           2,565.79
         2/23EB388                            2/14/2023                        0.00           1,817.99
         2/23EB406                            2/14/2023                        0.00           1,383.40
         2/23EB487                            2/14/2023                        0.00           1,174.65
         2/23EB488                            2/14/2023                        0.00             385.11
         2/23EB490                            2/14/2023                        0.00             267.99
         2/23QU035                            2/13/2023                        0.00           2,939.48
         2/23QU169                            2/13/2023                        0.00           2,896.63
         2/23QU551                            2/13/2023                        0.00              19.78
         2/23QU556                            2/13/2023                        0.00           2,141.14
         2/23QU574                            2/13/2023                        0.00              53.86
         2/23QU679                            2/13/2023                        0.00           3,496.88
         2/23QU847                            2/13/2023                        0.00           3,340.26


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Number/          Date             Number           Name             Discount                             Check Amount      Check Type
      Invoice Number                          Invoice Date          Amount            Invoice Amount
         2/23QU918                            2/13/2023                    0.00               4,569.76
         2/23QU933                            2/13/2023                    0.00               3,710.64
000705                3/24/2023   SMS               SIEMENS MEDICAL SOLUTIONS                                  18,605.26   Manual
         116331659                            2/10/2023                    0.00           11,614.18
         116333491                            2/16/2023                    0.00            6,991.08
000706                3/24/2023   WHEELER           WHEELER FINANCIAL FROM PITNEY BOWES INC                     4,305.11   Manual
         10051                                2/23/2023                        0.00           4,305.11
000707                3/28/2023   MIRICK            MIRICK O'CONNELL                                           25,000.00   Manual
       3/23RETAINER                           3/27/2023                        0.00          25,000.00
000708            3/28/2023       HPI               HEALTH PLANS, INC.                                         31,890.26   Manual
       3/14/23CLAIMS                          3/14/2023                   0.00               31,890.26
000709            3/30/2023       MAGMUTU           MAGMUTUAL INSURANCE COMPANY                               123,505.07   Manual
         146107                               3/1/2023                         0.00         123,505.07
000710                3/30/2023   BAY               BAY COPY                                                   11,165.04   Manual
         33378580                             2/3/2023                         0.00          11,165.04
000711                3/30/2023   JUNIPER           JUNIPER NETWORKS INC                                       12,628.39   Manual
         5023803907                           2/4/2023                         0.00          12,628.39
000712                3/30/2023   COMCAST           COMCAST                                                    18,440.16   Manual
         166004376                            2/15/2023                        0.00          18,440.16
000713                3/30/2023   REPUBLI           REPUBLIC SERVICES INC                                        110.49    Manual
         17349                                2/25/2023                        0.00             110.49
000714                3/30/2023   REPUBLI           REPUBLIC SERVICES INC                                        132.69    Manual
         19715                                2/25/2023                        0.00             132.69
000715                3/30/2023   REPUBLI           REPUBLIC SERVICES INC                                       1,526.49   Manual
         21804                                2/25/2023                    0.00               1,526.49
000716                3/30/2023   CAN FIN           CANON FINANCIAL SERVICES, INC                               6,375.24   Manual
         29961729                             2/7/2023                   0.00                 1,919.06
         29961730                             2/7/2023                   0.00                 4,456.18
000717                3/31/2023   COSAN             CHRONIC CARE MANAGEMENT INC                                89,607.70   Manual
       6063                                   2/13/2023                     0.00                -23.10
       JANUARY2023                            1/31/2023                     0.00             89,630.80
000718          4/3/2023          362BED            362 N BEDFORD STREET, LLC                                  11,939.72   Manual
       RENT032223                             3/22/2023                   0.00               11,939.72
000719           4/3/2023         COMPMB            CT COMPASS MIDDLEBOROUGH LLC                               81,860.88   Manual
       RENT022123                             2/21/2023                        0.00           2,253.05
       RENT032223                             3/22/2023                        0.00          77,354.78
       RENT101822                             10/18/2022                       0.00           2,253.05
000720           4/3/2023         DOXY.ME           DOXY.ME LLLC                                                2,200.00   Manual
       3C364319-0032                          2/16/2023                        0.00           2,200.00
000721            4/3/2023        EASTON2           EASTON 21 BRISTOL, LLC                                    106,555.40   Manual
       RENT032223                             3/22/2023                    0.00             106,555.40
000722           4/3/2023         EQU IND           EQUITY INDUSTRIAL SOUTHEAST LP                            120,983.33   Manual
       RENT032223                             3/22/2023                     0.00            120,983.33
000723           4/3/2023         MILLERS           MILLER STREET MIEDICAL CENTER, LLC                         73,364.22   Manual
       RENT032223                             3/22/2023                   0.00               73,364.22
000724           4/3/2023         FORBES            TEN FORBES ASSOCIATES                                      23,185.00   Manual
       RENT032223                             3/22/2023                        0.00          23,185.00
000725           4/7/2023         CABLE             COMCAST                                                       88.06    Manual
         3/23MBXR                             3/1/2023                         0.00              88.06
000726                4/7/2023    CABLE             COMCAST                                                       87.79    Manual
         3/23EASX                             3/1/2023                         0.00              87.79
000727                4/7/2023    CABLE             COMCAST                                                       87.78    Manual
         3/23EIM                              3/7/2023                         0.00              87.78
000728                4/7/2023    CABLE             COMCAST                                                      272.80    Manual
         3/23EB                               3/4/2023                      0.00                272.80
000729                4/7/2023    QUADIEN           QUADIENT FINANCE USA INC                                     442.01    Manual

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Check            Check            Vendor
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      Invoice Number                           Invoice Date          Amount            Invoice Amount
         3/23EAIM                              3/10/2023                        0.00             442.01
000730                4/7/2023    SPRINT             SPRINT                                                       199.22    Manual
         3/23ADMIN                             3/7/2023                         0.00             199.22
000731                4/7/2023    VE7931             VERIZON                                                       49.12    Manual
         3/23TAU                               3/6/2023                         0.00              49.12
000732                4/13/2023   SANOFI             SANOFI PASTEUR INC                                         12,205.89   Manual
         920164930                             1/26/2023                        0.00           1,019.49
         920164931                             1/26/2023                        0.00           2,676.83
         920186603                             2/2/2023                         0.00           2,581.25
         920210839                             2/8/2023                         0.00           2,934.90
         920287930                             3/2/2023                         0.00           2,993.42
000733                4/13/2023   K3                 K3 GROUP LLC                                               15,000.00   Manual
         CMPC 001                              4/13/2023                        0.00          15,000.00
000734                4/13/2023   MURPH              MURPHY & KING, PC                                          29,588.12   Manual
         95636                                 4/13/2023                     0.00               -260.00
         95661                                 3/31/2023                     0.00             29,848.12
000735                4/13/2023   QUADIEN            QUADIENT FINANCE USA INC                                    4,030.30   Manual
         3/23EB                                3/16/2023                     0.00              4,030.30
000736                4/18/2023   USI INS            USI INSURANCE SERVICES LLC                                  1,867.00   Manual
         4526783                               3/10/2023                    0.00            1,867.00
000737                4/18/2023   WHEELER            WHEELER FINANCIAL FROM PITNEY BOWES INC                     6,665.97   Manual
         11027                                 3/12/2023                        0.00           6,665.97
000738                4/20/2023   SANOFI             SANOFI PASTEUR INC                                         14,432.61   Manual
         919892082                             11/30/2022                    0.00             13,389.41
         920157243                             1/24/2023                     0.00                381.00
         920193807                             2/6/2023                      0.00                571.50
         920239009                             2/16/2023                     0.00                 90.70
000739                4/20/2023   QUADIEN            QUADIENT FINANCE USA INC                                     439.00    Manual
         3/23EFM                               3/24/2023                     0.00                439.00
000740                4/20/2023   QUADIEN            QUADIENT FINANCE USA INC                                     339.00    Manual
         3/23MDLPC                             3/24/2023                        0.00             339.00
000741                4/24/2023   HPI                HEALTH PLANS, INC.                                        372,425.69   Manual
       4/3/23CLAIMS                            4/3/2023                    0.00              372,425.69
000742            4/25/2023       AFCO               AFCO CREDIT CORPORATION                                     4,936.16   Manual
       4/23DOWNPAYMENT                         4/13/2023                   0.00                4,936.16
000743          4/25/2023         AFCO               AFCO CREDIT CORPORATION                                     4,936.16   Manual
       4/20/23INSTALLMENT                      4/20/2023                   0.00                4,936.16
000744             4/26/2023      ROGERS             ROGERS & GRAY INSURANCE AGENCY                             14,821.63   Manual
         485                                   4/5/2023                      0.00             14,821.63
000745                4/27/2023   QUADIEN            QUADIENT FINANCE USA INC                                    1,000.00   Manual
         3/23TAU                               3/30/2023                     0.00              1,000.00
000746                4/27/2023   QUADIEN            QUADIENT FINANCE USA INC                                    1,003.00   Manual
         3/23QB                                3/31/2023                   0.00                1,003.00
000747                4/27/2023   HANOV              THE HANOVER INSURANCE COMPANY                                359.90    Manual
         4/23MARINS                            4/3/2023                   0.00                   359.90
000748                4/27/2023   EVERSOU            EVERSOURCE GAS COMPANY OF                                    681.41    Manual
                                                     MASSACHUSETTS
         3/23HH                                3/27/2023                  0.00                   681.41
000749                4/27/2023   EVERSOU            EVERSOURCE GAS COMPANY OF                                    179.25    Manual
                                                     MASSACHUSETTS
         3/27BO418                             3/27/2023                  0.00                   136.47
         4/23BO418                             4/26/2023                  0.00                    42.78
000750                4/27/2023   EVERSOU            EVERSOURCE GAS COMPANY OF                                   2,389.66   Manual
                                                     MASSACHUSETTS
         3/23EB                                3/27/2023                  0.00                 2,389.66
000751                4/27/2023   EVERSOU            EVERSOURCE GAS COMPANY OF                                    304.15    Manual
                                                     MASSACHUSETTS

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         3/23BO769                            3/27/2023                       0.00             130.31
         4/23BO769                            4/26/2023                       0.00             173.84
000752                5/2/2023    VE2036            VERIZON                                                     785.02   Manual
         3/23POTS                             3/22/2023                       0.00             785.02
000753                5/2/2023    SANOFI            SANOFI PASTEUR INC                                        4,399.11   Manual
         920173713                            1/30/2023                     0.00               681.14
         920223587                            2/13/2023                     0.00             3,717.97
000754                5/9/2023    BRAIN             BRAINTREE ELECTRIC LIGHT DEPT                               602.71   Manual
         3/23BN981                            3/20/2023                     0.00               296.95
         4/23BN981                            4/20/2023                     0.00               305.76
000755                5/9/2023    BRAIN             BRAINTREE ELECTRIC LIGHT DEPT                               765.09   Manual
         3/23BN830                            3/19/2023                   0.00                 354.46
         4/23BN830                            4/19/2023                   0.00                 410.63
000756                5/10/2023   MCKESSO           MCKESSON MEDICAL-SURGICAL INC.                           33,085.43   Manual
         12394354                             11/30/2022                    0.00                 6.17
         12520809                             2/28/2023                     0.00               562.85
         14231896                             10/8/2020                     0.00                10.00
         49563371                             11/21/2022                    0.00               484.05
         52397383                             2/13/2023                     0.00               706.99
         52405478                             2/14/2023                     0.00                82.90
         52406112                             2/14/2023                     0.00             1,416.08
         52438439                             2/14/2023                     0.00                96.33
         52459614                             2/15/2023                     0.00               680.11
         52474377                             2/15/2023                     0.00               680.11
         52476840                             2/15/2023                     0.00               103.80
         52502672                             2/15/2023                     0.00               113.79
         52502782                             2/15/2023                     0.00               178.50
         52569164                             2/17/2023                     0.00               323.34
         52698482                             2/22/2023                     0.00               805.00
         52710625                             2/22/2023                     0.00               408.99
         52710724                             2/22/2023                     0.00               279.97
         52753878                             2/23/2023                     0.00                36.30
         52827494                             2/26/2023                     0.00             3,228.02
         52827553                             2/26/2023                     0.00               956.46
         52838183                             2/27/2023                     0.00               483.89
         52885400                             2/28/2023                     0.00               218.87
         52922449                             2/28/2023                     0.00             1,012.48
         52971155                             3/1/2023                      0.00             2,110.64
         52971240                             3/1/2023                      0.00             1,030.23
         53012396                             3/2/2023                      0.00             1,126.36
         53063483                             3/3/2023                      0.00             2,797.26
         53068557                             3/5/2023                      0.00             2,499.00
         53068769                             3/5/2023                      0.00               595.00
         53137907                             3/7/2023                      0.00               562.04
         53181934                             3/8/2023                      0.00               901.87
         53197815                             3/8/2023                      0.00                85.42
         53228773                             3/9/2023                      0.00               175.29
         53234380                             3/9/2023                      0.00               805.00
         53239040                             3/9/2023                      0.00                35.90
         53249423                             3/9/2023                      0.00                37.19
         53280988                             3/10/2023                     0.00               639.36
         53311613                             3/12/2023                     0.00             5,901.39
         53325316                             3/13/2023                     0.00               456.98
         53457700                             3/15/2023                     0.00               451.50
000757                5/10/2023   MILLERS           MILLER STREET MIEDICAL CENTER, LLC                       23,535.58   Manual
         CAM 050123                           5/1/2023                     0.00             23,535.58
000758                5/10/2023   EQU IND           EQUITY INDUSTRIAL SOUTHEAST LP                           81,826.02   Manual

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      Invoice Number                          Invoice Date           Amount            Invoice Amount
       CAM 050123                             5/1/2023                    0.00                   826.02
       RENT041923                             4/19/2023                   0.00                81,000.00
000759            5/10/2023       COMPMB            CT COMPASS MIDDLEBOROUGH LLC                               52,665.11   Manual
         CAM 050123                           5/1/2023                          0.00          52,665.11
000760                5/10/2023   EASTON2           EASTON 21 BRISTOL, LLC                                     39,090.57   Manual
         CAM 050123                           5/1/2023                     0.00               39,090.57
000761                5/10/2023   ALTUS             ALTUS DENTAL INSURANCE COMPANY, INC.                       23,018.06   Manual
       3/1/23CLAIMS                           3/1/2023                          0.00           8,505.36
       3/15/23CLAIMS                          3/15/2023                         0.00          14,512.70
000762            5/10/2023       AG EIP            AG-EIP INDUSTRIAL 9, LLC                                    2,019.19   Manual
         CAM 050123                           5/1/2023                      0.00               2,019.19
000763                5/10/2023   362BED            362 N BEDFORD STREET, LLC                                   7,938.33   Manual
         CAM 050123                           5/1/2023                          0.00           7,938.33
000764                5/10/2023   MURPH             MURPHY & KING, PC                                          20,660.52   Manual
         95781                                4/30/2023                  0.00                 20,660.52
000765                5/10/2023   COSAN             CHRONIC CARE MANAGEMENT INC                                45,000.00   Manual
         6081                                 2/28/2023                         0.00          45,000.00
000766                5/10/2023   MASON             W.B. MASON CO. INC.                                           276.99   Manual
         236418413                            2/20/2023                         0.00              32.32
         236605199                            2/28/2023                         0.00             234.70
         236643799                            3/1/2023                          0.00               9.97
000767                5/11/2023   VE2197            VERIZON                                                       365.53   Manual
         3/23POTS                             3/28/2023                         0.00             365.53
000768                5/12/2023   CLAFLIN           THE CLAFLIN COMPANY                                        28,712.15   Manual
         4030657                              1/18/2023                         0.00             280.65
         4058330                              2/27/2023                         0.00              98.69
         4058358                              2/27/2023                         0.00              27.52
         4058370                              2/27/2023                         0.00             153.09
         4058378                              2/27/2023                         0.00              94.25
         4058463                              2/27/2023                         0.00             664.14
         4058472                              2/27/2023                         0.00              97.10
         4058474                              2/27/2023                         0.00              24.63
         4058480                              2/27/2023                         0.00              29.94
         4058609                              2/27/2023                         0.00             538.95
         4059183                              2/27/2023                         0.00             844.45
         4060583                              3/1/2023                          0.00             119.38
         4060672                              3/1/2023                          0.00              70.18
         4060691                              3/1/2023                          0.00              31.57
         4060716                              3/1/2023                          0.00             214.81
         4060884                              3/1/2023                          0.00             346.64
         4060885                              3/1/2023                          0.00             103.74
         4060902                              3/1/2023                          0.00             934.95
         4060907                              3/1/2023                          0.00             833.11
         4060941                              3/1/2023                          0.00             732.81
         4060943                              3/1/2023                          0.00             727.43
         4060944                              3/1/2023                          0.00             426.43
         4060949                              3/1/2023                          0.00              94.25
         4060953                              3/1/2023                          0.00              47.49
         4060954                              3/1/2023                          0.00             323.06
         4063531                              3/6/2023                          0.00              52.21
         4063578                              3/6/2023                          0.00             148.75
         4063584                              3/6/2023                          0.00              30.74
         4063612                              3/6/2023                          0.00              73.78
         4063654                              3/6/2023                          0.00           1,979.99
         4063655                              3/6/2023                          0.00             363.41
         4063681                              3/6/2023                          0.00             334.16
         4065779                              3/8/2023                          0.00             332.56

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      Invoice Number                          Invoice Date         Amount            Invoice Amount
         4065793                              3/8/2023                        0.00             401.31
         4065921                              3/8/2023                        0.00              87.02
         4068616                              3/13/2023                       0.00             219.11
         4068634                              3/13/2023                       0.00               5.80
         4068660                              3/13/2023                       0.00             107.41
         4068665                              3/13/2023                       0.00             317.02
         4068668                              3/13/2023                       0.00              20.06
         4068754                              3/13/2023                       0.00             332.24
         4070944                              3/15/2023                       0.00             428.78
         4071114                              3/15/2023                       0.00             482.90
         4071116                              3/15/2023                       0.00             294.77
         4071117                              3/15/2023                       0.00             118.80
         4071118                              3/15/2023                       0.00             591.50
         4071124                              3/15/2023                       0.00             652.19
         4071125                              3/15/2023                       0.00             962.91
         4071140                              3/15/2023                       0.00             534.54
         4071142                              3/15/2023                       0.00             800.33
         4071147                              3/15/2023                       0.00             317.18
         4071148                              3/15/2023                       0.00              73.84
         4071149                              3/15/2023                       0.00              59.46
         4071408                              3/15/2023                       0.00             544.03
         4073750                              3/20/2023                       0.00             169.13
         4073796                              3/20/2023                       0.00              74.38
         4074034                              3/20/2023                       0.00             511.28
         4074060                              3/20/2023                       0.00             495.02
         4074089                              3/20/2023                       0.00               5.72
         4075827                              3/22/2023                       0.00               6.89
         4075846                              3/22/2023                       0.00             101.36
         4078776                              3/27/2023                       0.00             130.00
         4078804                              3/27/2023                       0.00             759.61
         4078817                              3/27/2023                       0.00             856.13
         4080740                              3/29/2023                       0.00               0.57
         4080768                              3/29/2023                       0.00             515.37
         4080770                              3/29/2023                       0.00             225.02
         4080798                              3/29/2023                       0.00             336.63
         4080898                              3/29/2023                       0.00             668.31
         4080935                              3/29/2023                       0.00             371.49
         4080938                              3/29/2023                       0.00              42.49
         4080939                              3/29/2023                       0.00           1,001.80
         4080941                              3/29/2023                       0.00             543.22
         4080942                              3/29/2023                       0.00             563.33
         4080943                              3/29/2023                       0.00             298.23
         4080944                              3/29/2023                       0.00             805.04
         4080961                              3/29/2023                       0.00             961.13
         4083646                              4/3/2023                        0.00             169.13
         4083702                              4/3/2023                        0.00              61.91
         4083764                              4/3/2023                        0.00             179.13
         4085749                              4/5/2023                        0.00              12.05
         4088695                              4/10/2023                       0.00              27.84
         4088743                              4/10/2023                       0.00             275.55
         4089021                              4/10/2023                       0.00              18.33
000769                5/12/2023   MIRICK            MIRICK O'CONNELL                                         41,544.80   Manual
         562174                               3/10/2023                    0.00              5,799.50
         564611                               4/7/2023                     0.00             35,745.30
000780                5/12/2023   CAMPBEL           CAMPBELL CONROY & O'NEIL PC                               7,036.07   Manual
         328646                               4/19/2023                    0.00              7,036.07
000781                5/12/2023   HEARTB            HEARTBEAT MEDICAL, INC                                    2,375.80   Manual


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      Invoice Number                          Invoice Date           Amount            Invoice Amount
         10234                                2/10/2023                     0.00                 551.20
         10235                                2/13/2023                     0.00                 551.20
         10236                                3/13/2023                     0.00                 547.20
         10238                                3/24/2023                     0.00                 726.20
000782                5/12/2023   TMLP              TAUNTON MUNICIPAL LIGHT PLANT                               4,189.25   Manual
         3/23TAU                              3/16/2023                         0.00           2,184.59
         4/23TAU                              4/13/2023                         0.00           2,004.66
000783                5/12/2023   REPUBLI           REPUBLIC SERVICES INC                                       5,631.40   Manual
         33467                                3/25/2023                         0.00           2,584.21
         44577                                4/25/2023                         0.00           3,047.19
000784                5/12/2023   REPUBLI           REPUBLIC SERVICES INC                                         217.46   Manual
         28491                                3/25/2023                         0.00             109.23
         40243                                4/25/2023                         0.00             108.23
000785                5/12/2023   REPUBLI           REPUBLIC SERVICES INC                                         260.37   Manual
         31109                                3/25/2023                     0.00                 130.83
         42427                                4/25/2023                     0.00                 129.54
000786                5/12/2023   QUADIEN           QUADIENT FINANCE USA INC                                      603.42   Manual
         4/23EAIM                             4/9/2023                      0.00                 603.42
000787                5/12/2023   QUADIEN           QUADIENT FINANCE USA INC                                    6,409.44   Manual
         4/23EB                               4/16/2023                         0.00           6,409.44
000788                5/15/2023   MASON             W.B. MASON CO. INC.                                            76.36   Manual
         236429273                            2/20/2023                         0.00              30.99
         236647043                            3/1/2023                          0.00              24.17
         236720190                            3/3/2023                          0.00              21.20
000789                5/16/2023   SANOFI            SANOFI PASTEUR INC                                          5,015.55   Manual
         920183886                            2/1/2023                          0.00           3,037.59
         920272262                            2/28/2023                         0.00           1,406.46
         920335058                            3/15/2023                         0.00             571.50
000790                5/16/2023   MIRICK            MIRICK O'CONNELL                                           67,418.80   Manual
         566909                               5/8/2023                     0.00               67,418.80
000791                5/16/2023   CAMPBEL           CAMPBELL CONROY & O'NEIL PC                                21,439.10   Manual
         927943                               3/9/2023                          0.00          21,439.10
000792                5/16/2023   SANOFI            SANOFI PASTEUR INC                                          5,606.23   Manual
         920234871                            2/15/2023                         0.00           3,138.77
         920310590                            3/8/2023                          0.00           2,467.46
000793                5/17/2023   MASON             W.B. MASON CO. INC.                                           743.73   Manual
         236698964                            3/2/2023                      0.00                 115.35
         236887600                            3/10/2023                     0.00                  79.54
         237154932                            3/22/2023                     0.00                  36.05
         237194943                            3/23/2023                     0.00                  16.77
         237273932                            3/27/2023                     0.00                 169.37
         237623500                            4/10/2023                     0.00                 185.08
         237711041                            4/13/2023                     0.00                  38.69
         237945138                            4/24/2023                     0.00                 100.05
         237961926                            4/25/2023                     0.00                   3.63
         82460CM                              5/17/2023                     0.00                  -0.80
000794                5/18/2023   QUADIEN           QUADIENT FINANCE USA INC                                      200.00   Manual
         4/23MDLPC                            4/23/2023                     0.00                 200.00
000795                5/18/2023   QUADIEN           QUADIENT FINANCE USA INC                                      400.00   Manual
         4/23EFM                              4/23/2023                   0.00                   400.00
000796                5/18/2023   AFCO              AFCO CREDIT CORPORATION                                     4,936.16   Manual
       5/20/23INSTALLMENT                     5/20/2023                         0.00           4,936.16
000797             5/18/2023      GDS               GLOBAL DATA SYSTEMS                                        25,405.58   Manual
         45674                                3/31/2023                         0.00           5,623.44
         45678-SAL                            4/1/2023                          0.00          19,782.14
000798                5/18/2023   AQUITY            AQUITY SOLUTIONS LLC                                       15,755.20   Manual


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Check            Check            Vendor
Number/          Date             Number           Name              Discount                             Check Amount     Check Type
      Invoice Number                          Invoice Date           Amount            Invoice Amount
         INV10037936                          3/8/2023                          0.00          15,755.20
000799              5/18/2023     MASON             W.B. MASON CO. INC.                                           198.04   Manual
         220373435                            5/21/2021                         0.00              24.96
         236588368                            2/27/2023                         0.00             150.04
         236690175                            3/2/2023                          0.00              23.04
000800                5/18/2023   SANOFI            SANOFI PASTEUR INC                                            725.33   Manual
         920211310                            2/8/2023                          0.00             725.33
000801                5/19/2023   NATIONA           NATIONAL GRID                                               1,071.87   Manual
         3/23BO248                            3/16/2023                         0.00              99.87
         3/23BO523                            3/21/2023                         0.00             103.46
         3/23BO537                            3/21/2023                         0.00             146.73
         3/23BO596                            3/21/2023                         0.00              77.14
         3/23BO943                            3/16/2023                         0.00             115.77
         4/23BO248                            4/19/2023                         0.00             100.78
         4/23BO523                            4/19/2023                         0.00              68.28
         4/23BO537                            4/19/2023                         0.00              98.45
         4/23BO596                            4/19/2023                         0.00              88.94
         4/23BO943                            4/19/2023                         0.00             172.45
000802                5/23/2023   SANOFI            SANOFI PASTEUR INC                                          1,143.00   Manual
         920211132                            2/8/2023                    0.00                   381.00
         920223330                            2/13/2023                   0.00                   381.00
         920335862                            3/15/2023                   0.00                   381.00
000803                5/23/2023   ROGERS            ROGERS & GRAY INSURANCE AGENCY                             10,205.22   Manual
         486                                  5/8/2023                     0.00               10,205.22
000804                5/24/2023   JEFFERS           JEFFERSON RADIOLOGY, P.C.                                  70,000.00   Manual
         01312023A                            2/6/2023                          0.00          70,000.00
000805                5/24/2023   MIRICK            MIRICK O'CONNELL                                           62,643.40   Manual
         568352                               5/19/2023                     0.00              62,643.40
000806                5/25/2023   CROWN             CROWN LINEN SERVICE INC                                     2,008.16   Manual
         2270029                              3/6/2023                          0.00             236.98
         2274662                              3/13/2023                         0.00             236.98
         2279227                              3/20/2023                         0.00             255.70
         2283794                              3/27/2023                         0.00             255.70
         2288408                              4/3/2023                          0.00             255.70
         2293053                              4/10/2023                         0.00             255.70
         2297643                              4/17/2023                         0.00             255.70
         2302002                              4/24/2023                         0.00             255.70
000807                5/25/2023   DIASORI           DIASORIN INC.                                              17,624.79   Manual
         5664540                              3/15/2023                    0.00                5,981.99
         5665919                              3/28/2023                    0.00                3,831.66
         5666082                              3/29/2023                    0.00                  115.01
         5667769                              4/14/2023                    0.00                  632.00
         5667930                              4/17/2023                    0.00                7,064.13
000808                5/25/2023   IMAGE F           BERSTEIN-MAGOON-GAY, LLC                                   30,507.10   Manual
         261294734                            2/22/2023                         0.00             248.92
         261308163                            2/20/2023                         0.00             102.62
         261308164                            2/20/2023                         0.00              98.43
         261308165                            2/20/2023                         0.00             230.60
         261308166                            2/20/2023                         0.00             258.67
         261308167                            2/20/2023                         0.00             221.91
         261308168                            2/20/2023                         0.00             277.38
         261308170                            2/20/2023                         0.00             122.39
         261308171                            2/20/2023                         0.00             227.51
         261308172                            2/20/2023                         0.00             260.01
         261308173                            2/20/2023                         0.00             123.02
         261308174                            2/20/2023                         0.00             356.62
         261309660                            2/21/2023                         0.00             158.44

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      Invoice Number                      Invoice Date     Amount            Invoice Amount
      261309677                           2/21/2023                   0.00             112.91
      261309678                           2/21/2023                   0.00             137.10
      261309679                           2/21/2023                   0.00             123.28
      261355451                           2/23/2023                   0.00             277.99
      261355452                           2/23/2023                   0.00              50.76
      261355453                           2/23/2023                   0.00             359.38
      261355455                           2/23/2023                   0.00             134.60
      261355456                           2/23/2023                   0.00             101.73
      261355461                           2/23/2023                   0.00              15.30
      261355462                           2/23/2023                   0.00             124.55
      261355463                           2/23/2023                   0.00             249.72
      261355464                           2/23/2023                   0.00             466.85
      261355465                           2/23/2023                   0.00             360.07
      261355466                           2/23/2023                   0.00             152.83
      261365844                           2/27/2023                   0.00             102.62
      261365846                           2/27/2023                   0.00              98.43
      261365848                           2/27/2023                   0.00             230.60
      261365850                           2/27/2023                   0.00             252.81
      261365851                           2/27/2023                   0.00             221.91
      261365852                           2/27/2023                   0.00             244.98
      261365854                           2/27/2023                   0.00             122.39
      261365855                           2/27/2023                   0.00             227.51
      261365856                           2/27/2023                   0.00             260.01
      261365857                           2/27/2023                   0.00             123.02
      261365858                           2/27/2023                   0.00             356.02
      261365927                           2/28/2023                   0.00             158.44
      261380633                           3/1/2023                    0.00             112.91
      261380634                           3/1/2023                    0.00             137.10
      261380635                           3/1/2023                    0.00             123.28
      261380735                           3/2/2023                    0.00             277.99
      261380736                           3/2/2023                    0.00              50.76
      261380737                           3/2/2023                    0.00             359.38
      261380739                           3/2/2023                    0.00             134.60
      261380740                           3/2/2023                    0.00             101.73
      261380745                           3/2/2023                    0.00              15.30
      261380746                           3/2/2023                    0.00             124.55
      261380747                           3/2/2023                    0.00             249.72
      261380748                           3/2/2023                    0.00             449.06
      261380749                           3/2/2023                    0.00             360.07
      261380750                           3/2/2023                    0.00             152.83
      261405988                           3/6/2023                    0.00             102.62
      261405989                           3/6/2023                    0.00              98.43
      261405991                           3/6/2023                    0.00             230.60
      261405993                           3/6/2023                    0.00             221.91
      261405994                           3/6/2023                    0.00             277.38
      261405996                           3/6/2023                    0.00             122.39
      261405997                           3/6/2023                    0.00             227.51
      261405998                           3/6/2023                    0.00             260.07
      261405999                           3/6/2023                    0.00             123.02
      261406000                           3/6/2023                    0.00             356.62
      261406071                           3/7/2023                    0.00             158.44
      261415437                           3/8/2023                    0.00             112.91
      261415438                           3/8/2023                    0.00             123.28
      261415439                           3/8/2023                    0.00             137.10
      261415539                           3/9/2023                    0.00             277.99
      261415540                           3/9/2023                    0.00              50.76
      261415541                           3/9/2023                    0.00             359.39


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      Invoice Number                      Invoice Date     Amount            Invoice Amount
      261415543                           3/9/2023                    0.00             134.60
      261415544                           3/9/2023                    0.00             101.73
      261415550                           3/9/2023                    0.00              15.30
      261415551                           3/9/2023                    0.00             130.26
      261415552                           3/9/2023                    0.00             249.72
      261415553                           3/9/2023                    0.00             449.06
      261415554                           3/9/2023                    0.00             360.07
      261415555                           3/9/2023                    0.00             152.83
      261438161                           3/13/2023                   0.00             102.62
      261438162                           3/13/2023                   0.00              98.43
      261438164                           3/13/2023                   0.00             230.60
      261438165                           3/13/2023                   0.00             252.81
      261438166                           3/13/2023                   0.00             221.91
      261438167                           3/13/2023                   0.00             277.38
      261438169                           3/13/2023                   0.00             122.39
      261438170                           3/13/2023                   0.00             227.51
      261438171                           3/13/2023                   0.00             260.01
      261438172                           3/13/2023                   0.00             123.02
      261438173                           3/13/2023                   0.00             356.62
      261438249                           3/14/2023                   0.00             158.44
      261450580                           3/15/2023                   0.00             112.91
      261450581                           3/15/2023                   0.00             123.28
      261450582                           3/15/2023                   0.00             137.10
      261450681                           3/16/2023                   0.00             277.99
      261450682                           3/16/2023                   0.00              50.76
      261450683                           3/16/2023                   0.00             359.38
      261450685                           3/23/2023                   0.00             134.60
      261450686                           3/16/2023                   0.00             101.73
      261450691                           3/16/2023                   0.00              15.30
      261450692                           3/16/2023                   0.00             125.91
      261450693                           3/16/2023                   0.00             249.72
      261450694                           3/16/2023                   0.00             449.06
      261450695                           3/16/2023                   0.00             360.07
      261450696                           3/16/2023                   0.00             152.83
      261474276                           3/20/2023                   0.00             102.62
      261474277                           3/20/2023                   0.00              98.43
      261474279                           3/20/2023                   0.00             230.60
      261474280                           3/20/2023                   0.00             252.81
      261474281                           3/20/2023                   0.00             221.91
      261474282                           3/20/2023                   0.00             266.58
      261474284                           3/20/2023                   0.00             122.39
      261474285                           3/20/2023                   0.00             227.51
      261474286                           3/20/2023                   0.00             260.01
      261474287                           3/20/2023                   0.00             123.02
      261474289                           3/20/2023                   0.00             356.62
      261474354                           3/21/2023                   0.00             158.44
      261493518                           3/22/2023                   0.00             124.64
      261493519                           3/22/2023                   0.00             123.28
      261493520                           3/22/2023                   0.00             137.10
      261493620                           3/23/2023                   0.00             277.99
      261493621                           3/23/2023                   0.00              50.76
      261493622                           3/23/2023                   0.00             359.38
      261493624                           3/23/2023                   0.00             134.60
      261493625                           3/23/2023                   0.00             101.73
      261493631                           3/23/2023                   0.00             124.55
      261493632                           3/23/2023                   0.00             249.72
      261493633                           3/23/2023                   0.00             449.06


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Number/          Date             Number           Name               Discount                             Check Amount     Check Type
      Invoice Number                          Invoice Date            Amount            Invoice Amount
         261493634                            3/23/2023                     0.00                  360.07
         261493635                            3/23/2023                     0.00                  152.83
         261509007                            3/27/2023                     0.00                  102.62
         261509008                            3/27/2023                     0.00                   98.43
         261509010                            3/27/2023                     0.00                  230.60
         261509011                            3/27/2023                     0.00                  299.72
         261509012                            3/27/2023                     0.00                  221.91
         261509013                            3/27/2023                     0.00                  271.98
         261509015                            3/27/2023                     0.00                  122.39
         261509016                            3/27/2023                     0.00                  227.51
         261509017                            3/27/2023                     0.00                  260.01
         261509018                            3/27/2023                     0.00                  123.02
         261509020                            3/27/2023                     0.00                  356.62
         261509445                            3/28/2023                     0.00                  158.44
         261523457                            3/29/2023                     0.00                  118.78
         261523458                            3/29/2023                     0.00                  123.28
         261523459                            3/29/2023                     0.00                  137.10
         261523558                            3/30/2023                     0.00                  277.99
         261523559                            3/30/2023                     0.00                   50.76
         261523560                            3/30/2023                     0.00                  359.38
         261523562                            3/30/2023                     0.00                  134.60
         261523563                            3/30/2023                     0.00                  101.73
         261523569                            3/30/2023                     0.00                    9.37
         261523570                            3/30/2023                     0.00                  124.55
         261523571                            3/30/2023                     0.00                  249.72
         261523572                            3/30/2023                     0.00                  449.06
         261523573                            3/30/2023                     0.00                  360.07
         261523574                            3/30/2023                     0.00                  152.83
000809                5/25/2023   QUADIEN           QUADIENT FINANCE USA INC                                       400.00   Manual
         4/23QB                               4/30/2023                   0.00                    400.00
000810                5/25/2023   HANOV             THE HANOVER INSURANCE COMPANY                                  365.90   Manual
         5/23MARINS                           5/2/2023                           0.00             365.90
000811                5/26/2023   MASON             W.B. MASON CO. INC.                                             12.07   Manual
         236822750                            3/8/2023                           0.00              66.69
         236858964                            3/9/2023                           0.00               8.54
         CM0651867                            2/17/2022                          0.00             -54.62
         CM1664049                            3/8/2023                           0.00              -8.54
000812                5/31/2023   MIRICK            MIRICK O'CONNELL                                            46,874.70   Manual
         568394                               5/26/2023                          0.00          46,874.70
092914                3/2/2023    ATHOMAS           ADRIAN THOMAS                                                  603.70   Auto
         3/2/23PAY                            3/2/2023                           0.00             603.70
092915                3/3/2023    ADP               ADP, INC.                                                    5,015.59   Auto
         625820138                            2/3/2023                           0.00           1,916.23
         626363419                            2/10/2023                          0.00           3,099.36
092916                3/3/2023    AETNA             AETNA                                                          230.86   Auto
         V,NGUYEN                             1/27/2023                          0.00             230.86
092917                3/3/2023    AIRGAS            AIRGAS USA, LLC                                                125.84   Auto
         9993511490                           12/31/2022                         0.00              40.93
         9993511491                           12/31/2022                         0.00              27.67
         9993511492                           12/31/2022                         0.00              16.32
         9993511493                           12/31/2022                         0.00              20.46
         9993511494                           12/31/2022                         0.00              20.46
092918                3/3/2023    ALTMAN           FRANKLIN ALTMAN                                                  20.96   Auto
         WE2/25/23                            2/25/2023                          0.00              20.96
092919                3/3/2023    CHAMPVA           CHAMPVA                                                         22.86   Auto
         C DUMOND                             1/30/2023                          0.00              22.86
092920                3/3/2023    CHEN              BING CHEN                                                      678.86   Auto

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Number/          Date            Number           Name              Discount                             Check Amount      Check Type
      Invoice Number                         Invoice Date           Amount            Invoice Amount
         2/23REIMB                           2/21/2023                   0.00                   678.86
092921                3/3/2023   CLIA              CLIA LABORATORY PROGRAM                                       240.00    Auto
         2/23QUUCC                           2/27/2023                         0.00             240.00
092922                3/3/2023   CONN              PATRICK CONNELLY                                              293.44    Auto
         WE2/25/23                           2/25/2023                         0.00             293.44
092923                3/3/2023   COTIVIT           COTIVITI                                                      152.00    Auto
         B.WALSH                             2/13/2023                         0.00             152.00
092924                3/3/2023   COTIVIT           COTIVITI                                                      284.80    Auto
         J.HICKEY                            2/13/2023                         0.00             284.80
092925                3/3/2023   DENNIS            DENNIS HALL                                                   481.43    Auto
         WE2/25/23                           2/25/2023                         0.00             481.43
092926                3/3/2023   DOORCON           DOOR CONCEPTS INC.                                            786.29    Auto
         52253                               12/14/2022                        0.00             786.29
092927                3/3/2023   EMBELTO          MICHAEL EMBELTON                                               139.52    Auto
         WE2/25/23                           2/25/2023                         0.00             139.52
092928                3/3/2023   EQUIAN            EQUIAN LLC                                                    118.01    Auto
         M.GARRIDO                           2/10/2023                         0.00             118.01
092929                3/3/2023   EQUIAN            EQUIAN LLC                                                    217.86    Auto
         S.SMITH                             2/10/2023                         0.00             217.86
092930                3/3/2023   FDA               FDA-MQSA PROGRAM                                             2,150.00   Auto
         4500016022                          2/22/2023                         0.00           2,150.00
092931                3/3/2023   FEDERA            FEDEX                                                         151.52    Auto
         802880311                           2/6/2023                          0.00              72.40
         802987610                           2/6/2023                          0.00              79.12
092932                3/3/2023   GDS               GLOBAL DATA SYSTEMS                                         44,030.30   Auto
         45272-SAL                           2/1/2023                     0.00               19,782.14
         45304                               2/1/2023                     0.00               24,248.16
092933                3/3/2023   GE                GE PRECISION HEALTHCARE LLC                                   680.64    Auto
         6002307978                          1/1/2023                          0.00             680.64
092934                3/3/2023   HEALTHE           HEALTHEQUITY, INC.                                           3,753.20   Auto
         666ISXG                             2/22/2023                         0.00           3,753.20
092935                3/3/2023   HPI               HEALTH PLANS, INC.                                         277,872.99   Auto
       2/28/23CLAIMS                         2/28/2023                         0.00         277,872.99
092936            3/3/2023       JOE Z             JOE ZAKRZEWSKI                                                137.55    Auto
         WE2/25/23                           2/25/2023                         0.00             137.55
092937                3/3/2023   K3                K3 GROUP LLC                                                11,750.00   Auto
         CMPC013                             1/20/2023                         0.00           7,500.00
         CMPC014                             2/17/2023                         0.00           4,250.00
092938                3/3/2023   MASON             W.B. MASON CO. INC.                                           291.26    Auto
         234648944                           12/5/2022                         0.00              15.97
         235579742                           1/16/2023                         0.00              43.92
         235636437                           1/18/2023                         0.00              71.00
         235639949                           1/18/2023                         0.00             100.43
         235711537                           1/20/2023                         0.00              59.94
092939                3/3/2023   PROKEY            MATTHEW PROKEY                                                150.00    Auto
         2/23LIC                             2/23/2023                         0.00             150.00
092940                3/3/2023   RONALDC           RONALD CUMMINGS                                                83.84    Auto
         WE2/25/23                           2/25/2023                 0.00                      83.84
092941                3/3/2023   ROUNDST           ROUNDSTONE MANAGEMENT, LTD                                  68,443.00   Auto
       2023COVERAGE                          1/1/2023                          0.00          68,443.00
092942          3/3/2023         STERICY           STERICYCLE INC                                                 52.25    Auto
         8003170896                          1/18/2023                         0.00              52.25
092943                3/3/2023   THOMPSO           JOSHUA THOMPSON                                               167.68    Auto
         WE2/25/23                           2/25/2023                         0.00             167.68
092944                3/3/2023   UNICARE           UNICARE                                                        80.00    Auto
         B.MARANDO                           1/27/2023                         0.00              80.00

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Number/          Date              Number           Name             Discount                             Check Amount     Check Type
      Invoice Number                           Invoice Date          Amount            Invoice Amount
092945                 3/3/2023    UNICARE           UNICARE                                                       20.00   Auto
         J.CAREY                               1/23/2023                    0.00                  20.00
092946                 3/3/2023    VINTAGE           VINTAGE GRAPHIC SOLUTIONS                                  1,349.44   Auto
         129876                                1/17/2023                        0.00             332.99
         129877                                1/17/2023                        0.00              31.25
         129879                                1/26/2023                        0.00             581.05
         129898                                1/26/2023                        0.00             404.15
092947                 3/10/2023   ALPHASO           ALPHA SOURCE, INC.                                           375.00   Auto
         1245621                               1/20/2023                    0.00                 375.00
092948                 3/10/2023   AMERICA           AMERICAN AQUA SYSTEMS INC                                  4,050.00   Auto
         14259                                 1/2/2023                    0.00                4,050.00
092949                 3/10/2023   ATI               ASCEND LEARNING HOLDINGS, LLC                                160.00   Auto
         INV0823380                            1/25/2023                   0.00                  160.00
092950                 3/10/2023   CENTRAL           CENTRAL COMMUNICATIONS                                     2,385.45   Auto
         32497                                 1/1/2023                         0.00              95.00
         32647                                 1/29/2023                        0.00             342.70
         32650                                 1/29/2023                        0.00             175.95
         32654                                 1/29/2023                        0.00             401.35
         32689                                 1/29/2023                        0.00             115.00
         32695                                 1/29/2023                        0.00             115.00
         32728                                 1/29/2023                        0.00             115.00
         32729                                 1/29/2023                        0.00             115.00
         32742                                 1/29/2023                        0.00             115.00
         32748                                 1/29/2023                        0.00             115.00
         32824                                 1/29/2023                        0.00             391.00
         32878                                 1/29/2023                        0.00             289.45
092951                 3/10/2023   CINT CO           CINTAS CORPORATION 756                                        60.00   Auto
         4143656004                            1/17/2023                        0.00              20.00
         4144422103                            1/24/2023                        0.00              20.00
         4145055646                            1/31/2023                        0.00              20.00
092952                 3/10/2023   CLAFLIN           THE CLAFLIN COMPANY                                          980.07   Auto
         4027399                               1/13/2023                    0.00                 233.37
         4027404                               1/13/2023                    0.00                 391.73
         4028478                               1/16/2023                    0.00                  10.18
         4028603                               1/16/2023                    0.00                  91.85
         4028912                               1/16/2023                    0.00                  51.29
         4028999                               1/16/2023                    0.00                 143.16
         4030656                               1/18/2023                    0.00                  58.49
092953                 3/10/2023   CLAUDE            CLAUDE DUBORD & SONS INC.                                  1,512.00   Auto
         23145499                              1/12/2023                     0.00              1,512.00
092954                 3/10/2023   CLINICA           CLINICAL 1 HOME MEDICAL                                       12.00   Auto
         27091                                 1/12/2023                        0.00              12.00
092955                 3/10/2023   CYRACOM           CYRACOM, LLC                                                  25.19   Auto
         2023009124                            1/31/2023                        0.00              25.19
092956                 3/10/2023   DIASORI           DIASORIN INC.                                              5,225.00   Auto
         5659455                               1/26/2023                        0.00           5,225.00
092957                 3/10/2023   ECLINIC           ECLINICALWORKS, LLC                                       30,897.76   Auto
         2579652                               2/1/2023                      0.00             30,897.76
092958                 3/10/2023   EMSAR             CSA SERVICE SOLUTIONS LLC                                  1,549.03   Auto
         SM-103619                             1/30/2023                     0.00              1,549.03
092959                 3/10/2023   FACIL             NE FACILITY SOLUTIONS CORP                                 1,740.39   Auto
         12765                                 1/10/2023                      0.00                10.93
         12996                                 1/10/2023                      0.00             1,729.46
092960                 3/10/2023   FLYING            THE FLYING LOCKSMITHS - BOSTON                               170.26   Auto
         001-1488951                           1/18/2023                        0.00             170.26
092961                 3/10/2023   GEHEALT           GE HEALTHCARE, INC.                                        2,851.32   Auto


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      Invoice Number                          Invoice Date           Amount            Invoice Amount
         0101028383                           1/23/2023                    0.00                1,305.28
         0101029658                           1/25/2023                    0.00                  594.63
         0101031232                           1/30/2023                    0.00                  951.41
092962                3/10/2023   HEARTB            HEARTBEAT MEDICAL, INC                                        374.68   Auto
         10230                                1/15/2023                         0.00             306.72
         10231                                1/20/2023                         0.00              67.96
092963                3/10/2023   HENRY             HENRY SCHEIN                                               12,608.51   Auto
         29541075                             11/28/2022                  0.00                    24.64
         29554608                             11/23/2022                  0.00                    49.37
         29554610                             11/29/2022                  0.00                    92.32
         29560921                             11/23/2022                  0.00                 8,702.19
         29605552                             11/28/2022                  0.00                   114.25
         29615061                             11/28/2022                  0.00                   235.71
         29615063                             11/28/2022                  0.00                    69.96
         29631999                             11/28/2022                  0.00                   936.01
         29633648                             11/28/2022                  0.00                   243.45
         29635092                             11/28/2022                  0.00                    39.02
         29691684                             11/29/2022                  0.00                    18.80
         29692985                             11/29/2022                  0.00                   326.67
         29711087                             11/29/2022                  0.00                   345.81
         29711088                             11/29/2022                  0.00                   345.81
         29726888                             11/29/2022                  0.00                    90.04
         29877502                             11/30/2022                  0.00                   135.84
         29887203                             11/30/2022                  0.00                   838.62
092964                3/10/2023   IMAGE F          BERSTEIN-MAGOON-GAY, LLC                                     2,563.54   Auto
         1979279                              1/9/2023                          0.00             215.32
         1979283                              1/9/2023                          0.00             236.07
         1980763                              1/12/2023                         0.00             271.40
         1980765                              1/12/2023                         0.00             349.49
         1980772                              1/12/2023                         0.00              96.93
         1980774                              1/12/2023                         0.00              15.30
         1980775                              1/12/2023                         0.00             124.29
         1980776                              1/12/2023                         0.00             248.92
         1980777                              1/12/2023                         0.00             449.06
         1980778                              1/12/2023                         0.00             360.07
         1980779                              1/12/2023                         0.00             152.83
         1981209                              1/9/2023                          0.00              43.86
092965                3/10/2023   IRON M            IRON MOUNTAIN INC                                           5,615.84   Auto
         HGVH406                              1/31/2023                         0.00           4,155.78
         HGZX808                              1/31/2023                         0.00           1,460.06
092966                3/10/2023   LANE              KARA L LANE                                                   120.00   Auto
         JAN132023                            1/19/2023                    0.00                  120.00
092967                3/10/2023   MALLORY           MALLORY HEADSETS, INC.                                        447.35   Auto
         136352                               1/12/2023                         0.00             140.25
         136395                               1/20/2023                         0.00             118.14
         136396                               1/20/2023                         0.00             153.20
         136397                               1/20/2023                         0.00              35.76
092968                3/10/2023   MASON             W.B. MASON CO. INC.                                         1,587.16   Auto
         218817235                            3/22/2021                         0.00              -0.50
         233476540                            10/14/2022                        0.00             138.90
         235507688                            1/12/2023                         0.00              81.25
         235580079                            1/16/2023                         0.00             553.00
         235602966                            1/17/2023                         0.00              35.81
         235605673                            1/17/2023                         0.00             318.22
         235608171                            1/17/2023                         0.00             132.00
         235609067                            1/17/2023                         0.00              14.81
         235609129                            1/17/2023                         0.00             115.23

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Number/          Date             Number           Name             Discount                             Check Amount     Check Type
      Invoice Number                          Invoice Date          Amount            Invoice Amount
         235635061                            1/18/2023                   0.00                   48.93
         235635094                            1/18/2023                   0.00                   27.44
         235635497                            1/18/2023                   0.00                   30.22
         235641666                            1/18/2023                   0.00                   91.85
092969                3/10/2023   MCKESSO           MCKESSON MEDICAL-SURGICAL INC.                            20,577.80   Auto
         50931334                             1/3/2023                         0.00           1,243.56
         51219043                             1/10/2023                        0.00           1,742.13
         51334174                             1/12/2023                        0.00           1,126.14
         51366147                             1/13/2023                        0.00             939.36
         51387914                             1/13/2023                        0.00             680.11
         51395277                             1/13/2023                        0.00           6,299.19
         51395310                             1/13/2023                        0.00           2,375.89
         51400963                             1/15/2023                        0.00           5,859.33
         51401332                             1/15/2023                        0.00             312.09
092970                3/10/2023   MEDLINE           MEDLINE INDUSTRIES INC                                       149.81   Auto
         2239254826                           11/15/2022                       0.00              67.53
         2242405684                           12/6/2022                        0.00              82.28
092971                3/10/2023   MEDWAST           MED WASTE DISPOSAL                                         2,379.00   Auto
         40085                                1/23/2023                        0.00           2,379.00
092972                3/10/2023   MENDES            SHARON M MENDES                                              426.00   Auto
         1338                                 1/14/2023                    0.00                 142.00
         1348                                 1/21/2023                    0.00                 142.00
         1366                                 1/28/2023                    0.00                 142.00
092973                3/10/2023   NE DRAI           NEW ENGLAND DRAIN SERVICE INC.                               450.00   Auto
         82361                                1/26/2023                        0.00             450.00
092974                3/10/2023   NET7              NET7 TOTAL CARE LLC                                        5,416.66   Auto
         2247                                 1/1/2023                         0.00           5,416.66
092975                3/10/2023   QUEST             QUEST DIAGNOSTICS                                             32.54   Auto
         9202582032                           1/26/2023                        0.00              32.54
092976                3/10/2023   SANOFI            SANOFI PASTEUR INC                                         6,138.11   Auto
         919987083                            12/12/2022                 0.00                 6,138.11
092977                3/10/2023   SHARECA          SHARECARE HEALTH DATA SERVICES                              3,270.22   Auto
       CB8934804N7S7T6                        1/17/2023                    0.00               3,270.22
092978           3/10/2023        SIEMENH           SIEMENS HEALTHCARE DIAGNOSTICS                             2,479.16   Auto
         952894124                            1/20/2023                        0.00           2,479.16
092979                3/10/2023   SMART             SMART SOURCE LLC                                             534.93   Auto
         1295288                              1/20/2023                        0.00             534.93
092980                3/10/2023   SMITHNE           SMITH & NEPHEW INC                                        12,150.00   Auto
         981424804                            1/24/2023                    0.00              12,150.00
092981                3/10/2023   SMS               SIEMENS MEDICAL SOLUTIONS                                  6,991.08   Auto
         116319762                            1/16/2023                        0.00           6,991.08
092982                3/10/2023   SYSMEX            SYSMEX AMERICA, INC.                                       1,832.50   Auto
         94600820                             1/28/2023                 0.00                  1,832.50
092983                3/10/2023   TOWNSON           TOWNSON PHOTOGRAPHY                                           69.07   Auto
         1302023                              1/30/2023                        0.00              69.07
092984                3/10/2023   TRI M             TRI-M MAINTENANCE INC.                                    38,587.26   Auto
         25024                                1/31/2023                        0.00             102.17
         25025                                1/31/2023                        0.00             237.92
         25028                                1/31/2023                        0.00           3,952.44
         25029                                1/31/2023                        0.00           2,962.70
         25030                                1/31/2023                        0.00           1,638.62
         25038                                1/31/2023                        0.00             560.00
         25039                                1/31/2023                        0.00           1,125.00
         25040                                1/31/2023                        0.00           1,924.00
         25041                                1/31/2023                        0.00          11,305.00
         25042                                1/31/2023                        0.00           5,829.80


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Number/          Date             Number            Name               Discount                             Check Amount      Check Type
      Invoice Number                           Invoice Date            Amount            Invoice Amount
         25043                                 1/31/2023                          0.00           5,053.01
         25044                                 1/31/2023                          0.00           3,896.60
092985                3/10/2023   1023572            ADELINA P. BARROS                                               70.00    Auto
         4498585                               3/7/2023                           0.00              70.00
092986                3/10/2023   AG EIP             AG-EIP INDUSTRIAL 9, LLC                                     11,308.30   Auto
       RENT022123                              2/21/2023                          0.00          11,308.30
092987           3/10/2023        AIRGAS             AIRGAS USA, LLC                                                405.41    Auto
         9133642005                            1/5/2023                           0.00             121.38
         9133689183                            1/5/2023                           0.00              57.82
         9134115457                            1/19/2023                          0.00             121.38
         9994227424                            1/31/2023                          0.00              45.45
         9994227425                            1/31/2023                          0.00              40.93
         9994239671                            1/31/2023                          0.00              18.45
092988                3/10/2023   ALTMAN             FRANKLIN ALTMAN                                                 15.72    Auto
         WE3/4/23                              3/4/2023                           0.00              15.72
092989                3/10/2023   BEAUPRE            MICHELLE BEAUPRE                                               600.00    Auto
         2/23LIC                               2/23/2023                          0.00             600.00
092990                3/10/2023   BERLING            BERLINGER USA, LLC                                             213.50    Auto
         12429                                 1/26/2023                      0.00                 213.50
092991                3/10/2023   COLONIA            COLONIAL LIFE & ACCIDENT INSURANCE                             546.28    Auto
                                                     COMPANY
       58657870202673                          2/2/2023                       0.00                 486.48
       58657950201761                          1/1/2023                       0.00                  59.80
092992            3/10/2023       CONN               PATRICK CONNELLY                                               366.80    Auto
         WE3/4/23                              3/4/2023                      0.00                  366.80
092993                3/10/2023   CROWN              CROWN LINEN SERVICE INC                                        710.94    Auto
         2238071                               1/16/2023                          0.00             236.98
         2242623                               1/23/2023                          0.00             236.98
         2247200                               1/30/2023                          0.00             236.98
092994                3/10/2023   CYBER              MEDIBOT LLC                                                  28,381.39   Auto
       RENT022123                              2/21/2023                          0.00          28,381.39
092995           3/10/2023        DENNIS             DENNIS HALL                                                    366.80    Auto
         WE3/4/23                              3/4/2023                           0.00             366.80
092996                3/10/2023   DIALPAD            DIALPAD INC                                                  24,587.29   Auto
       S2302010285                             2/1/2023                           0.00          24,587.29
092997            3/10/2023       EMBELTO            MICHAEL EMBELTON                                               101.53    Auto
         WE3/4/23                              3/4/2023                     0.00                   101.53
092998                3/10/2023   GE                 GE PRECISION HEALTHCARE LLC                                  14,615.36   Auto
         6002328418                            2/1/2023                           0.00           2,291.12
         6002332934                            2/1/2023                           0.00             680.64
         6002333227                            2/1/2023                           0.00           3,542.18
         6002333863                            2/1/2023                           0.00           4,552.42
         6002334012                            2/1/2023                           0.00           3,549.00
092999                3/10/2023   HEALTH             HEALTH PROPERTIES LLC                                         3,231.83   Auto
       RENT022123                              2/21/2023                          0.00           3,231.83
093000           3/10/2023        HPI                HEALTH PLANS, INC.                                          131,532.56   Auto
         3/23HEALTH                            2/13/2023                          0.00         131,532.56
093001                3/10/2023   JOE Z              JOE ZAKRZEWSKI                                                 147.38    Auto
         WE3/4/23                              3/4/2023                           0.00             147.38
093002                3/10/2023   LALIBER            NICOLE HEBERT                                                  150.00    Auto
         2/23LIC                               2/27/2023                    0.00                   150.00
093003                3/10/2023   MERIDIA            MERIDIAN BIOSCIENCE CORP                                      4,046.90   Auto
         255420                                1/18/2023                          0.00           4,046.90
093004                3/10/2023   PHILIPS            PHILIPS HEALTHCARE                                            5,163.89   Auto
         9022013001                            2/1/2023                           0.00           2,026.96
         9022013002                            2/1/2023                           0.00           3,136.93


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      Invoice Number                           Invoice Date            Amount            Invoice Amount
093005                3/10/2023   RE LYON            R.E. LYONS & SON FIRE EQUIP CO                                 456.38    Auto
         049637                                1/18/2023                   0.00                    456.38
093006                3/10/2023   ROGERS             ROGERS & GRAY INSURANCE AGENCY                               10,282.40   Auto
         484                                   2/17/2023                          0.00          10,282.40
093007                3/10/2023   RONALDC            RONALD CUMMINGS                                                 10.48    Auto
         WE3/4/23                              3/4/2023                           0.00              10.48
093008                3/10/2023   STERICY            STERICYCLE INC                                                 736.78    Auto
         8003170888                            1/18/2023                          0.00             214.98
         8003170890                            1/18/2023                          0.00             217.75
         8003170891                            1/18/2023                          0.00              30.00
         8003170892                            1/18/2023                          0.00              88.25
         8003170894                            1/18/2023                          0.00             175.80
         8003170895                            1/18/2023                          0.00              10.00
093009                3/10/2023   THOMPSO            JOSHUA THOMPSON                                                335.36    Auto
         WE3/4/23                              3/4/2023                           0.00             335.36
093010                3/10/2023   VEETECH            VEE TECHNOLOGIES INC                                           651.00    Auto
         COMJAN23                              2/13/2023                    0.00             651.00
093011                3/10/2023   WHEELER            WHEELER FINANCIAL FROM PITNEY BOWES INC                       6,366.38   Auto
         8732                                  2/9/2023                    0.00                  6,366.38
093012                3/10/2023   CROWNCA            CROWN CASTLE INTERNATIONAL                                    2,215.00   Auto
         1262328                               1/1/2023                      0.00                2,215.00
093013                3/14/2023   362BED             362 N BEDFORD STREET, LLC                                     7,938.33   Auto
         CAM 030123                            3/1/2023                           0.00           7,938.33
093014                3/14/2023   AG EIP             AG-EIP INDUSTRIAL 9, LLC                                      2,019.19   Auto
         CAM 030123                            3/1/2023                           0.00           2,019.19
093015                3/14/2023   ALTMAN             FRANKLIN ALTMAN                                                 26.20    Auto
         WE3/11/23                             3/11/2023                          0.00              26.20
093016                3/14/2023   CAUDET             MARIE CADET                                                    460.00    Auto
         3/23CONF                              3/9/2023                           0.00             460.00
093017                3/14/2023   CERCE              BETH CERCE, MD.                                                616.74    Auto
         3/23LIC                               3/13/2023                   0.00                    616.74
093018                3/14/2023   COMPMB             CT COMPASS MIDDLEBOROUGH LLC                                 52,665.11   Auto
         CAM 030123                            3/1/2023                           0.00          52,665.11
093019                3/14/2023   CONN               PATRICK CONNELLY                                               366.80    Auto
         WE3/11/23                             3/11/2023                          0.00             366.80
093020                3/14/2023   DENNIS             DENNIS HALL                                                    450.64    Auto
         WE3/11/23                             3/11/2023                          0.00             450.64
093021                3/14/2023   EASTON2            EASTON 21 BRISTOL, LLC                                       39,090.57   Auto
         CAM 030123                            3/1/2023                           0.00          39,090.57
093022                3/14/2023   EMBELTO            MICHAEL EMBELTON                                                46.51    Auto
         WE3/11/23                             3/11/2023                    0.00                    46.51
093023                3/14/2023   EQU IND            EQUITY INDUSTRIAL SOUTHEAST LP                                 826.02    Auto
         CAM 030123                            3/1/2023                        0.00           826.02
093024                3/14/2023   FIDELIT            FIDELITY SECURITY LIFE INSURANCE COMPANY                        23.46    Auto
         165656246                             3/1/2023                           0.00              23.46
093025                3/14/2023   HEALTHE            HEALTHEQUITY, INC.                                            3,427.58   Auto
         G1YX3YZ                               3/8/2023                     0.00                 3,342.09
         WQS2W21                               3/8/2023                     0.00                    85.49
093026                3/14/2023   JEFFERS            JEFFERSON RADIOLOGY, P.C.                                   184,757.65   Auto
         12312022                              1/10/2023                          0.00          12,501.22
         12312022A                             1/10/2023                          0.00         172,256.43
093027                3/14/2023   JOE Z              JOE ZAKRZEWSKI                                                 183.40    Auto
         WE3/11/23                             3/11/2023                          0.00             183.40
093028                3/14/2023   KPENTO             KATELYN PENTO                                                  888.00    Auto
         3/23DEA                               3/9/2023                           0.00             888.00
093029                3/14/2023   MASON              W.B. MASON CO. INC.                                             40.86    Auto

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Number/          Date             Number           Name                Discount                             Check Amount     Check Type
      Invoice Number                          Invoice Date             Amount            Invoice Amount
         231955208                            8/16/2022                           0.00              43.20
         CM0556488                            1/18/2022                           0.00              -2.34
093030                3/14/2023   MC                MC CLEANING SERVICE                                           2,900.00   Auto
         2792                                 1/31/2023                           0.00           2,900.00
093031                3/14/2023   MENDES            SHARON M MENDES                                                 136.00   Auto
         561                                  12/6/2020                     0.00                   136.00
093032                3/14/2023   MILLERS           MILLER STREET MIEDICAL CENTER, LLC                           23,535.58   Auto
         CAM 030123                           3/1/2023                      0.00                23,535.58
093033                3/14/2023   RELIANC           RELIANCE STANDARD LIFE INS CO                                10,912.36   Auto
         2/23INS                              3/13/2023                           0.00          10,912.36
093034                3/14/2023   THOMPSO           JOSHUA THOMPSON                                                 335.36   Auto
         WE3/11/23                            3/11/2023                           0.00             335.36
093035                3/21/2023   MACDOUG           LISA MACDOUGALL                                                 139.86   Auto
       PPE3/11/23CORRECTION                   3/21/2023                           0.00             139.86
093036            3/23/2023                         ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093037                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093038                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093039                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093040                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093041                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093042                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093043                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093044                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093045                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093046                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093047                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093048                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093049                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093050                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093051                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093052                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093053                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093054                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093055                3/23/2023                     ***Void Check***                                                  0.00   Void
                                                                                  0.00               0.00
093056                3/23/2023                     ***Void Check***                                                  0.00   Void


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Number/          Date         Number           Name                Discount                             Check Amount     Check Type
      Invoice Number                      Invoice Date             Amount            Invoice Amount
                                                                              0.00               0.00
093057           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093058           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093059           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093060           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093061           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093062           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093063           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093064           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093065           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093066           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093067           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093068           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093069           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093070           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093071           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093072           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093073           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093074           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093075           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093076           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093077           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093078           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093079           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093080           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093081           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093082           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00
093083           3/23/2023                      ***Void Check***                                                  0.00   Void
                                                                              0.00               0.00


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      Invoice Number                          Invoice Date            Amount            Invoice Amount
093084                3/23/2023   2026679           MICHAEL C DALLAIRE                                             150.00   Auto
         4434687                              3/15/2023                          0.00             150.00
093085                3/23/2023   ADP               ADP, INC.                                                    8,121.07   Auto
         626412320                            2/15/2023                          0.00             785.70
         626412689                            2/15/2023                          0.00           3,065.55
         628012409                            3/3/2023                           0.00             742.05
         628012561                            3/3/2023                           0.00           1,605.89
         628445874                            3/10/2023                          0.00           1,921.88
093086                3/23/2023   AG EIP            AG-EIP INDUSTRIAL 9, LLC                                     4,762.38   Auto
         37512                                12/19/2022                         0.00           1,437.60
         38164                                2/13/2023                          0.00           1,117.01
         38168                                2/13/2023                          0.00             957.77
         38171                                2/13/2023                          0.00           1,250.00
093087                3/23/2023   AIRGAS            AIRGAS USA, LLC                                                211.93   Auto
         9133550478                           1/3/2023                           0.00             211.93
093088                3/23/2023   ALTMAN            FRANKLIN ALTMAN                                                 26.20   Auto
         WE3/18/23                            3/18/2023                    0.00                    26.20
093089                3/23/2023   ALTUS             ALTUS DENTAL INSURANCE COMPANY, INC.                        23,142.51   Auto
       2/1/23CLAIMS                           2/1/2023                           0.00          13,512.51
       2/15/23CLAIMS                          2/15/2023                          0.00           9,630.00
093090            3/23/2023       AQUA VI           AQUA VISION TECH LLC                                           238.17   Auto
         79138                                1/28/2023                          0.00             238.17
093091                3/23/2023   AQUITY            AQUITY SOLUTIONS LLC                                        16,065.76   Auto
       INV10036990                            2/8/2023                           0.00          16,065.76
093092            3/23/2023       BESSEM            AMERISOURCEBERGEN                                            9,828.85   Auto
         3117576212                           12/27/2022                 0.00                   4,931.45
         3117910060                           12/29/2022                 0.00                   4,897.40
093093                3/23/2023   CHANGE           CHANGE HEALTHCARE SOLUTIONS LL                                   57.08   Auto
         1696340                              12/31/2022                         0.00              57.08
093094                3/23/2023   CLAFLIN          THE CLAFLIN COMPANY                                           7,154.19   Auto
         4018326                              12/30/2022                         0.00             359.18
         4030689                              1/18/2023                          0.00           2,000.69
         4030763                              1/18/2023                          0.00             665.66
         4030778                              1/18/2023                          0.00             835.54
         4030779                              1/18/2023                          0.00             340.39
         4030781                              1/18/2023                          0.00             609.38
         4030784                              1/18/2023                          0.00             382.00
         4030863                              1/18/2023                          0.00             155.81
         4030865                              1/18/2023                          0.00             223.92
         4030866                              1/18/2023                          0.00              99.80
         4030867                              1/18/2023                          0.00             603.95
         4030868                              1/18/2023                          0.00              89.46
         4030881                              1/18/2023                          0.00             788.41
093095                3/23/2023   CONN              PATRICK CONNELLY                                               293.44   Auto
         WE3/18/23                            3/18/2023                   0.00                    293.44
093096                3/23/2023   CROWNCA           CROWN CASTLE INTERNATIONAL                                   2,215.00   Auto
         1290984                              2/1/2023                           0.00           2,215.00
093097                3/23/2023   CYBERNO           CYBERNORTH LLC                                              15,087.50   Auto
         1526                                 2/1/2023                           0.00           7,543.75
         1533                                 2/15/2023                          0.00           7,543.75
093098                3/23/2023   DENNIS            DENNIS HALL                                                    379.90   Auto
         WE3/18/23                            3/18/2023                          0.00             379.90
093099                3/23/2023   DRAKHLI           YEVGENIY DRAKHLIN., MD                                         220.00   Auto
         3/23REIMB                            3/1/2023                           0.00             220.00
093100                3/23/2023   ECLINIC           ECLINICALWORKS, LLC                                            516.41   Auto
         2591813                              2/10/2023                          0.00             516.41


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      Invoice Number                          Invoice Date          Amount            Invoice Amount
093101                3/23/2023   EMAHONE           ELYSE PLANTE                                                 888.00   Auto
         3/23DEA                              3/16/2023                        0.00             888.00
093102                3/23/2023   EMBELTO           MICHAEL EMBELTON                                             176.85   Auto
         WE3/18/23                            3/18/2023                        0.00             176.85
093103                3/23/2023   EMPLOYM           GLOBAL HR RESEARCH                                           717.95   Auto
         13414832                             1/31/2023                        0.00             717.95
093104                3/23/2023   FEDERA            FEDEX                                                        421.56   Auto
         803666076                            2/13/2023                        0.00             159.22
         804342063                            2/20/2023                        0.00              28.41
         804461452                            2/20/2023                        0.00             233.93
093105                3/23/2023   GDS               GLOBAL DATA SYSTEMS                                       22,015.00   Auto
         425268                               2/1/2023                         0.00          22,015.00
093106                3/23/2023   GRAY              BRENDA GRAY                                                  150.00   Auto
         3/23MCSR                             3/8/2023                         0.00             150.00
093107                3/23/2023   HEALTHE           HEALTHEQUITY, INC.                                         3,265.20   Auto
         Y8FKASU                              3/15/2023                        0.00           3,265.20
093108                3/23/2023   HENRY             HENRY SCHEIN                                               5,999.11   Auto
         22058179                             12/6/2022                    0.00                 -76.51
         22058917                             12/6/2022                    0.00                -154.11
         22066500                             12/9/2022                    0.00                -212.50
         27589580                             11/8/2022                    0.00                  80.26
         29873777                             12/1/2022                    0.00                 208.97
         29991569                             12/1/2022                    0.00                  81.70
         30007167                             12/2/2022                    0.00                 414.05
         30009575                             12/2/2022                    0.00                 236.40
         30076699                             12/5/2022                    0.00                 340.79
         30112862                             12/5/2022                    0.00                  44.68
         30140934                             12/5/2022                    0.00                  22.10
         30140935                             12/9/2022                    0.00                 337.18
         30173182                             12/6/2022                    0.00                 143.18
         30177923                             12/6/2022                    0.00                  28.39
         30178961                             12/6/2022                    0.00                 964.51
         30187913                             12/6/2022                    0.00                 469.77
         30197494                             12/6/2022                    0.00                 143.33
         30202203                             12/6/2022                    0.00                 292.97
         30206797                             12/6/2022                    0.00                 154.11
         30292922                             12/7/2022                    0.00                  53.76
         30358013                             12/7/2022                    0.00               1,355.72
         30368711                             12/7/2022                    0.00                 172.09
         30384261                             12/7/2022                    0.00                  46.13
         30432001                             12/8/2022                    0.00                  43.02
         30620206                             12/8/2022                    0.00                  18.75
         30717173                             12/9/2022                    0.00                 149.28
         30757075                             12/9/2022                    0.00                 172.68
         30813030                             12/9/2022                    0.00                 468.41
093109                3/23/2023   IMAGE F           BERSTEIN-MAGOON-GAY, LLC                                   5,074.60   Auto
         1982350                              1/16/2023                        0.00              99.33
         1982351                              1/16/2023                        0.00              95.14
         1982352                              1/16/2023                        0.00             222.58
         1982353                              1/16/2023                        0.00             246.22
         1982354                              1/16/2023                        0.00             215.32
         1982355                              1/16/2023                        0.00             296.14
         1982357                              1/16/2023                        0.00             112.49
         1982358                              1/16/2023                        0.00             217.62
         1982359                              1/16/2023                        0.00             253.42
         1982360                              1/16/2023                        0.00             116.43
         1982361                              1/16/2023                        0.00             350.03

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Number/          Date             Number           Name                Discount                             Check Amount     Check Type
      Invoice Number                          Invoice Date             Amount            Invoice Amount
         1982425                              1/17/2023                           0.00             153.49
         1982442                              1/17/2023                           0.00             106.33
         1982443                              1/17/2023                           0.00             133.80
         1982444                              1/17/2023                           0.00             116.69
         1983838                              1/19/2023                           0.00             271.40
         1983839                              1/19/2023                           0.00              50.76
         1983840                              1/19/2023                           0.00             349.49
         1983842                              1/19/2023                           0.00             131.31
         1983843                              1/19/2023                           0.00              95.14
         1983849                              1/19/2023                           0.00              96.93
         1983850                              1/19/2023                           0.00               9.37
         1983851                              1/19/2023                           0.00             124.29
         1983852                              1/19/2023                           0.00             248.92
         1983853                              1/19/2023                           0.00             449.06
         1983854                              1/19/2023                           0.00             360.07
         1983855                              1/19/2023                           0.00             152.83
093110                3/23/2023   JOE Z             JOE ZAKRZEWSKI                                                  183.40   Auto
         WE3/18/23                            3/18/2023                           0.00             183.40
093111                3/23/2023   JOHANSS           JENNIFER JOHANSSON                                                6.04   Auto
       2/23REFUND                             2/14/2023                           0.00               6.04
093112           3/23/2023        LEVINE            ELIZABETH LEVINE                                                888.00   Auto
         3/23DEA                              3/1/2023                            0.00             888.00
093113                3/23/2023   MASON             W.B. MASON CO. INC.                                             319.11   Auto
         235815447                            1/25/2023                   0.00                     173.17
         235844592                            1/26/2023                   0.00                     145.94
093114                3/23/2023   MCKESSO           MCKESSON MEDICAL-SURGICAL INC.                                5,622.96   Auto
         51456845                             1/17/2023                           0.00             162.78
         51463570                             1/17/2023                           0.00             312.38
         51498516                             1/18/2023                           0.00             213.08
         51580903                             1/19/2023                           0.00              44.63
         51580944                             1/19/2023                           0.00             133.88
         51606565                             1/20/2023                           0.00           1,876.48
         51652720                             1/23/2023                           0.00             805.00
         51698936                             1/24/2023                           0.00             304.83
         51705872                             1/24/2023                           0.00             284.79
         51718373                             1/24/2023                           0.00             192.80
         51810214                             1/26/2023                           0.00             205.53
         51835896                             1/27/2023                           0.00             403.60
         51867362                             1/27/2023                           0.00             367.75
         51867405                             1/27/2023                           0.00             315.43
093115                3/23/2023   MEDWAST           MED WASTE DISPOSAL                                            2,414.00   Auto
         40472                                2/20/2023                           0.00           2,414.00
093116                3/23/2023   MENDES            SHARON M MENDES                                                 426.00   Auto
         1369                                 2/4/2023                            0.00             142.00
         1371                                 2/4/2023                            0.00             142.00
         1376                                 2/11/2023                           0.00             142.00
093117                3/23/2023   PEIXOTO           ELISSA PEIXOTO                                                1,038.00   Auto
         3/23DEA/PA                           3/1/2023                            0.00           1,038.00
093118                3/23/2023   PETTYTA           COMPASS MEDICAL                                                  30.00   Auto
         3/23PETTYC                           3/15/2023                           0.00              30.00
093119                3/23/2023   QUENCH            QUENCH USA, INC.                                              1,323.92   Auto
       INV04464762                            11/1/2022                           0.00             661.96
       INV05096587                            1/1/2023                            0.00             661.96
093120            3/23/2023       QUEST             QUEST DIAGNOSTICS                                                32.54   Auto
         9202473461                           1/26/2023                     0.00                    32.54
093121                3/23/2023   RELIANC           RELIANCE STANDARD LIFE INS CO                                11,381.78   Auto


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Check            Check            Vendor
Number/          Date             Number            Name               Discount                             Check Amount     Check Type
      Invoice Number                           Invoice Date            Amount            Invoice Amount
         3/23INS                               3/1/2023                           0.00          11,381.78
093122                3/23/2023   SANOFI             SANOFI PASTEUR INC                                           5,399.91   Auto
         920050728                             12/27/2022                  0.00                  1,433.26
         920053107                             12/27/2022                  0.00                  3,137.28
         920066346                             12/29/2022                  0.00                    829.37
093123                3/23/2023   SIEMENH           SIEMENS HEALTHCARE DIAGNOSTICS                                  181.82   Auto
         978840016                             1/6/2023                    0.00                    181.82
093124                3/23/2023   STEW               STEWARD MEDICAL GROUP                                          200.00   Auto
       3/23DOUGLAS-STEELE                      3/15/2023                   0.00                    200.00
093125           3/23/2023        STEW               STEWARD MEDICAL GROUP                                          200.00   Auto
       3/23OSTREM                              3/3/2023                           0.00             200.00
093126           3/23/2023        SYSMEX             SYSMEX AMERICA, INC.                                         1,581.25   Auto
         94602801                              1/31/2023                          0.00             232.81
         94604905                              1/31/2023                          0.00           1,348.44
093127                3/23/2023   THOMPSO            JOSHUA THOMPSON                                                314.40   Auto
         WE3/18/23                             3/18/2023                 0.00                      314.40
093128                3/23/2023   TOWNSON            TOWNSON PHOTOGRAPHY                                             69.06   Auto
         11222                                 11/2/2022                          0.00              69.06
093129                3/23/2023   TRIZETT            TRIZETTO CORPORATION                                        18,238.26   Auto
         36NZ022300                            2/1/2023                      0.00               18,238.26
093130                3/23/2023   USI INS            USI INSURANCE SERVICES LLC                                   4,300.00   Auto
         4493755                               2/15/2023                          0.00           2,150.00
         4508856                               2/28/2023                          0.00           2,150.00
093131                3/23/2023   WEINSTE            BRUCE WEINSTEIN                                                220.00   Auto
         2/23REIMB                             2/27/2023                          0.00             220.00
093132                3/28/2023   0022604            PAULINE QUIRK                                                   90.00   Auto
         4283118                               3/28/2023                          0.00              10.00
         4451089                               3/28/2023                          0.00              20.00
         4538996                               3/28/2023                          0.00              20.00
         4589126                               3/28/2023                          0.00              40.00
093133                3/28/2023   QUEST              QUEST DIAGNOSTICS                                              130.87   Auto
       3/23PATIENT                             3/22/2023                          0.00             130.87
093134            3/29/2023       ANDREWS            TARA ANDREWS                                                   213.53   Auto
       PPE 3/25/23 PAY                         3/29/2023                          0.00             213.53
093135             3/29/2023      HOOD               PAMELA HOOD                                                    683.42   Auto
       PPE 3/25/23 PAY                         3/29/2023                     0.00                  683.42
093136             3/30/2023      3M                 3M HEALTH INFO SYSTEMS INC                                   3,058.53   Auto
         SC00091105                            2/6/2023                           0.00             425.94
         SC00091746                            2/8/2023                           0.00           2,632.59
093137                3/30/2023   ADP                ADP, INC.                                                    3,412.08   Auto
         628978628                             3/17/2023                          0.00           3,412.08
093138                3/30/2023   AG EIP             AG-EIP INDUSTRIAL 9, LLC                                    11,308.30   Auto
       RENT032223                              3/22/2023                          0.00          11,308.30
093139           3/30/2023        AIRGAS             AIRGAS USA, LLC                                                194.55   Auto
         9994227426                            1/31/2023                          0.00              30.70
         9994239669                            1/31/2023                          0.00              71.62
         9994239670                            1/31/2023                          0.00              92.23
093140                3/30/2023   ALPHASO            ALPHA SOURCE, INC.                                             375.00   Auto
         1255078                               2/21/2023                          0.00             375.00
093141                3/30/2023   ALTMAN             FRANKLIN ALTMAN                                                 26.20   Auto
         WE3/25/23                             3/25/2023                          0.00              26.20
093142                3/30/2023   AQUA VI            AQUA VISION TECH LLC                                           238.17   Auto
         79383                                 2/18/2023                   0.00                    238.17
093143                3/30/2023   ATI                ASCEND LEARNING HOLDINGS, LLC                                   72.24   Auto
         INV0823876                            2/8/2023                           0.00              72.24
093144                3/30/2023   BESSEM             AMERISOURCEBERGEN                                            4,897.40   Auto

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      Invoice Number                          Invoice Date         Amount            Invoice Amount
         3120885398                           1/24/2023                     0.00             4,897.40
093145                3/30/2023   BIORAD            BIO-RAD LABORATORIES, INC                                   958.61   Auto
         906142259                            2/14/2023                       0.00             958.61
093146                3/30/2023   BSWANSO           BRANDT SWANSON                                            2,959.86   Auto
         2/23REIMB                            2/8/2023                   0.00                2,959.86
093147                3/30/2023   BURGESS           BURGESS PEST MANAGEMENT                                     261.00   Auto
         815119                               12/15/2022                      0.00              87.00
         822979                               1/13/2023                       0.00              87.00
         832366                               2/7/2023                        0.00              87.00
093148                3/30/2023   CASTRO            PATRICK DE CASTRO                                           550.00   Auto
         22123                                2/21/2023                   0.00                 550.00
093149                3/30/2023   CBPACHE           CASSIE BOIROS-PACHECO                                         6.31   Auto
         1/23MILE                             1/26/2023                   0.00                   6.31
093150                3/30/2023   CENTRAL           CENTRAL COMMUNICATIONS                                      715.30   Auto
         32734                                1/29/2023                   0.00                 115.00
         32807                                1/29/2023                   0.00                 600.30
093151                3/30/2023   CHANGE            CHANGE HEALTHCARE SOLUTIONS LL                            2,914.08   Auto
         1711745                              1/31/2023                    0.00              2,914.08
093152                3/30/2023   CINT CO           CINTAS CORPORATION 756                                       40.00   Auto
         4145751009                           2/7/2023                        0.00              20.00
         4146446281                           2/14/2023                       0.00              20.00
093153                3/30/2023   CLAFLIN           THE CLAFLIN COMPANY                                      10,407.28   Auto
         4028566                              1/16/2023                       0.00             733.89
         4033610                              1/23/2023                       0.00               6.65
         4033654                              1/23/2023                       0.00              51.40
         4033660                              1/23/2023                       0.00              33.26
         4033662                              1/23/2023                       0.00              10.14
         4033686                              1/23/2023                       0.00             894.05
         4033993                              1/23/2023                       0.00             119.09
         4035538                              1/25/2023                       0.00              13.92
         4035545                              1/25/2023                       0.00              13.92
         4035546                              1/25/2023                       0.00              13.92
         4035553                              1/25/2023                       0.00              13.92
         4035554                              1/25/2023                       0.00              13.92
         4035722                              1/25/2023                       0.00             235.24
         4036180                              1/25/2023                       0.00             370.64
         4038667                              1/30/2023                       0.00              40.61
         4038737                              1/30/2023                       0.00             185.94
         4038738                              1/30/2023                       0.00              63.30
         4038906                              1/30/2023                       0.00             647.36
         4038971                              1/30/2023                       0.00             366.68
         4040849                              2/1/2023                        0.00              12.05
         4040887                              2/1/2023                        0.00              11.79
         4040911                              2/1/2023                        0.00             224.35
         4040938                              2/1/2023                        0.00             561.36
         4041032                              2/1/2023                        0.00             684.49
         4041064                              2/1/2023                        0.00             249.35
         4041068                              2/1/2023                        0.00             805.53
         4041109                              2/1/2023                        0.00             138.18
         4041112                              2/1/2023                        0.00             371.39
         4041120                              2/1/2023                        0.00             189.36
         4041122                              2/1/2023                        0.00             681.86
         4041123                              2/1/2023                        0.00             252.54
         4041125                              2/1/2023                        0.00             536.93
         4041127                              2/1/2023                        0.00             883.31
         4041149                              2/1/2023                        0.00             496.08
         4041253                              2/1/2023                        0.00              30.44

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      Invoice Number                          Invoice Date          Amount            Invoice Amount
         4041398                              2/1/2023                    0.00                  450.42
093154                3/30/2023   CLIA              CLIA LABORATORY PROGRAM                                    3,667.00   Auto
         2/23LAB                              3/28/2023                     0.00              3,667.00
093155                3/30/2023   CLINICA           CLINICAL 1 HOME MEDICAL                                       12.00   Auto
         29219                                2/15/2023                        0.00              12.00
093156                3/30/2023   CONN              PATRICK CONNELLY                                             366.80   Auto
         WE3/25/23                            3/25/2023                     0.00                366.80
093157                3/30/2023   CROWN             CROWN LINEN SERVICE INC                                      474.98   Auto
         2251773                              2/6/2023                         0.00             236.98
         2255858                              2/13/2023                        0.00             238.00
093158                3/30/2023   CYBER             MEDIBOT LLC                                               28,381.39   Auto
       RENT032223                             3/22/2023                        0.00          28,381.39
093159           3/30/2023        CYRACOM           CYRACOM, LLC                                                  28.70   Auto
         2023016042                           2/28/2023                        0.00              28.70
093160                3/30/2023   DENNIS            DENNIS HALL                                                  363.53   Auto
         WE3/25/23                            3/25/2023                        0.00             363.53
093161                3/30/2023   DIALPAD           DIALPAD INC                                               24,279.98   Auto
       S2303010287                            3/1/2023                         0.00          24,279.98
093162            3/30/2023       DIASORI           DIASORIN INC.                                              2,847.08   Auto
         5660581                              2/6/2023                     0.00               2,847.08
093163                3/30/2023   DONNFIN           DONNELLEY FINANCIAL SOLUTIONS                                250.00   Auto
         1245591000                           3/14/2023                        0.00             250.00
093164                3/30/2023   ECLINIC           ECLINICALWORKS, LLC                                       41,471.08   Auto
         2607455                              3/1/2023                         0.00          41,471.08
093165                3/30/2023   EMBELTO           MICHAEL EMBELTON                                             125.76   Auto
         WE3/25/23                            3/25/2023                        0.00             125.76
093166                3/30/2023   EMPLOYM           GLOBAL HR RESEARCH                                           839.70   Auto
         13430250                             2/28/2023                     0.00                839.70
093167                3/30/2023   EMSAR             CSA SERVICE SOLUTIONS LLC                                    106.25   Auto
         SM-104711                            2/3/2023                     0.00                 106.25
093168                3/30/2023   ENCORET           ENCORE TECHNICAL SERVICES, INC                               816.69   Auto
         19128                                2/1/2023                         0.00             816.69
093169                3/30/2023   EPLUS             EPLUS TECHNOLOGY INC                                       6,426.00   Auto
         V2672932                             2/14/2023                     0.00              6,426.00
093170                3/30/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                     93.56   Auto
                                                    MASSACHUSETTS
         2/23BO249                            2/24/2023                     0.00                 93.56
093171                3/30/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                    731.51   Auto
                                                    MASSACHUSETTS
         2/23BO403                            2/24/2023                     0.00                731.51
093172                3/30/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                    151.37   Auto
                                                    MASSACHUSETTS
         2/23BO418                            2/24/2023                     0.00                151.37
093173                3/30/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                    197.23   Auto
                                                    MASSACHUSETTS
         2/23BO769                            2/24/2023                     0.00                197.23
093174                3/30/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                  3,146.86   Auto
                                                    MASSACHUSETTS
         2/23EB                               2/24/2023                     0.00              3,146.86
093175                3/30/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                    855.11   Auto
                                                    MASSACHUSETTS
         2/23HH                               2/24/2023                     0.00                855.11
093176                3/30/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                    605.91   Auto
                                                    MASSACHUSETTS
         2/23TAU                              2/22/2023                     0.00                605.91
093177                3/30/2023   FACIL             NE FACILITY SOLUTIONS CORP                                 3,111.40   Auto
         13029                                2/10/2023                        0.00             193.82
         13066                                2/10/2023                        0.00             300.00

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Number/          Date             Number           Name             Discount                             Check Amount     Check Type
      Invoice Number                          Invoice Date          Amount            Invoice Amount
         13143                                2/10/2023                        0.00           1,904.47
         13144                                2/10/2023                        0.00             643.11
         13280                                2/10/2023                        0.00              70.00
093178                3/30/2023   FEDERA            FEDEX                                                        316.51   Auto
         805895789                            3/6/2023                       0.00                75.85
         806568705                            3/13/2023                      0.00               234.87
         964686222                            3/13/2023                      0.00                 5.79
093179                3/30/2023   FX                F.X. MASSE ASSOCIATES, INC.                                2,900.00   Auto
         38646                                1/27/2023                     0.00              1,900.00
         38783                                2/27/2023                     0.00              1,000.00
093180                3/30/2023   GE HEAL           GE HEALTHCARE FIN SERVICES                                 9,921.91   Auto
         100724719                            2/18/2023                        0.00           5,969.41
         100725458                            2/19/2023                        0.00           3,952.50
093181                3/30/2023   GEHEALT           GE HEALTHCARE, INC.                                        1,773.66   Auto
         0101032270                           2/1/2023                         0.00             886.83
         0101033844                           2/3/2023                         0.00             886.83
093182                3/30/2023   GENDREA           TAYLOR GENDREAU                                              246.42   Auto
         2/23MILE                             2/1/2023                         0.00             246.42
093183                3/30/2023   GONSALV           ANN GONSALVES                                                149.00   Auto
         3/23REIMB                            3/6/2023                         0.00             149.00
093184                3/30/2023   HEALTH            HEALTH PROPERTIES LLC                                      3,231.83   Auto
       RENT032223                             3/22/2023                        0.00           3,231.83
093185           3/30/2023        HEALTHE           HEALTHEQUITY, INC.                                         2,005.29   Auto
         CHAMT5M                              3/1/2023                         0.00           1,755.29
         QFAFB68                              2/1/2023                         0.00             250.00
093186                3/30/2023   HENRY             HENRY SCHEIN                                               9,316.79   Auto
         22083905                             12/20/2022                       0.00             -54.61
         30141108                             12/16/2022                       0.00             513.74
         30292924                             12/20/2022                       0.00              34.74
         30757087                             12/12/2022                       0.00             102.67
         31027138                             12/12/2022                       0.00             900.10
         31048689                             12/13/2022                       0.00             329.75
         31126109                             12/13/2022                       0.00              17.76
         31166868                             12/14/2022                       0.00               1.47
         31327282                             12/13/2022                       0.00             348.16
         31385465                             12/13/2022                       0.00              58.36
         31531010                             12/15/2022                       0.00               8.54
         31531019                             12/15/2022                       0.00              26.88
         31531040                             12/15/2022                       0.00               5.70
         31546451                             12/14/2022                       0.00             142.71
         31612574                             12/15/2022                       0.00              22.44
         31710048                             12/16/2022                       0.00             376.24
         31736982                             12/16/2022                       0.00              36.19
         31741666                             12/19/2022                       0.00             460.45
         31813942                             12/19/2022                       0.00             285.53
         31815386                             12/19/2022                       0.00             219.89
         31850481                             12/19/2022                       0.00              68.52
         31852261                             12/19/2022                       0.00             318.24
         31921216                             12/22/2022                       0.00              83.39
         31926252                             12/20/2022                       0.00           1,684.25
         31936984                             12/20/2022                       0.00             445.24
         31960078                             12/20/2022                       0.00             386.75
         31981381                             12/21/2022                       0.00             161.71
         32011114                             12/22/2022                       0.00              90.08
         32011932                             12/22/2022                       0.00             462.44
         32080542                             12/22/2022                       0.00           1,113.58
         32198610                             12/27/2022                       0.00             152.93

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      Invoice Number                         Invoice Date        Amount            Invoice Amount
         32200170                            12/27/2022                     0.00             512.95
093187               3/30/2023   HOLO             HOLOGIC INC                                              26,105.22   Auto
         10416891                            2/1/2023                     0.00            26,105.22
093188               3/30/2023   HOLOGIC           HOLOGIC CAPITAL PROGRAM OF DE LAGE                      11,451.78   Auto
                                                   LANDEN FIN SVC
         586762272                           1/29/2023                    0.00            11,451.78
093189               3/30/2023   IMAGE F           BERSTEIN-MAGOON-GAY, LLC                                15,695.16   Auto
         1978293                             1/5/2023                       0.00             152.83
         1984630                             1/23/2023                      0.00              99.33
         1984631                             1/23/2023                      0.00              95.14
         1984632                             1/23/2023                      0.00             222.58
         1984633                             1/23/2023                      0.00             246.22
         1984634                             1/23/2023                      0.00             215.32
         1984635                             1/23/2023                      0.00             296.14
         1984637                             1/23/2023                      0.00             112.49
         1984638                             1/23/2023                      0.00             217.62
         1984639                             1/23/2023                      0.00             253.42
         1984640                             1/23/2023                      0.00             116.43
         1984641                             1/23/2023                      0.00             350.03
         1984707                             1/24/2023                      0.00             153.49
         1984725                             1/24/2023                      0.00             118.05
         1984726                             1/24/2023                      0.00             133.80
         1984727                             1/24/2023                      0.00             116.69
         1986921                             1/26/2023                      0.00             271.40
         1986922                             1/26/2023                      0.00              50.76
         1986923                             1/26/2023                      0.00             349.49
         1986925                             1/26/2023                      0.00             131.31
         1986926                             1/26/2023                      0.00              95.14
         1986930                             1/26/2023                      0.00              96.93
         1986931                             1/26/2023                      0.00               9.37
         1986932                             1/26/2023                      0.00             135.71
         1986933                             1/26/2023                      0.00             248.92
         1986934                             1/26/2023                      0.00             449.06
         1986935                             1/26/2023                      0.00             360.07
         1986936                             1/26/2023                      0.00             152.83
         1987501                             1/30/2023                      0.00              99.33
         1987502                             1/30/2023                      0.00              95.14
         1987503                             1/30/2023                      0.00             225.66
         1987504                             1/30/2023                      0.00             246.22
         1987505                             1/30/2023                      0.00             215.32
         1987506                             1/30/2023                      0.00             296.14
         1987508                             1/30/2023                      0.00             112.49
         1987509                             1/30/2023                      0.00             217.62
         1987510                             1/30/2023                      0.00             253.42
         1987511                             1/30/2023                      0.00             116.43
         1987512                             1/30/2023                      0.00             350.03
         1987576                             1/31/2023                      0.00             153.49
         1987593                             1/31/2023                      0.00             129.78
         1987594                             1/31/2023                      0.00             133.80
         1987595                             1/31/2023                      0.00             122.62
         261224455                           2/2/2023                       0.00             277.99
         261224456                           2/2/2023                       0.00              50.76
         261224457                           2/2/2023                       0.00             359.38
         261224459                           2/2/2023                       0.00             134.60
         261224460                           2/2/2023                       0.00             101.73
         261224466                           2/2/2023                       0.00              96.93
         261224467                           2/2/2023                       0.00              21.23


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Check            Check            Vendor
Number/          Date             Number           Name              Discount                             Check Amount     Check Type
      Invoice Number                          Invoice Date           Amount            Invoice Amount
         261224468                            2/2/2023                          0.00             124.29
         261224469                            2/2/2023                          0.00             248.92
         261224470                            2/2/2023                          0.00             449.06
         261224471                            2/2/2023                          0.00             360.07
         261224472                            2/2/2023                          0.00             152.83
         261237058                            1/31/2023                         0.00             158.53
         261249371                            2/6/2023                          0.00             102.62
         261249372                            2/6/2023                          0.00              98.43
         261249373                            2/6/2023                          0.00             205.85
         261249374                            2/6/2023                          0.00             252.81
         261249375                            2/6/2023                          0.00             221.91
         261249376                            2/6/2023                          0.00             271.95
         261249378                            2/6/2023                          0.00             122.39
         261249379                            2/6/2023                          0.00             227.51
         261249380                            2/6/2023                          0.00             260.01
         261249381                            2/6/2023                          0.00             123.02
         261249382                            2/6/2023                          0.00             356.62
         261249449                            2/7/2023                          0.00             158.44
         261249467                            2/7/2023                          0.00             112.91
         261249468                            2/7/2023                          0.00             137.10
         261249469                            2/7/2023                          0.00             123.28
         261262934                            2/9/2023                          0.00             277.99
         261262935                            2/9/2023                          0.00              50.76
         261262936                            2/9/2023                          0.00             359.38
         261262938                            2/9/2023                          0.00             134.60
         261262939                            2/9/2023                          0.00             101.73
         261262943                            2/9/2023                          0.00              96.93
         261262945                            2/9/2023                          0.00               9.37
         261262946                            2/9/2023                          0.00             124.29
         261262947                            2/9/2023                          0.00             248.92
         261262948                            2/9/2023                          0.00             449.06
         261262949                            2/9/2023                          0.00             360.07
         261262950                            2/9/2023                          0.00             152.83
093190                3/30/2023   JOE Z             JOE ZAKRZEWSKI                                                183.40   Auto
         WE3/25/23                            3/25/2023                    0.00                  183.40
093191                3/30/2023   JWS               JOE WARREN & SONS CO INC                                      254.75   Auto
         263582                               1/31/2023                         0.00             254.75
093192                3/30/2023   KANE              KANE AND KANE                                                 915.50   Auto
         1608                                 2/1/2023                          0.00             915.50
093193                3/30/2023   KLEIN             MICHAEL KLEIN                                                 735.00   Auto
         2/23REIMB                            2/27/2023                         0.00             735.00
093194                3/30/2023   LEASING           LEASING ASSOCIATES OF                                       2,219.57   Auto
         1675815                              2/1/2023                     0.00                  473.88
         1676781                              2/1/2023                     0.00                1,745.69
093195                3/30/2023   MALLORY           MALLORY HEADSETS, INC.                                         80.08   Auto
         136833                               2/15/2023                         0.00              80.08
093196                3/30/2023   MASON             W.B. MASON CO. INC.                                         4,041.38   Auto
         235671916                            1/19/2023                         0.00               5.16
         235675110                            1/19/2023                         0.00              81.92
         235704393                            1/20/2023                         0.00              14.96
         235704858                            1/20/2023                         0.00             434.16
         235705143                            1/20/2023                         0.00             107.97
         235714105                            1/20/2023                         0.00             328.35
         235773096                            1/24/2023                         0.00              91.37
         235776945                            1/24/2023                         0.00               3.47
         235813396                            1/25/2023                         0.00              50.46
         235815769                            1/25/2023                         0.00              64.75

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Check            Check           Vendor
Number/          Date            Number           Name           Discount                              Check Amount     Check Type
      Invoice Number                         Invoice Date        Amount             Invoice Amount
         235844672                           1/26/2023                   0.00                  33.71
         235851167                           1/26/2023                   0.00                 189.08
         235917483                           1/30/2023                   0.00                 196.26
         235943377                           1/31/2023                   0.00                  15.97
         235955357                           1/31/2023                   0.00                  32.36
         235996661                           2/1/2023                    0.00                 359.87
         236000490                           2/1/2023                    0.00                  55.18
         236002376                           2/1/2023                    0.00                 315.33
         236008904                           2/1/2023                    0.00                  27.54
         236021442                           2/2/2023                    0.00                 109.85
         236024322                           2/2/2023                    0.00                  15.88
         236024928                           2/2/2023                    0.00                  77.09
         236025104                           2/2/2023                    0.00                  23.26
         236026164                           2/2/2023                    0.00                  88.06
         236026911                           2/2/2023                    0.00                 114.36
         236059165                           2/3/2023                    0.00                  73.56
         236061542                           2/3/2023                    0.00                  23.39
         236061605                           2/3/2023                    0.00                 156.28
         236062822                           2/3/2023                    0.00                 207.82
         236088763                           2/6/2023                    0.00                 133.50
         236090539                           2/6/2023                    0.00                  31.63
         236094828                           2/6/2023                    0.00                  22.66
         236135333                           2/7/2023                    0.00                  27.31
         236140401                           2/7/2023                    0.00                 147.36
         236158410                           2/8/2023                    0.00                  69.53
         236159105                           2/8/2023                    0.00                  16.76
         236160328                           2/8/2023                    0.00                  51.62
         236161018                           2/8/2023                    0.00                  66.83
         236164198                           2/8/2023                    0.00                 129.48
         236166246                           2/8/2023                    0.00                  74.59
         CM1536256                           1/20/2023                   0.00                 -27.31
093197               3/30/2023   MCKESSO           MCKESSON MEDICAL-SURGICAL INC.                           30,881.54   Auto
         12346143                            10/31/2022                     0.00                6.14
         12437282                            12/31/2022                     0.00              280.02
         12479614                            1/31/2023                      0.00              314.86
         49975674                            12/4/2022                      0.00            8,014.61
         49975687                            12/4/2022                      0.00            7,200.79
         49975688                            12/4/2022                      0.00            1,443.34
         51871886                            1/29/2023                      0.00            4,561.21
         51883762                            1/30/2023                      0.00              427.02
         51927594                            1/31/2023                      0.00            1,126.36
         51979096                            2/1/2023                       0.00              135.11
         51981306                            2/1/2023                       0.00              880.88
         52009712                            2/1/2023                       0.00              606.00
         52049657                            2/2/2023                       0.00               74.04
         52114305                            2/5/2023                       0.00            1,027.35
         52132387                            2/6/2023                       0.00              483.89
         52135486                            2/6/2023                       0.00               26.01
         52148186                            2/6/2023                       0.00            1,893.95
         52179314                            2/7/2023                       0.00              142.32
         52180334                            2/7/2023                       0.00               45.53
         52235066                            2/8/2023                       0.00              132.92
         52264718                            2/8/2023                       0.00               74.38
         52265311                            2/8/2023                       0.00              397.93
         52295746                            2/9/2023                       0.00              433.03
         52314234                            2/9/2023                       0.00               44.63
         52314718                            2/9/2023                       0.00              265.07


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Check            Check            Vendor
Number/          Date             Number           Name               Discount                             Check Amount     Check Type
      Invoice Number                          Invoice Date            Amount            Invoice Amount
         52317155                             2/9/2023                           0.00             613.59
         52317165                             2/9/2023                           0.00             230.56
093198                3/30/2023   MENDES            SHARON M MENDES                                                142.00   Auto
         1374                                 2/11/2023                    0.00                   142.00
093199                3/30/2023   MERIDIA           MERIDIAN BIOSCIENCE CORP                                     3,735.60   Auto
         258507                               2/16/2023                    0.00                 3,735.60
093200                3/30/2023   NE DRAI           NEW ENGLAND DRAIN SERVICE INC.                                 450.00   Auto
         82765                                2/23/2023                          0.00             450.00
093201                3/30/2023   NET7              NET7 TOTAL CARE LLC                                          5,416.66   Auto
         2263                                 2/1/2023                           0.00           5,416.66
093202                3/30/2023   NET@WOR           NET@WORK                                                     2,350.00   Auto
       INV-00035480                           1/19/2023                          0.00           2,350.00
093203            3/30/2023       OU                WINNY OU                                                       703.74   Auto
         2/23REIMB                            2/27/2023                          0.00             703.74
093204                3/30/2023   PARKPLA           PPT HOLDINGS I LLC                                           2,527.50   Auto
       PUSA10090087903                        1/18/2023                   0.00                  2,527.50
093205           3/30/2023        PINN              PINNACLE HEALTHCARE CONSULTING                                 690.70   Auto
         PHC-009046                           1/31/2023                          0.00             690.70
093206                3/30/2023   QUEST             QUEST DIAGNOSTICS                                               32.56   Auto
         9203030826                           2/23/2023                          0.00              32.56
093207                3/30/2023   SANOFI            SANOFI PASTEUR INC                                           7,069.89   Auto
         920050728                            12/27/2022                  0.00                     28.94
         920066346                            12/29/2022                  0.00                     16.93
         920091897                            1/5/2023                    0.00                  1,618.00
         920106198                            1/10/2023                   0.00                    381.00
         920108181                            1/10/2023                   0.00                    952.50
         920108182                            1/10/2023                   0.00                  1,124.33
         920109653                            1/10/2023                   0.00                  2,948.19
093208                3/30/2023   SHARECA           SHARECARE HEALTH DATA SERVICES                               2,094.93   Auto
       CB9041970C2B6Q8                        2/15/2023                    0.00                 2,094.93
093209           3/30/2023        SIEMENH           SIEMENS HEALTHCARE DIAGNOSTICS                               2,479.16   Auto
         952915205                            2/20/2023                     0.00                2,479.16
093210                3/30/2023   SIEMENS           SIEMENS FINANCIAL SRVCS, INC.                               10,124.03   Auto
         26130                                2/20/2023                          0.00          10,124.03
093211                3/30/2023   SINGH             BALJINDER SINGH                                                150.00   Auto
         3/23MCSR                             3/22/2023                          0.00             150.00
093212                3/30/2023   SMILEM            SMILEMAKERS, INC                                                44.77   Auto
         9306256                              2/9/2023                     0.00                    44.77
093213                3/30/2023   SMS               SIEMENS MEDICAL SOLUTIONS                                    3,140.17   Auto
         116328481                            2/1/2023                           0.00           3,140.17
093214                3/30/2023   SOS               SIGNS ON SITE                                                1,247.71   Auto
         8151664                              2/16/2023                          0.00           1,247.71
093215                3/30/2023   STERICY           STERICYCLE INC                                               1,145.85   Auto
         8003170893                           1/18/2023                          0.00             134.25
         8003376572                           2/18/2023                          0.00             214.98
         8003376574                           2/18/2023                          0.00             217.75
         8003376575                           2/18/2023                          0.00              30.00
         8003376576                           2/18/2023                          0.00              88.25
         8003376577                           2/18/2023                          0.00             134.25
         8003376578                           2/18/2023                          0.00             177.87
         8003376579                           2/18/2023                          0.00              10.00
         8003376580                           2/18/2023                          0.00              69.25
         8003376581                           2/18/2023                          0.00              17.00
         8003376582                           2/18/2023                          0.00              52.25
093216                3/30/2023   STEW              STEWARD MEDICAL GROUP                                          200.00   Auto
         3/23HERSH                            3/23/2023                          0.00             200.00

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Check            Check            Vendor
Number/          Date             Number           Name               Discount                             Check Amount     Check Type
      Invoice Number                          Invoice Date            Amount            Invoice Amount
093217                3/30/2023   SURGI             SURGI-CARE INC                                                  64.26   Auto
         03951169                             1/23/2023                          0.00              27.10
         03951171                             1/23/2023                          0.00             -27.10
         03971249                             2/15/2023                          0.00              32.13
         03971261                             2/15/2023                          0.00              32.13
093218                3/30/2023   SUSANEC           SUSAN E. CALDWELL                                              148.50   Auto
         23047                                2/12/2023                          0.00             148.50
093219                3/30/2023   SUSLAVI           KEVIN SUSLAVICIUS                                               20.63   Auto
         2/23MILE                             2/6/2023                           0.00              20.63
093220                3/30/2023   THOMPSO           JOSHUA THOMPSON                                                314.40   Auto
         WE3/25/23                            3/25/2023                 0.00                      314.40
093221                3/30/2023   TOWNSON           TOWNSON PHOTOGRAPHY                                             69.07   Auto
         2523                                 2/5/2023                           0.00              69.07
093222                3/30/2023   VE2036            VERIZON                                                        715.48   Auto
         2/23POTS                             2/22/2023                    0.00                   715.48
093223                3/30/2023   VINTAGE           VINTAGE GRAPHIC SOLUTIONS                                    1,011.48   Auto
         129845                               1/11/2023                          0.00             271.33
         129890                               2/6/2023                           0.00             133.18
         129932                               2/6/2023                           0.00             186.57
         129949                               2/14/2023                          0.00             292.52
         129975                               2/14/2023                          0.00             127.88
093224                3/30/2023   VIOLA             DOMINIC VIOLA                                                   41.44   Auto
         3/23REIMB                            3/15/2023                          0.00              41.44
093225                3/30/2023   VISCOM            VISCOM SYSTEMS, INC                                            988.91   Auto
         228090                               8/31/2022                          0.00             718.91
         231880                               1/31/2023                          0.00             270.00
093226                3/30/2023   WHITTEN           J&E ENTERPRISES                                                 80.73   Auto
         A234234                              2/7/2023                      0.00                   80.73
093227                4/6/2023    362BED            362 N BEDFORD STREET, LLC                                    7,938.33   Auto
         CAM 040123                           4/1/2023                     0.00                 7,938.33
093228                4/6/2023    ACR               AMERICAN COLLEGE OF RADIOLOGY                                2,900.00   Auto
       10581925-CTAP                          3/30/2023                          0.00           2,900.00
093229            4/6/2023        ADP               ADP, INC.                                                    2,223.79   Auto
         630102727                            3/31/2023                          0.00             578.20
         630102945                            3/31/2023                          0.00           1,645.59
093230                4/6/2023    AG EIP            AG-EIP INDUSTRIAL 9, LLC                                     2,019.19   Auto
         CAM 040123                           4/1/2023                           0.00           2,019.19
093231                4/6/2023    AIRGAS            AIRGAS USA, LLC                                                762.40   Auto
         9134507643                           1/31/2023                          0.00             205.56
         9134643786                           2/2/2023                           0.00             121.38
         9994201468                           1/31/2023                          0.00              40.93
         9994201469                           1/31/2023                          0.00              27.67
         9994201470                           1/31/2023                          0.00              16.32
         9994201471                           1/31/2023                          0.00              20.46
         9994201472                           1/31/2023                          0.00              20.46
         9994211681                           1/31/2023                          0.00              10.23
         9994211682                           1/31/2023                          0.00              10.23
         9994351088                           1/31/2023                          0.00              17.98
         9994945276                           2/28/2023                          0.00              45.86
         9994945277                           2/28/2023                          0.00              34.39
         9994957344                           2/28/2023                          0.00              80.25
         9994957345                           2/28/2023                          0.00              92.23
         9994957346                           2/28/2023                          0.00              18.45
093232                4/6/2023    BERARDR           RORI BERARDI                                                    31.86   Auto
         4/23REIMB                            4/3/2023                           0.00              31.86
093233                4/6/2023    BERLING           BERLINGER USA, LLC                                             213.50   Auto


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Check            Check           Vendor
Number/          Date            Number           Name             Discount                             Check Amount     Check Type
      Invoice Number                         Invoice Date          Amount            Invoice Amount
         12469                               3/2/2023                    0.00                  213.50
093234                4/6/2023   CENTRAL           CENTRAL COMMUNICATIONS                                     2,464.45   Auto
         32883                               2/26/2023                   0.00                  289.80
         32886                               2/26/2023                   0.00                  134.55
         32890                               2/26/2023                   0.00                  315.10
         32925                               2/26/2023                   0.00                  115.00
         32931                               2/26/2023                   0.00                  115.00
         32963                               2/26/2023                   0.00                  115.00
         32964                               2/26/2023                   0.00                  115.00
         32969                               2/26/2023                   0.00                  115.00
         32977                               2/26/2023                   0.00                  115.00
         32983                               2/26/2023                   0.00                  115.00
         33043                               2/26/2023                   0.00                  373.75
         33060                               2/26/2023                   0.00                  280.60
         33114                               2/26/2023                   0.00                  265.65
093235                4/6/2023   CHANGE            CHANGE HEALTHCARE SOLUTIONS LL                             2,914.08   Auto
         1727153                             2/28/2023                    0.00               2,914.08
093236                4/6/2023   CINT CO           CINTAS CORPORATION 756                                        40.00   Auto
         4147172478                          2/22/2023                        0.00              20.00
         4147912460                          3/1/2023                         0.00              20.00
093237                4/6/2023   CLAFLIN           THE CLAFLIN COMPANY                                        8,179.10   Auto
         4043900                             2/6/2023                    0.00                   72.83
         4043954                             2/6/2023                    0.00                   33.26
         4044018                             2/6/2023                    0.00                  188.19
         4044191                             2/6/2023                    0.00                   97.10
         4044258                             2/6/2023                    0.00                  773.37
         4046039                             2/8/2023                    0.00                   11.48
         4048932                             2/13/2023                   0.00                  564.05
         4051025                             2/15/2023                   0.00                   95.76
         4051029                             2/15/2023                   0.00                  189.08
         4051383                             2/15/2023                   0.00                  563.79
         4051388                             2/15/2023                   0.00                  334.16
         4051389                             2/15/2023                   0.00                  517.98
         4051396                             2/15/2023                   0.00                1,101.67
         4051397                             2/15/2023                   0.00                  381.79
         4051461                             2/15/2023                   0.00                  645.11
         4051463                             2/15/2023                   0.00                1,069.41
         4051465                             2/15/2023                   0.00                  385.52
         4051470                             2/15/2023                   0.00                  152.26
         4051471                             2/15/2023                   0.00                  830.65
         4051515                             2/15/2023                   0.00                  171.64
093238                4/6/2023   COMPMB            CT COMPASS MIDDLEBOROUGH LLC                              52,665.11   Auto
         CAM 040123                          4/1/2023                      0.00             52,665.11
093239                4/6/2023   CROWN             CROWN LINEN SERVICE INC                                      480.94   Auto
         2260177                             2/20/2023                        0.00             242.83
         2265473                             2/27/2023                        0.00             238.11
093240                4/6/2023   DIALPAD           DIALPAD INC                                                   60.73   Auto
       CM-S2211012607                        12/2/2022                        0.00          -1,498.04
       S2210012577                           10/1/2022                        0.00              48.55
       S2211012607                           11/1/2022                        0.00           1,510.22
093241            4/6/2023       DIASORI           DIASORIN INC.                                              9,484.31   Auto
         5661599                             2/15/2023                        0.00           9,484.31
093242                4/6/2023   EASTON2           EASTON 21 BRISTOL, LLC                                    39,090.57   Auto
         CAM 040123                          4/1/2023                      0.00             39,090.57
093243                4/6/2023   EMSAR             CSA SERVICE SOLUTIONS LLC                                     75.90   Auto
         SM-106586                           2/16/2023                    0.00                  75.90
093244                4/6/2023   EQU IND           EQUITY INDUSTRIAL SOUTHEAST LP                               826.02   Auto

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Check            Check           Vendor
Number/          Date            Number           Name             Discount                             Check Amount     Check Type
      Invoice Number                         Invoice Date          Amount            Invoice Amount
         CAM 040123                          4/1/2023                         0.00             826.02
093245                4/6/2023   FEDERA            FEDEX                                                        185.12   Auto
         807235483                           3/20/2023                        0.00              95.55
         807286259                           3/20/2023                        0.00              89.57
093246                4/6/2023   GDS               GLOBAL DATA SYSTEMS                                       66,088.74   Auto
         45473                               3/1/2023                     0.00              24,291.60
         45474                               3/1/2023                     0.00              22,015.00
         45475-SAL                           3/1/2023                     0.00              19,782.14
093247                4/6/2023   GE                GE PRECISION HEALTHCARE LLC                               14,373.84   Auto
         6002349754                          3/1/2023                         0.00           2,291.12
         6002354405                          3/1/2023                         0.00           4,552.42
         6002354556                          3/1/2023                         0.00           3,549.00
         6002355852                          3/1/2023                         0.00             439.12
         6002356140                          3/1/2023                         0.00           3,542.18
093248                4/6/2023   GEHEALT           GE HEALTHCARE, INC.                                        2,937.62   Auto
         0101043073                          2/24/2023                        0.00           2,937.62
093249                4/6/2023   HENRY             HENRY SCHEIN                                              11,154.32   Auto
         32080544                            1/3/2023                     0.00                 139.33
         32202025                            12/28/2022                   0.00                  56.36
         32203488                            12/28/2022                   0.00                  11.58
         32226695                            12/28/2022                   0.00                 217.72
         32252777                            12/28/2022                   0.00                 288.04
         32268713                            12/29/2022                   0.00                 570.40
         32287990                            12/29/2022                   0.00                 665.04
         32293199                            1/3/2023                     0.00                  57.02
         32345182                            12/30/2022                   0.00                 135.63
         32392625                            1/3/2023                     0.00                 972.85
         32395372                            1/3/2023                     0.00                  63.80
         32444532                            1/3/2023                     0.00                 165.71
         32454925                            1/4/2023                     0.00                   7.78
         32477762                            1/4/2023                     0.00                 327.54
         32481952                            1/5/2023                     0.00                  93.96
         32481971                            1/5/2023                     0.00                  93.96
         32508733                            1/4/2023                     0.00               1,085.62
         32508734                            1/9/2023                     0.00                 337.18
         32514581                            1/5/2023                     0.00                  42.64
         32531199                            1/4/2023                     0.00                 424.51
         32537423                            1/4/2023                     0.00                 489.41
         32538761                            1/5/2023                     0.00                  31.23
         32538929                            1/4/2023                     0.00                 104.86
         32649436                            1/6/2023                     0.00                  32.10
         32649677                            1/6/2023                     0.00                  19.26
         32652758                            1/5/2023                     0.00                   7.78
         32681195                            1/6/2023                     0.00                  31.34
         32681200                            1/6/2023                     0.00                  62.69
         32681205                            1/6/2023                     0.00                  62.69
         32682552                            1/6/2023                     0.00               2,982.59
         32693964                            1/6/2023                     0.00                  95.25
         32732352                            1/9/2023                     0.00                  22.44
         32750552                            1/9/2023                     0.00               1,367.10
         32770552                            1/9/2023                     0.00                  88.91
093250                4/6/2023   IMAGE F           BERSTEIN-MAGOON-GAY, LLC                                   5,077.00   Auto
         261281672                           2/13/2023                        0.00             102.62
         261281673                           2/13/2023                        0.00              98.43
         261281674                           2/13/2023                        0.00             230.60
         261281675                           2/13/2023                        0.00             270.40
         261281676                           2/13/2023                        0.00             266.46

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Check            Check           Vendor
Number/          Date            Number           Name              Discount                             Check Amount     Check Type
      Invoice Number                         Invoice Date           Amount            Invoice Amount
         261281677                           2/13/2023                         0.00             288.18
         261281679                           2/13/2023                         0.00             122.39
         261281680                           2/13/2023                         0.00             245.11
         261281681                           2/13/2023                         0.00             260.01
         261281682                           2/13/2023                         0.00             123.02
         261281683                           2/13/2023                         0.00             356.62
         261281747                           2/14/2023                         0.00             158.44
         261281764                           2/14/2023                         0.00             118.78
         261281765                           2/14/2023                         0.00             137.10
         261281766                           2/14/2023                         0.00             123.28
         261294720                           2/16/2023                         0.00             277.99
         261294721                           2/16/2023                         0.00              50.76
         261294722                           2/16/2023                         0.00             359.38
         261294724                           2/16/2023                         0.00             134.60
         261294725                           2/16/2023                         0.00             101.73
         261294731                           2/16/2023                         0.00              96.93
         261294732                           2/16/2023                         0.00               9.37
         261294733                           2/16/2023                         0.00             130.00
         261294735                           2/16/2023                         0.00             449.06
         261294736                           2/16/2023                         0.00             360.07
         261294737                           2/16/2023                         0.00             152.83
         261311728                           2/15/2023                         0.00              52.84
093251                4/6/2023   IMANEB            IMANE BENTAHAR                                                150.00   Auto
         4/23MCSR                            4/4/2023                          0.00             150.00
093252                4/6/2023   IRON M            IRON MOUNTAIN INC                                           5,504.27   Auto
         HJCH211                             2/28/2023                         0.00           4,243.40
         HJLK807                             2/28/2023                         0.00           1,260.87
093253                4/6/2023   JDOUGLA           JAMES DOUGLAS-STEELE                                          258.95   Auto
         3/23REIMB                           3/22/2023                         0.00             258.95
093254                4/6/2023   MAITLAN           ERIN MAITLAND                                                  27.50   Auto
         3/23MILE                            3/31/2023                         0.00              27.50
093255                4/6/2023   MASON             W.B. MASON CO. INC.                                           792.91   Auto
         236160405                           2/8/2023                          0.00             180.60
         236225044                           2/10/2023                         0.00               3.57
         236229376                           2/10/2023                         0.00              53.61
         236259568                           2/13/2023                         0.00              16.56
         236260295                           2/13/2023                         0.00               6.98
         236264005                           2/13/2023                         0.00              47.39
         236328656                           2/15/2023                         0.00             184.62
         236389320                           2/17/2023                         0.00             299.58
093256                4/6/2023   MC                MC CLEANING SERVICE                                         3,020.00   Auto
         2784                                1/16/2023                   0.00                   120.00
         2841                                2/28/2023                   0.00                 2,900.00
093257                4/6/2023   MCKESSO           MCKESSON MEDICAL-SURGICAL INC.                             30,114.60   Auto
         52350968                            2/10/2023                         0.00           9,283.89
         52355753                            2/12/2023                         0.00           1,084.36
         52356822                            2/12/2023                         0.00          10,180.16
         52356825                            2/12/2023                         0.00           8,964.46
         52356838                            2/12/2023                         0.00             601.73
093258                4/6/2023   MEDLINE           MEDLINE INDUSTRIES INC                                        242.61   Auto
         2251065968                          1/28/2023                     0.00                 242.61
093259                4/6/2023   MILLERS           MILLER STREET MIEDICAL CENTER, LLC                         23,535.58   Auto
         CAM 040123                          4/1/2023                          0.00          23,535.58
093260                4/6/2023   OZAP              PRANAV OZA                                                    220.00   Auto
         3/23ABIM                            4/4/2023                          0.00             220.00
093261                4/6/2023   QUEST             QUEST DIAGNOSTICS                                              30.84   Auto
         9199698976                          7/26/2022                         0.00              30.84

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Number/          Date             Number           Name               Discount                             Check Amount      Check Type
      Invoice Number                          Invoice Date            Amount            Invoice Amount
093262                4/6/2023    SANDS             MELODIE SANDS                                                  203.50    Auto
         2/23MILE                             2/28/2023                          0.00             104.50
         3/23MILE                             3/31/2023                          0.00              99.00
093263                4/6/2023    SANOFI            SANOFI PASTEUR INC                                            7,445.97   Auto
         919892079                            11/30/2022                   0.00                 6,911.15
         920118519                            1/12/2023                    0.00                   534.82
093264                4/6/2023    SMS               SIEMENS MEDICAL SOLUTIONS                                     3,140.17   Auto
         116341827                            3/1/2023                    0.00                  3,140.17
093265                4/6/2023    STEW              STEWARD MEDICAL GROUP                                          200.00    Auto
         3/23PEPLAU                           3/23/2023                    0.00                   200.00
093266                4/6/2023    VINTAGE           VINTAGE GRAPHIC SOLUTIONS                                      139.22    Auto
         129730                               12/6/2022                          0.00             139.22
093267                4/6/2023    WHITTEN           J&E ENTERPRISES                                                111.54    Auto
         B438187                              3/1/2023                           0.00              84.98
         B438763                              3/8/2023                           0.00              26.56
093268                4/6/2023    ALTMAN            FRANKLIN ALTMAN                                                 26.20    Auto
         WE4/1/23                             4/1/2023                           0.00              26.20
093269                4/6/2023    COLLEEN           COLLEEN LANG                                                    32.29    Auto
         2/23REIMB                            2/9/2023                           0.00              32.29
093270                4/6/2023    CONN              PATRICK CONNELLY                                               293.44    Auto
         WE4/1/23                             4/1/2023                           0.00             293.44
093271                4/6/2023    DENNIS            DENNIS HALL                                                    366.80    Auto
         WE4/1/23                             4/1/2023                           0.00             366.80
093272                4/6/2023    EMBELTO           MICHAEL EMBELTON                                               170.96    Auto
         WE4/1/23                             4/1/2023                           0.00             170.96
093273                4/6/2023    JOE Z             JOE ZAKRZEWSKI                                                 183.40    Auto
         WE4/1/23                             4/1/2023                           0.00             183.40
093274                4/6/2023    THOMPSO           JOSHUA THOMPSON                                                314.40    Auto
         WE4/1/23                             4/1/2023                           0.00             314.40
093275                4/13/2023   ACHEY             MICHAEL ACHEY, M.D.                                            734.13    Auto
         3/23FRIDGE                           3/30/2023                          0.00             734.13
093276                4/13/2023   ADP               ADP, INC.                                                     1,895.45   Auto
         630543757                            4/7/2023                           0.00           1,895.45
093277                4/13/2023   AIRGAS            AIRGAS USA, LLC                                                 44.03    Auto
         9994945275                           2/28/2023                          0.00              44.03
093278                4/13/2023   ALTMAN            FRANKLIN ALTMAN                                                 26.20    Auto
         WE4/8/23                             4/8/2023                           0.00              26.20
093279                4/13/2023   CONN              PATRICK CONNELLY                                               366.80    Auto
         WE4/8/23                             4/8/2023                           0.00             366.80
093280                4/13/2023   DENNIS            DENNIS HALL                                                    360.25    Auto
         WE4/8/23                             4/8/2023                           0.00             360.25
093281                4/13/2023   EMBELTO           MICHAEL EMBELTON                                                95.63    Auto
         WE4/8/23                             4/8/2023                   0.00                      95.63
093282                4/13/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                       95.56    Auto
                                                    MASSACHUSETTS
         1/23BO249                            1/26/2023                  0.00                      95.56
093283                4/13/2023   EVERSOU           EVERSOURCE GAS COMPANY OF                                       83.70    Auto
                                                    MASSACHUSETTS
         3/23BO249                            3/27/2023                  0.00                      83.70
093284                4/13/2023   HPI               HEALTH PLANS, INC.                                          131,532.56   Auto
         4/23HEALTH                           3/13/2023                          0.00         131,532.56
093285                4/13/2023   JOE Z             JOE ZAKRZEWSKI                                                 183.40    Auto
         WE4/8/23                             4/8/2023                           0.00             183.40
093286                4/13/2023   LAWLER            KRISTINE LAWLER                                                205.00    Auto
         3/23REIMB                            3/9/2023                           0.00             205.00
093287                4/13/2023   LSANDEL           LYNNE SANDELL-SOMES                                            295.00    Auto


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Check            Check            Vendor
Number/          Date             Number            Name                  Discount                             Check Amount     Check Type
      Invoice Number                           Invoice Date               Amount            Invoice Amount
         4/23REIMB                             4/1/2023                              0.00             295.00
093288                4/13/2023   QUENCH             QUENCH USA, INC.                                                1,082.30   Auto
       INV05102825                             1/1/2023                              0.00           1,082.30
093289            4/13/2023       RELIRES            Reliable Respiratory, Inc.                                         90.00   Auto
         4480813                               10/4/2022                     0.00                      90.00
093290                4/13/2023   STERLIN            STERLING INFOSYSTEMS, INC                                       1,104.76   Auto
         9293323                               1/31/2023                             0.00           1,104.76
093291                4/13/2023   THOMPSO            JOSHUA THOMPSON                                                   314.40   Auto
         WE4/8/23                              4/8/2023                              0.00             314.40
093292                4/13/2023   VEETECH            VEE TECHNOLOGIES INC                                              602.00   Auto
         COMFEB23                              3/13/2023                             0.00             602.00
093293                4/20/2023   0661036            MICHAEL SOUSA                                                     208.00   Auto
         4530003                               4/18/2023                             0.00              20.00
         4530214                               4/18/2023                             0.00             188.00
093294                4/20/2023   AIRGAS             AIRGAS USA, LLC                                                   292.28   Auto
         9135078994                            2/16/2023                             0.00             121.38
         9994371927                            1/31/2023                             0.00              44.94
         9994926893                            2/28/2023                             0.00              22.93
         9994926894                            2/28/2023                             0.00              22.93
         9994926897                            2/28/2023                             0.00              18.28
         9994944042                            2/28/2023                             0.00              11.46
         9995071772                            2/28/2023                             0.00              50.36
093295                4/20/2023   ALTMAN             FRANKLIN ALTMAN                                                    26.20   Auto
         WE4/15/23                             4/15/2023                   0.00                        26.20
093296                4/20/2023   CENTRAL            CENTRAL COMMUNICATIONS                                            229.90   Auto
         32413                                 1/1/2023                              0.00             229.90
093297                4/20/2023   CONN               PATRICK CONNELLY                                                  366.80   Auto
         WE4/15/23                             4/15/2023                             0.00             366.80
093298                4/20/2023   DENNIS             DENNIS HALL                                                       298.03   Auto
         WE4/15/23                             4/15/2023                             0.00             298.03
093299                4/20/2023   DONAHUE            ELIZABETH DONAHUE                                                  96.27   Auto
         3/23MILE                              3/31/2023                             0.00              96.27
093300                4/20/2023   EMBELTO            MICHAEL EMBELTON                                                  117.90   Auto
         WE4/15/23                             4/15/2023                             0.00             117.90
093301                4/20/2023   FEDERA             FEDEX                                                             173.66   Auto
         807972416                             3/27/2023                             0.00              76.34
         808078122                             3/27/2023                             0.00              95.05
         964771367                             3/27/2023                             0.00               2.27
093302                4/20/2023   GENDREA            TAYLOR GENDREAU                                                   246.46   Auto
         3/23MILE                              3/31/2023                             0.00             246.46
093303                4/20/2023   JOE Z              JOE ZAKRZEWSKI                                                    183.40   Auto
         WE4/15/23                             4/15/2023                             0.00             183.40
093304                4/20/2023   KAZLAUS            KATELYN HOPFGARTEN                                                 12.34   Auto
         12/22MILE                             12/29/2022                            0.00              12.34
093305                4/20/2023   LARIVIE           ELIZABETH LARIVIERE                                                105.00   Auto
         2/23REIMB                             2/22/2023                    0.00                      105.00
093306                4/20/2023   MALLORY            MALLORY HEADSETS, INC.                                            219.97   Auto
         129276                                7/16/2021                             0.00             219.97
093307                4/20/2023   MCOSTA             MELISSA COSTA                                                     125.00   Auto
         1/23REIMB                             1/16/2023                             0.00             125.00
093308                4/20/2023   MSMITH             MORGANN EVANS                                                      10.02   Auto
         1/23MILE                              1/24/2023                             0.00              10.02
093309                4/20/2023   NANCY              NANCY T. SCOTT                                                    150.00   Auto
         4/23MCSR                              4/18/2023                             0.00             150.00
093310                4/20/2023   RIVARD             MARIANNE RIVARD                                                   888.00   Auto
         4/23DEA                               4/13/2023                             0.00             888.00

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      Invoice Number                          Invoice Date            Amount            Invoice Amount
093311                4/20/2023   RODRIGU           ROSA RODRIGUES                                                  21.60   Auto
         2/23MILE                             2/8/2023                           0.00              21.60
093312                4/20/2023   SHAH              DHRUMIL SHAH, MD                                               400.00   Auto
         4/23ABFM                             4/13/2023                   0.00                    400.00
093313                4/20/2023   STEW              STEWARD MEDICAL GROUP                                          200.00   Auto
       4/23OKEEFE                             4/18/2023                          0.00             200.00
093314           4/20/2023        THOMPSO           JOSHUA THOMPSON                                                293.44   Auto
         WE4/15/23                            4/15/2023                          0.00             293.44
093315                4/27/2023   0098257           BONNIE TROUPE                                                   63.85   Auto
         4330373                              4/10/2023                          0.00               6.95
         4332675                              4/10/2023                          0.00              35.00
         4340621                              4/10/2023                          0.00              21.90
093316                4/27/2023   0697215           KIM M ZIMMERMAN                                                188.96   Auto
         4514466                              4/20/2023                          0.00             188.96
093317                4/27/2023   1128282           RUDY PERRY                                                      52.00   Auto
         4313239                              4/20/2023                          0.00              40.00
         4313467                              4/20/2023                          0.00              12.00
093318                4/27/2023   1136325           GAIL SMITH                                                      40.00   Auto
         4499323                              3/6/2023                           0.00              20.00
         4538920                              3/6/2023                           0.00              20.00
093319                4/27/2023   2084250           HUDSON RICHARD                                                  25.00   Auto
         4678674                              4/20/2023                          0.00              25.00
093320                4/27/2023   ADP               ADP, INC.                                                    2,900.55   Auto
         628978628                            3/17/2023                          0.00            -270.00
         631067891                            4/14/2023                          0.00           3,170.55
093321                4/27/2023   AIRGAS            AIRGAS USA, LLC                                                228.71   Auto
         9134640706                           2/3/2023                           0.00             109.43
         9994926895                           2/28/2023                          0.00              57.32
         9994926896                           2/28/2023                          0.00              30.35
         9994944041                           2/28/2023                          0.00              11.46
         9995107263                           2/28/2023                          0.00              20.15
093322                4/27/2023   ALTMAN            FRANKLIN ALTMAN                                                 20.96   Auto
         WE4/22/23                            4/22/2023                          0.00              20.96
093323                4/27/2023   CLAFLIN           THE CLAFLIN COMPANY                                            142.75   Auto
         4055230                              2/22/2023                      0.00                  32.78
         4055436                              2/22/2023                      0.00                 101.36
         4055625                              2/22/2023                      0.00                   8.61
093324                4/27/2023   COLONIA           COLONIAL LIFE & ACCIDENT INSURANCE                           8,328.22   Auto
                                                    COMPANY
       58638390301729                         3/1/2023                       0.00               7,124.19
       58657870302487                         3/2/2023                       0.00               1,144.23
       58657950301648                         3/1/2023                       0.00                  59.80
093325            4/27/2023       COLONIA           COLONIAL LIFE & ACCIDENT INSURANCE                           4,160.68   Auto
                                                    COMPANY
         58938390201924                       2/1/2023                       0.00               4,160.68
093326              4/27/2023     CONN              PATRICK CONNELLY                                               293.44   Auto
         WE4/22/23                            4/22/2023                          0.00             293.44
093327                4/27/2023   DENNIS            DENNIS HALL                                                    467.67   Auto
         WE4/22/23                            4/22/2023                          0.00             467.67
093328                4/27/2023   EMBELTO           MICHAEL EMBELTON                                                46.51   Auto
         WE4/22/23                            4/22/2023                          0.00              46.51
093329                4/27/2023   EPLUS             EPLUS TECHNOLOGY INC                                           965.31   Auto
         V2674690                             2/21/2023                          0.00             965.31
093330                4/27/2023   FEDERA            FEDEX                                                          232.00   Auto
         808805319                            4/3/2023                           0.00              75.53
         809424693                            4/10/2023                          0.00              81.27


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      Invoice Number                          Invoice Date           Amount            Invoice Amount
         809533309                            4/10/2023                         0.00              75.20
093331               4/27/2023   GDS                GLOBAL DATA SYSTEMS                                        24,452.89   Auto
         45676                                4/1/2023                          0.00          24,452.89
093332               4/27/2023   HEALTHE            HEALTHEQUITY, INC.                                          9,420.73   Auto
         5AN0Q0I                              4/6/2023                          0.00             309.85
         6EQPC9E                              3/22/2023                         0.00           1,642.81
         7PFXUOF                              3/29/2023                         0.00           2,723.73
         9QUUWIG                              3/6/2023                          0.00             317.75
         A1GHPDV                              3/22/2023                         0.00              96.25
         BO3UMBP                              4/12/2023                         0.00           1,936.46
         PAEUP6C                              4/5/2023                          0.00           2,393.88
093333               4/27/2023   HEALTHE            HEALTHEQUITY, INC.                                          2,684.06   Auto
         3YXE6YX                              4/19/2023                         0.00           2,684.06
093334               4/27/2023   INS DIR            INSIGHT DIRECT USA INC                                      4,094.52   Auto
         923401122                            10/3/2022                         0.00             240.29
         923422479                            10/5/2022                         0.00             982.20
         923433946                            10/6/2022                         0.00             110.05
         923474792                            10/12/2022                        0.00             336.30
         923660164                            11/4/2022                         0.00             784.53
         923714001                            11/11/2022                        0.00              67.05
         923719778                            11/12/2022                        0.00              34.36
         923745256                            11/16/2022                        0.00             364.00
         923835297                            11/30/2022                        0.00              15.66
         923922956                            12/12/2022                        0.00             480.25
         924148462                            1/17/2023                         0.00             679.83
093335               4/27/2023   JOE Z              JOE ZAKRZEWSKI                                                137.55   Auto
         WE4/22/23                            4/22/2023                         0.00             137.55
093336               4/27/2023   MC                 MC CLEANING SERVICE                                         2,900.00   Auto
         2898                                 4/3/2023                          0.00           2,900.00
093337               4/27/2023   OUIMET             SARAH ASHLEY                                                  150.00   Auto
         4/23MCSR                             4/18/2023                   0.00                   150.00
093338               4/27/2023   RELIABL            RELIABLE PHARMACEUTICAL                                        90.00   Auto
         4758304                              9/28/2022                   0.00                    90.00
093338               4/27/2023   RELIABL            RELIABLE PHARMACEUTICAL                                        90.00- Reversal
         4758304                              9/28/2022                         0.00             -90.00
093339               4/27/2023   ROSS               RUSSELL ROSS                                                  140.00   Auto
       11.04.22CMPC01                         11/4/2022                         0.00             140.00
093340            4/27/2023      SIGNATU            SIGNATURE HEALTHCARE                                          500.00   Auto
         4/23KLEIN                            4/19/2023                     0.00                 500.00
093341               4/27/2023   STERLIN            STERLING INFOSYSTEMS, INC                                   1,092.70   Auto
         9324475                              2/28/2023                         0.00           1,092.70
093342               4/27/2023   THOMPSO            JOSHUA THOMPSON                                               230.56   Auto
         WE4/22/23                            4/22/2023                         0.00             230.56
093343               4/27/2023   THORNTO            SARAH THORNTON                                                517.43   Auto
         4/23REIMB                            4/13/2023                         0.00             517.43
093344               4/27/2023   VIOLA              DOMINIC VIOLA                                                  80.48   Auto
         4/23REIMB                            4/19/2023                         0.00              80.48
093345               5/5/2023    ORCUT              ELLEN ORCUTT                                                  795.78   Auto
         5/5/23PAY                            5/4/2023                          0.00             795.78
093346               5/9/2023    0054454            ANN YOUNG                                                      25.00   Auto
         4716578                              5/3/2023                          0.00              25.00
093347               5/9/2023    1026839            ANDREW PERRY                                                  113.84   Auto
         4648652                              5/3/2023                          0.00             113.84
093348               5/9/2023    1104703            JANE M GRIFFIN                                                100.00   Auto
         4705651                              5/1/2023                          0.00             100.00
093349               5/9/2023    2012622            ALICE MEDEIROS                                                 25.00   Auto

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      Invoice Number                         Invoice Date                Amount            Invoice Amount
         4481769                             4/27/2023                              0.00              25.00
093350                5/9/2023   2049620           CARLY CAVAGNARO                                                     25.00   Auto
         4719042                             5/3/2023                               0.00              25.00
093351                5/9/2023   2073424           STACEY D'AMICO                                                      25.00   Auto
         4665665                             5/3/2023                               0.00              25.00
093352                5/9/2023   2082602           RACHEL A HALL                                                      415.35   Auto
         4324399                             4/27/2023                    0.00                       170.81
         4355843                             4/27/2023                    0.00                       244.54
093353                5/9/2023   ACR               AMERICAN COLLEGE OF RADIOLOGY                                      400.00   Auto
       10586957-CTAP                         5/3/2023                               0.00             400.00
093354            5/9/2023       ADP               ADP, INC.                                                        2,194.29   Auto
         632184408                           4/28/2023                              0.00           1,656.42
         632184786                           4/28/2023                              0.00             537.87
093355                5/9/2023   AIRGAS            AIRGAS USA, LLC                                                  1,182.10   Auto
         9135405278                          2/27/2023                              0.00             212.84
         9135614231                          3/3/2023                               0.00             135.99
         9135993123                          3/15/2023                              0.00             143.30
         9136510367                          3/30/2023                              0.00             143.30
         9995651264                          3/31/2023                              0.00              57.32
         9995651265                          3/31/2023                              0.00              18.28
         9995651266                          3/31/2023                              0.00              22.93
         9995651267                          3/31/2023                              0.00              22.93
         9995653952                          3/31/2023                              0.00              11.46
         9995655638                          3/31/2023                              0.00              11.46
         9995690248                          3/31/2023                              0.00              48.75
         9995690249                          3/31/2023                              0.00              45.86
         9995690250                          3/31/2023                              0.00              34.39
         9995711853                          3/31/2023                              0.00              80.25
         9995711866                          3/31/2023                              0.00             102.11
         9995711867                          3/31/2023                              0.00              20.42
         9995793291                          3/31/2023                              0.00              20.15
         9995814631                          3/31/2023                              0.00              50.36
093356                5/9/2023   ALTMAN            FRANKLIN ALTMAN                                                     26.20   Auto
         WE4/29/23                           4/29/2023                              0.00              26.20
093357                5/9/2023   BRODERI           Kevin Broderick, DO                                                200.00   Auto
         4/23REIMB                           4/27/2023                              0.00             200.00
093358                5/9/2023   CONN              PATRICK CONNELLY                                                   293.44   Auto
         WE4/29/23                           4/29/2023                              0.00             293.44
093359                5/9/2023   CONVERS           PATRICIA CONVERSE                                                  125.00   Auto
         4/22REIMB                           2/18/2023                              0.00             125.00
093360                5/9/2023   DENNIS            DENNIS HALL                                                        216.15   Auto
         WE4/29/23                           4/29/2023                              0.00             216.15
093361                5/9/2023   DIPIETR           TAMMY DIPIETRO                                                     573.65   Auto
         3/23MILE                            3/31/2023                              0.00             573.65
093362                5/9/2023   EMBELTO           MICHAEL EMBELTON                                                   171.61   Auto
         WE4/29/23                           4/29/2023                              0.00             171.61
093363                5/9/2023   FEDERA            FEDEX                                                              793.58   Auto
         810186439                           4/17/2023                              0.00             151.38
         810187582                           4/17/2023                              0.00             377.47
         810857253                           4/24/2023                              0.00             183.05
         810858440                           4/24/2023                              0.00              81.68
093364                5/9/2023   GALLIGA           MELISSA GALLIGAN                                                 1,038.00   Auto
       5/23DEA/MCSR                          5/2/2023                               0.00           1,038.00
093365           5/9/2023        JOE Z             JOE ZAKRZEWSKI                                                     183.40   Auto
         WE4/29/23                           4/29/2023                              0.00             183.40
093366                5/9/2023   KELLEYD           DIANNE KELLEY                                                      266.98   Auto


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      Invoice Number                          Invoice Date               Amount            Invoice Amount
       3/23MILE                               3/2/2023                              0.00              83.48
       3/23MILEAGE                            3/20/2023                             0.00             183.50
093367           5/9/2023         KSILVER           KERRI RODRIGUES                                                   140.00    Auto
         4/23REIMB                            4/24/2023                             0.00             140.00
093368                5/9/2023    RONALDC           RONALD CUMMINGS                                                   103.95    Auto
         WE4/29/23                            4/29/2023                             0.00             103.95
093369                5/9/2023    THOMPSO           JOSHUA THOMPSON                                                   314.40    Auto
         WE4/29/23                            4/29/2023                             0.00             314.40
093370                5/9/2023    SWINAME           TRACEY A SWINAMER                                                2,647.60   Auto
       5/9/23FINAL PAY                        5/9/2023                              0.00           2,647.60
093371             5/11/2023      RELIRES           Reliable Respiratory, Inc.                                         90.00    Auto
         4758304                              9/28/2022                             0.00              90.00
093372                5/12/2023   ADP               ADP, INC.                                                        1,882.65   Auto
         632662238                            5/5/2023                              0.00           1,882.65
093373                5/12/2023   AIRGAS            AIRGAS USA, LLC                                                   253.12    Auto
         9136622623                           4/3/2023                              0.00             253.12
093374                5/12/2023   ALTMAN            FRANKLIN ALTMAN                                                    26.20    Auto
         WE5/6/23                             5/6/2023                              0.00              26.20
093375                5/12/2023   CAROL M           CAROL MARTUCELLI                                                   28.44    Auto
         WE5/6/23                             5/6/2023                    0.00                        28.44
093376                5/12/2023   CLIA              CLIA LABORATORY PROGRAM                                           240.00    Auto
         5/23MDLPC                            5/9/2023                              0.00             240.00
093377                5/12/2023   COLOZZO           CHRISTOPHER COLOZZO                                               195.00    Auto
         3/23CME                              3/24/2023                             0.00             195.00
093378                5/12/2023   CONN              PATRICK CONNELLY                                                  366.80    Auto
         WE5/6/23                             5/6/2023                              0.00             366.80
093379                5/12/2023   DENNIS            DENNIS HALL                                                        68.78    Auto
         WE5/6/23                             5/6/2023                              0.00              68.78
093380                5/12/2023   EMBELTO           MICHAEL EMBELTON                                                   46.51    Auto
         WE5/6/23                             5/6/2023                              0.00              46.51
093381                5/12/2023   FDA               FDA-MQSA PROGRAM                                                 2,400.00   Auto
         4500017567                           4/26/2023                             0.00           2,400.00
093382                5/12/2023   GENDREA           TAYLOR GENDREAU                                                   129.23    Auto
         4/23MILE                             5/1/2023                              0.00             129.23
093383                5/12/2023   HPI               HEALTH PLANS, INC.                                             131,052.87   Auto
         5/23HEALTH                           4/11/2023                             0.00         131,052.87
093384                5/12/2023   JOE Z             JOE ZAKRZEWSKI                                                    140.17    Auto
         WE5/6/23                             5/6/2023                              0.00             140.17
093385                5/12/2023   KENNEY            SHARON KENNEY                                                      23.25    Auto
         4/23MILE                             5/3/2023                              0.00              23.25
093386                5/12/2023   NECAPS            NECAPS INC                                                       8,867.90   Auto
         CM-Q22023                            3/31/2023                             0.00           8,867.90
093387                5/12/2023   RONALDC           RONALD CUMMINGS                                                   247.59    Auto
         WE5/6/23                             5/6/2023                    0.00                       247.59
093388                5/12/2023   STEW              STEWARD MEDICAL GROUP                                             200.00    Auto
       5/23SPRYCHA                            5/9/2023                              0.00             200.00
093389           5/12/2023        THOMPSO           JOSHUA THOMPSON                                                   293.44    Auto
         WE5/6/23                             5/6/2023                              0.00             293.44
093390                5/12/2023   VIOLA             DOMINIC VIOLA                                                      93.34    Auto
         4/23REIMBU                           5/2/2023                              0.00              93.34
093391                5/16/2023   REEN              ROBIN J REEN                                                     3,134.42   Auto
       5/16/23FINALPAY                        5/16/2023                             0.00           3,134.42
093392             5/16/2023      TRIZETT           TRIZETTO CORPORATION                                            33,970.08   Auto
         36NZ032300                           3/1/2023                              0.00          16,644.25
         36NZ042300                           4/1/2023                              0.00          17,325.83


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      Invoice Number                          Invoice Date            Amount            Invoice Amount
093393                5/18/2023   0000512           ROSSANA PONTES                                                 190.00   Auto
         4629481                              5/11/2023                          0.00             190.00
093394                5/18/2023   1014214           JUNE M COELHO                                                   20.00   Auto
         4339370                              5/10/2023                          0.00              20.00
093395                5/18/2023   ADP               ADP, INC.                                                    3,149.20   Auto
         633280716                            5/12/2023                          0.00           3,149.20
093396                5/18/2023   AIRGAS            AIRGAS USA, LLC                                                522.70   Auto
         9136622512                           4/3/2023                           0.00             237.04
         9136622946                           4/3/2023                           0.00             252.06
         9995651874                           3/31/2023                          0.00              33.60
093397                5/18/2023   ALTMAN            FRANKLIN ALTMAN                                                 15.72   Auto
         WE5/13/23                            5/13/2023                          0.00              15.72
093398                5/18/2023   BRESNAH           MELISSA BRESNAHAN                                              150.00   Auto
         5/23MCSR                             5/11/2023                          0.00             150.00
093399                5/18/2023   CONN              PATRICK CONNELLY                                               366.80   Auto
         WE5/13/23                            5/13/2023                          0.00             366.80
093400                5/18/2023   DENNIS            DENNIS HALL                                                    366.80   Auto
         WE5/13/23                            5/13/2023                          0.00             366.80
093401                5/18/2023   EMBELTO           MICHAEL EMBELTON                                               107.42   Auto
         WE5/13/23                            5/13/2023                          0.00             107.42
093402                5/18/2023   FEDERA            FEDEX                                                           87.42   Auto
         811695822                            5/1/2023                           0.00              81.31
         964988504                            5/1/2023                           0.00               6.11
093403                5/18/2023   JOE Z             JOE ZAKRZEWSKI                                                 183.40   Auto
         WE5/13/23                            5/13/2023                          0.00             183.40
093404                5/18/2023   KSILVER           KERRI RODRIGUES                                                100.00   Auto
         5/23REIMB                            5/10/2023                          0.00             100.00
093405                5/18/2023   RONALDC           RONALD CUMMINGS                                                 10.48   Auto
         WE5/13/23                            5/13/2023                          0.00              10.48
093406                5/18/2023   SHAH              DHRUMIL SHAH, MD                                             4,400.00   Auto
         5/23REIMB                            5/16/2023                   0.00                  4,400.00
093407                5/18/2023   STEW              STEWARD MEDICAL GROUP                                          200.00   Auto
         5/23OU                               5/9/2023                           0.00             200.00
093408                5/18/2023   THOMPSO           JOSHUA THOMPSON                                                314.40   Auto
         WE5/13/23                            5/13/2023                          0.00             314.40
093409                5/25/2023   AIRGAS            AIRGAS USA, LLC                                                344.43   Auto
         9136800502                           4/6/2023                           0.00             244.42
         9996367016                           4/30/2023                          0.00              45.86
         9996367779                           4/30/2023                          0.00              34.39
         9996386151                           4/30/2023                          0.00              19.76
093410                5/25/2023   ALTMAN            FRANKLIN ALTMAN                                                 26.20   Auto
         WE5/20/23                            5/20/2023                          0.00              26.20
093411                5/25/2023   CONN              PATRICK CONNELLY                                               366.80   Auto
         WE5/20/23                            5/20/2023                          0.00             366.80
093412                5/25/2023   DENNIS            DENNIS HALL                                                    307.85   Auto
         WE5/20/23                            5/20/2023                          0.00             307.85
093413                5/25/2023   FEDERA            FEDEX                                                          296.42   Auto
         812296495                            5/8/2023                           0.00              26.61
         812302728                            5/8/2023                           0.00             120.06
         812414676                            5/8/2023                           0.00             149.75
093414                5/25/2023   JOE Z             JOE ZAKRZEWSKI                                                 184.71   Auto
         WE5/20/23                            5/20/2023                          0.00             184.71
093415                5/25/2023   RONALDC           RONALD CUMMINGS                                                186.68   Auto
         WE5/20/23                            5/20/2023                          0.00             186.68
093416                5/25/2023   THOMPSO           JOSHUA THOMPSON                                                188.64   Auto
         WE5/20/23                            5/20/2023                          0.00             188.64

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093417               5/25/2023   TRI M             TRI-M MAINTENANCE INC.                                       7,475.74    Auto
         25170                               2/28/2023                   0.00                  300.87
         25171                               2/28/2023                   0.00                   59.22
         25303                               3/31/2023                   0.00                  951.99
         25304                               3/31/2023                   0.00                5,509.01
         25307                               3/31/2023                   0.00                   37.38
         25331                               3/31/2023                   0.00                   99.69
         25333                               3/31/2023                   0.00                  271.53
         25450                               3/31/2023                   0.00                  246.05
093418               5/31/2023   CENTRAL           CENTRAL COMMUNICATIONS                                       7,655.05    Auto
         33117                               3/26/2023                        0.00            250.70
         33120                               3/26/2023                        0.00            148.35
         33124                               3/26/2023                        0.00            232.30
         33159                               3/26/2023                        0.00            115.00
         33165                               3/26/2023                        0.00            115.00
         33197                               3/26/2023                        0.00            115.00
         33198                               3/26/2023                        0.00            115.00
         33203                               3/26/2023                        0.00            115.00
         33211                               3/26/2023                        0.00            115.00
         33217                               3/26/2023                        0.00            115.00
         33277                               3/26/2023                        0.00            336.95
         33294                               3/26/2023                        0.00            221.95
         33348                               3/26/2023                        0.00            277.15
         33354                               4/23/2023                        0.00            267.95
         33357                               4/23/2023                        0.00            127.65
         33361                               4/23/2023                        0.00            309.35
         33396                               4/23/2023                        0.00            115.00
         33402                               4/23/2023                        0.00            115.00
         33434                               4/23/2023                        0.00            115.00
         33435                               4/23/2023                        0.00            115.00
         33440                               4/23/2023                        0.00            115.00
         33448                               4/23/2023                        0.00            115.00
         33455                               4/23/2023                        0.00            115.00
         33515                               4/23/2023                        0.00            315.10
         33534                               4/23/2023                        0.00            257.60
         33587                               4/23/2023                        0.00            374.90
         33590                               5/21/2023                        0.00            207.00
         33593                               5/21/2023                        0.00            115.00
         33597                               5/21/2023                        0.00            223.10
         33632                               5/21/2023                        0.00            115.00
         33638                               5/21/2023                        0.00            115.00
         33670                               5/21/2023                        0.00            115.00
         33671                               5/21/2023                        0.00            115.00
         33676                               5/21/2023                        0.00            115.00
         33684                               5/21/2023                        0.00            115.00
         33691                               5/21/2023                        0.00            115.00
         33752                               5/21/2023                        0.00            204.70
         33771                               5/21/2023                        0.00            143.75
         33825                               5/21/2023                        0.00            226.55
         5/23DEPOSIT                         5/31/2023                        0.00          1,000.00
                                                                                        Bank D Total:        5,175,109.33
                                                                                         Report Total:       5,348,938.57




  Run Date: 6/2/2023 11:33:43AM                                                                                                      Page: 46
  A/P Date: 6/2/2023                                                                                                               User Logon: KLC
             Case 23-10886          Exhibit
                                Doc 37      to SOFA
                                        Filed        Question
                                               06/23/23       4: Insider
                                                          Entered        Payments
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Name                    Date            Amount
Achey, Michael          05/10/2022      $28,941.00
Achey, Michael          06/10/2022      $27,668.00
Achey, Michael          07/08/2022      $32,068.00
Achey, Michael          08/10/2022      $32,068.00
Achey, Michael          09/09/2022      $32,068.00
Achey, Michael          10/07/2022      $32,068.00
Achey, Michael          11/10/2022      $32,068.00
Achey, Michael          12/09/2022      $15,659.00
Achey, Michael          12/21/2022      $0.00
Achey, Michael          01/10/2023      $15,659.00
Achey, Michael          02/10/2023      $22,185.00
Achey, Michael          03/10/2023      $22,185.00
Achey, Michael          04/10/2023      $22,185.00
Achey, Michael          05/12/2023      $22,185.00
Achey, Michael          06/02/2023      $22,185.00
Allard, Karen           05/10/2022      $16,473.15
Allard, Karen           06/10/2022      $16,473.15
Allard, Karen           07/08/2022      $20,232.00
Allard, Karen           09/09/2022      $20,232.00
Allard, Karen           10/07/2022      $20,232.00
Allard, Karen           11/10/2022      $20,232.00
Allard, Karen           12/09/2022      $9,741.00
Allard, Karen           12/21/2022      $0.00
Allard, Karen           01/10/2023      $9,741.00
Allard, Karen           02/10/2023      $13,116.00
Allard, Karen           03/10/2023      $13,116.00
Allard, Karen           04/10/2023      $13,116.00
Allard, Karen           05/12/2023      $13,116.00
Allard, Karen           06/02/2023      $13,116.00
Beaupre, Michelle       05/10/2022      $9,951.50
Beaupre, Michelle       06/10/2022      $9,951.50
Beaupre, Michelle       07/08/2022      $9,951.50
Beaupre, Michelle       08/10/2022      $10,097.00
Beaupre, Michelle       09/09/2022      $10,097.00
Beaupre, Michelle       10/07/2022      $10,097.00
Beaupre, Michelle       11/10/2022      $10,097.00
Beaupre, Michelle       12/09/2022      $5,048.50
Beaupre, Michelle       12/21/2022      $0.00
Beaupre, Michelle       01/10/2023      $5,048.50
Beaupre, Michelle       02/10/2023      $8,421.00
Beaupre, Michelle       03/10/2023      $8,421.00
Beaupre, Michelle       04/10/2023      $8,421.00
Beaupre, Michelle       05/12/2023      $8,421.00
Beaupre, Michelle       06/02/2023      $8,421.00
Bentahar, Imane         05/10/2022      $19,556.15
Bentahar, Imane         06/10/2022      $19,556.15
Bentahar, Imane         07/08/2022      $20,777.00
Bentahar, Imane         08/10/2022      $22,919.00
Bentahar, Imane         09/09/2022      $22,919.00
Bentahar, Imane         10/07/2022      $22,919.00
Bentahar, Imane         11/10/2022      $22,919.00
Bentahar, Imane         12/09/2022      $11,459.50
Bentahar, Imane         12/21/2022      $0.00
Bentahar, Imane         01/10/2023      $11,459.50
Bentahar, Imane         02/10/2023      $17,789.00
Bentahar, Imane         03/10/2023      $17,789.00
Bentahar, Imane         04/10/2023      $17,789.00
Bentahar, Imane         05/12/2023      $17,789.00
Bentahar, Imane         06/02/2023      $17,789.00
Bhatia, Dyan            05/10/2022      $16,145.50
Bhatia, Dyan            06/10/2022      $16,145.50
Bhatia, Dyan            07/08/2022      $16,145.50
Bhatia, Dyan            08/10/2022      $18,592.00
Bhatia, Dyan            09/09/2022      $18,592.00
Bhatia, Dyan            10/07/2022      $18,592.00
Bhatia, Dyan            11/10/2022      $18,592.00
Bhatia, Dyan            12/09/2022      $9,296.00
Bhatia, Dyan            01/10/2023      $9,296.00
Bhatia, Dyan            02/10/2023      $15,409.00
Bhatia, Dyan            03/10/2023      $15,409.00
Bhatia, Dyan            04/10/2023      $15,409.00
Bhatia, Dyan            05/12/2023      $15,409.00
Bhatia, Dyan            06/02/2023      $15,409.00
Broderick, Kevin J.     05/10/2022      $12,233.18
Broderick, Kevin J.     06/10/2022      $12,233.18
Broderick, Kevin J.     07/08/2022      $13,607.00
Broderick, Kevin J.     08/10/2022      $13,607.00
Broderick, Kevin J.     09/09/2022      $13,607.00
Broderick, Kevin J.     10/07/2022      $13,607.00
Broderick, Kevin J.     11/10/2022      $13,607.00
Broderick, Kevin J.     12/09/2022      $6,803.50
Broderick, Kevin J.     12/21/2022      $0.00
Broderick, Kevin J.     01/10/2023      $6,803.50
Broderick, Kevin J.     02/10/2023      $9,605.00
Broderick, Kevin J.     03/10/2023      $9,605.00
Broderick, Kevin J.     04/10/2023      $9,605.00
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Broderick, Kevin J.              05/12/2023       $9,605.00
Broderick, Kevin J.              06/02/2023       $9,605.00
Brown, Denise R.                 05/10/2022       $9,360.33
Brown, Denise R.                 06/10/2022       $9,360.33
Brown, Denise R.                 07/08/2022       $9,360.33
Brown, Denise R.                 12/09/2022       $0.00
Brown, Denise R.                 12/21/2022       $0.00
Cavallo, John Arthur             05/10/2022       $21,039.38
Cavallo, John Arthur             06/10/2022       $21,039.38
Cavallo, John Arthur             07/08/2022       $27,291.00
Cavallo, John Arthur             08/10/2022       $27,291.00
Cavallo, John Arthur             09/09/2022       $27,291.00
Cavallo, John Arthur             10/07/2022       $27,291.00
Cavallo, John Arthur             11/10/2022       $27,291.00
Cavallo, John Arthur             12/09/2022       $13,270.50
Cavallo, John Arthur             12/21/2022       $0.00
Cavallo, John Arthur             01/10/2023       $13,270.50
Cavallo, John Arthur             02/10/2023       $19,345.00
Cavallo, John Arthur             03/10/2023       $19,345.00
Cavallo, John Arthur             04/10/2023       $19,345.00
Cavallo, John Arthur             05/12/2023       $19,345.00
Cavallo, John Arthur             06/02/2023       $19,345.00
Cerce, Beth A                    05/10/2022       $15,444.00
Cerce, Beth A                    06/10/2022       $13,545.55
Cerce, Beth A                    07/08/2022       $16,475.00
Cerce, Beth A                    08/10/2022       $19,409.00
Cerce, Beth A                    09/09/2022       $19,409.00
Cerce, Beth A                    10/07/2022       $19,409.00
Cerce, Beth A                    11/10/2022       $19,409.00
Cerce, Beth A                    12/09/2022       $9,704.50
Cerce, Beth A                    12/21/2022       $0.00
Cerce, Beth A                    01/10/2023       $9,704.50
Cerce, Beth A                    02/10/2023       $13,749.00
Cerce, Beth A                    03/10/2023       $13,749.00
Cerce, Beth A                    04/10/2023       $13,749.00
Cerce, Beth A                    05/12/2023       $13,749.00
Cerce, Beth A                    06/02/2023       $13,749.00
Cywinska‐Soltysiak, Malgorzata   05/10/2022       $18,240.00
Cywinska‐Soltysiak, Malgorzata   06/10/2022       $15,249.93
Cywinska‐Soltysiak, Malgorzata   07/08/2022       $19,773.00
Cywinska‐Soltysiak, Malgorzata   08/10/2022       $15,249.93
Cywinska‐Soltysiak, Malgorzata   09/09/2022       $16,749.93
Cywinska‐Soltysiak, Malgorzata   10/07/2022       $16,674.93
Cywinska‐Soltysiak, Malgorzata   11/10/2022       $7,324.97
Cywinska‐Soltysiak, Malgorzata   12/09/2022       $0.00
Cywinska‐Soltysiak, Malgorzata   12/21/2022       $0.00
Douglas‐Steele, James            05/10/2022       $14,051.85
Douglas‐Steele, James            06/10/2022       $14,051.85
Douglas‐Steele, James            07/08/2022       $14,051.85
Douglas‐Steele, James            08/10/2022       $14,051.85
Douglas‐Steele, James            09/09/2022       $14,051.85
Douglas‐Steele, James            10/07/2022       $14,051.85
Douglas‐Steele, James            11/10/2022       $14,051.85
Douglas‐Steele, James            12/09/2022       $7,025.93
Douglas‐Steele, James            01/10/2023       $7,025.93
Douglas‐Steele, James            02/10/2023       $11,581.00
Douglas‐Steele, James            03/10/2023       $11,581.00
Douglas‐Steele, James            04/10/2023       $11,581.00
Douglas‐Steele, James            05/12/2023       $11,581.00
Douglas‐Steele, James            06/02/2023       $11,581.00
Drakhlin, Yevgeniy F.            05/10/2022       $19,134.00
Drakhlin, Yevgeniy F.            06/10/2022       $17,683.05
Drakhlin, Yevgeniy F.            07/08/2022       $17,683.05
Drakhlin, Yevgeniy F.            08/10/2022       $19,394.00
Drakhlin, Yevgeniy F.            09/09/2022       $19,394.00
Drakhlin, Yevgeniy F.            10/07/2022       $19,394.00
Drakhlin, Yevgeniy F.            11/10/2022       $19,394.00
Drakhlin, Yevgeniy F.            12/09/2022       $9,697.00
Drakhlin, Yevgeniy F.            01/10/2023       $9,697.00
Drakhlin, Yevgeniy F.            02/10/2023       $14,897.00
Drakhlin, Yevgeniy F.            03/10/2023       $14,897.00
Drakhlin, Yevgeniy F.            04/10/2023       $14,897.00
Drakhlin, Yevgeniy F.            05/12/2023       $14,897.00
Drakhlin, Yevgeniy F.            06/02/2023       $14,897.00
Ellis, Jonathan R.               05/10/2022       $43,664.90
Ellis, Jonathan R.               06/10/2022       $43,664.90
Ellis, Jonathan R.               07/08/2022       $43,711.00
Ellis, Jonathan R.               08/10/2022       $43,664.90
Ellis, Jonathan R.               09/09/2022       $43,664.90
Ellis, Jonathan R.               10/07/2022       $43,664.90
Ellis, Jonathan R.               11/10/2022       $43,664.90
Ellis, Jonathan R.               12/09/2022       $21,832.45
Ellis, Jonathan R.               12/21/2022       $0.00
Ellis, Jonathan R.               01/10/2023       $21,832.45
Ellis, Jonathan R.               02/10/2023       $29,875.00
Ellis, Jonathan R.               03/10/2023       $29,875.00
Ellis, Jonathan R.               04/10/2023       $29,875.00
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Ellis, Jonathan R.      05/12/2023       $29,875.00
Ellis, Jonathan R.      06/02/2023       $29,875.00
Filipek‐Moskal, Kasia   05/10/2022       $26,997.64
Filipek‐Moskal, Kasia   06/10/2022       $26,997.64
Filipek‐Moskal, Kasia   07/08/2022       $26,997.64
Filipek‐Moskal, Kasia   08/10/2022       $30,484.00
Filipek‐Moskal, Kasia   09/09/2022       $30,484.00
Filipek‐Moskal, Kasia   10/07/2022       $30,484.00
Filipek‐Moskal, Kasia   11/10/2022       $30,484.00
Filipek‐Moskal, Kasia   12/09/2022       $15,242.00
Filipek‐Moskal, Kasia   12/21/2022       $0.00
Filipek‐Moskal, Kasia   01/10/2023       $15,242.00
Filipek‐Moskal, Kasia   02/10/2023       $20,265.00
Filipek‐Moskal, Kasia   03/10/2023       $20,265.00
Filipek‐Moskal, Kasia   04/10/2023       $20,265.00
Filipek‐Moskal, Kasia   05/12/2023       $20,265.00
Filipek‐Moskal, Kasia   06/02/2023       $20,265.00
Gupta, Shuchi           05/10/2022       $12,645.68
Gupta, Shuchi           06/10/2022       $12,645.68
Gupta, Shuchi           07/08/2022       $12,645.68
Gupta, Shuchi           08/10/2022       $12,645.68
Gupta, Shuchi           09/09/2022       $12,645.68
Gupta, Shuchi           10/07/2022       $12,645.68
Gupta, Shuchi           11/10/2022       $12,645.68
Gupta, Shuchi           12/09/2022       $5,947.84
Gupta, Shuchi           12/21/2022       $0.00
Gupta, Shuchi           01/10/2023       $5,947.84
Gupta, Shuchi           02/10/2023       $7,987.00
Gupta, Shuchi           03/10/2023       $7,987.00
Gupta, Shuchi           04/10/2023       $7,987.00
Gupta, Shuchi           05/12/2023       $7,987.00
Gupta, Shuchi           06/02/2023       $7,987.00
Hassan, Edward F        05/10/2022       $17,422.01
Hassan, Edward F        06/10/2022       $17,422.01
Hassan, Edward F        07/08/2022       $17,422.01
Hassan, Edward F        08/10/2022       $23,589.00
Hassan, Edward F        09/09/2022       $23,589.00
Hassan, Edward F        10/07/2022       $23,589.00
Hassan, Edward F        11/10/2022       $23,589.00
Hassan, Edward F        12/09/2022       $11,419.50
Hassan, Edward F        12/21/2022       $0.00
Hassan, Edward F        01/10/2023       $11,419.50
Hassan, Edward F        02/10/2023       $14,786.00
Hassan, Edward F        03/10/2023       $14,786.00
Hassan, Edward F        04/10/2023       $14,786.00
Hassan, Edward F        05/12/2023       $14,786.00
Hassan, Edward F        06/02/2023       $14,786.00
Hersh, Marcy            05/10/2022       $15,036.00
Hersh, Marcy            06/10/2022       $14,405.20
Hersh, Marcy            07/08/2022       $14,405.20
Hersh, Marcy            08/10/2022       $16,463.00
Hersh, Marcy            09/09/2022       $16,463.00
Hersh, Marcy            10/07/2022       $16,463.00
Hersh, Marcy            11/10/2022       $16,463.00
Hersh, Marcy            12/09/2022       $8,231.50
Hersh, Marcy            01/10/2023       $8,231.50
Hersh, Marcy            02/10/2023       $12,166.00
Hersh, Marcy            03/10/2023       $12,166.00
Hersh, Marcy            04/10/2023       $12,166.00
Hersh, Marcy            05/12/2023       $12,166.00
Hersh, Marcy            06/02/2023       $12,166.00
Khond, Sonali           05/10/2022       $17,540.73
Khond, Sonali           06/10/2022       $17,540.73
Khond, Sonali           07/08/2022       $19,820.00
Khond, Sonali           08/10/2022       $17,540.73
Khond, Sonali           09/09/2022       $17,540.73
Khond, Sonali           10/07/2022       $17,540.73
Khond, Sonali           11/10/2022       $17,540.73
Khond, Sonali           12/09/2022       $8,770.37
Khond, Sonali           12/21/2022       $0.00
Khond, Sonali           01/10/2023       $8,770.37
Khond, Sonali           02/10/2023       $13,996.00
Khond, Sonali           03/10/2023       $13,996.00
Khond, Sonali           04/10/2023       $13,996.00
Khond, Sonali           05/12/2023       $13,996.00
Khond, Sonali           06/02/2023       $13,996.00
Klein, Michael          05/10/2022       $16,931.00
Klein, Michael          06/10/2022       $16,931.00
Klein, Michael          07/08/2022       $18,134.00
Klein, Michael          08/10/2022       $16,931.00
Klein, Michael          09/09/2022       $16,931.00
Klein, Michael          10/07/2022       $16,931.00
Klein, Michael          11/10/2022       $16,931.00
Klein, Michael          12/09/2022       $8,465.50
Klein, Michael          01/10/2023       $8,465.50
Klein, Michael          02/10/2023       $13,941.00
Klein, Michael          03/10/2023       $13,941.00
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Klein, Michael          04/10/2023       $13,941.00
Klein, Michael          05/12/2023       $13,941.00
Klein, Michael          06/02/2023       $13,941.00
Levin, Yelena           05/10/2022       $12,759.00
Levin, Yelena           06/10/2022       $12,301.08
Levin, Yelena           07/08/2022       $14,708.00
Levin, Yelena           08/10/2022       $12,301.08
Levin, Yelena           09/09/2022       $12,301.08
Levin, Yelena           10/07/2022       $12,301.08
Levin, Yelena           11/10/2022       $6,150.54
Levin, Yelena           12/09/2022       $0.00
Levin, Yelena           12/21/2022       $0.00
Levine, Elizabeth M     05/10/2022       $11,661.00
Levine, Elizabeth M     06/10/2022       $10,545.43
Levine, Elizabeth M     07/08/2022       $14,702.00
Levine, Elizabeth M     08/10/2022       $10,545.43
Levine, Elizabeth M     09/09/2022       $10,545.43
Levine, Elizabeth M     10/07/2022       $10,545.43
Levine, Elizabeth M     11/10/2022       $10,545.43
Levine, Elizabeth M     12/09/2022       $5,272.72
Levine, Elizabeth M     12/21/2022       $0.00
Levine, Elizabeth M     01/10/2023       $5,272.72
Levine, Elizabeth M     02/10/2023       $10,525.00
Levine, Elizabeth M     03/10/2023       $10,525.00
Levine, Elizabeth M     04/10/2023       $10,525.00
Levine, Elizabeth M     05/12/2023       $10,525.00
Levine, Elizabeth M     06/02/2023       $10,525.00
Maguire, Sandra Blake   05/10/2022       $13,225.95
Maguire, Sandra Blake   06/10/2022       $13,225.95
Maguire, Sandra Blake   07/08/2022       $13,225.95
Maguire, Sandra Blake   08/10/2022       $13,225.95
Maguire, Sandra Blake   09/09/2022       $13,225.95
Maguire, Sandra Blake   10/07/2022       $13,225.95
Maguire, Sandra Blake   11/10/2022       $13,225.95
Maguire, Sandra Blake   12/09/2022       $6,612.98
Maguire, Sandra Blake   01/10/2023       $6,612.98
Maguire, Sandra Blake   02/10/2023       $5,642.00
Maguire, Sandra Blake   03/10/2023       $5,642.00
Maguire, Sandra Blake   04/10/2023       $5,642.00
Maguire, Sandra Blake   05/12/2023       $5,642.00
Maguire, Sandra Blake   06/02/2023       $5,642.00
Mapili, John            05/10/2022       $15,248.15
Mapili, John            06/10/2022       $15,248.15
Mapili, John            07/08/2022       $17,689.00
Mapili, John            08/10/2022       $18,023.00
Mapili, John            09/09/2022       $18,023.00
Mapili, John            10/07/2022       $18,023.00
Mapili, John            11/10/2022       $18,023.00
Mapili, John            12/09/2022       $9,011.50
Mapili, John            01/10/2023       $9,011.50
Mapili, John            02/10/2023       $12,579.00
Mapili, John            03/10/2023       $12,579.00
Mapili, John            04/10/2023       $12,579.00
Mapili, John            05/12/2023       $12,579.00
Mapili, John            06/02/2023       $12,579.00
Molagavalli, Veena      05/10/2022       $19,778.00
Molagavalli, Veena      06/10/2022       $18,027.05
Molagavalli, Veena      07/08/2022       $23,478.00
Molagavalli, Veena      08/10/2022       $23,478.00
Molagavalli, Veena      09/09/2022       $23,478.00
Molagavalli, Veena      10/07/2022       $23,478.00
Molagavalli, Veena      11/10/2022       $23,478.00
Molagavalli, Veena      12/09/2022       $11,739.00
Molagavalli, Veena      12/21/2022       $0.00
Molagavalli, Veena      01/10/2023       $11,739.00
Molagavalli, Veena      02/10/2023       $14,644.00
Molagavalli, Veena      03/10/2023       $14,644.00
Molagavalli, Veena      04/10/2023       $14,644.00
Molagavalli, Veena      05/12/2023       $14,644.00
Molagavalli, Veena      06/02/2023       $14,644.00
O'Keefe, Deborah        05/10/2022       $14,597.00
O'Keefe, Deborah        06/10/2022       $13,762.78
O'Keefe, Deborah        07/08/2022       $13,762.78
O'Keefe, Deborah        08/10/2022       $16,270.00
O'Keefe, Deborah        09/09/2022       $16,270.00
O'Keefe, Deborah        10/07/2022       $16,270.00
O'Keefe, Deborah        11/10/2022       $16,270.00
O'Keefe, Deborah        12/09/2022       $8,135.00
O'Keefe, Deborah        12/21/2022       $0.00
O'Keefe, Deborah        01/10/2023       $8,135.00
O'Keefe, Deborah        02/10/2023       $12,194.00
O'Keefe, Deborah        03/10/2023       $12,194.00
O'Keefe, Deborah        04/10/2023       $12,194.00
O'Keefe, Deborah        05/12/2023       $12,194.00
O'Keefe, Deborah        06/02/2023       $12,194.00
Ostrem, Mark            05/10/2022       $19,047.98
Ostrem, Mark            06/10/2022       $19,047.98
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Ostrem, Mark           07/08/2022       $19,047.98
Ostrem, Mark           08/10/2022       $19,047.98
Ostrem, Mark           09/09/2022       $19,047.98
Ostrem, Mark           10/07/2022       $19,047.98
Ostrem, Mark           11/10/2022       $19,047.98
Ostrem, Mark           12/09/2022       $9,523.99
Ostrem, Mark           01/10/2023       $9,523.99
Ostrem, Mark           02/10/2023       $11,112.00
Ostrem, Mark           03/10/2023       $11,112.00
Ostrem, Mark           04/10/2023       $11,112.00
Ou, Winny              05/10/2022       $29,039.46
Ou, Winny              06/10/2022       $29,039.46
Ou, Winny              07/08/2022       $30,490.00
Ou, Winny              08/10/2022       $32,179.00
Ou, Winny              09/09/2022       $32,179.00
Ou, Winny              10/07/2022       $32,179.00
Ou, Winny              11/10/2022       $32,179.00
Ou, Winny              12/09/2022       $16,089.50
Ou, Winny              12/21/2022       $0.00
Ou, Winny              01/10/2023       $16,089.50
Ou, Winny              02/10/2023       $21,519.00
Ou, Winny              03/10/2023       $21,519.00
Ou, Winny              04/10/2023       $21,519.00
Ou, Winny              05/12/2023       $21,519.00
Ou, Winny              06/02/2023       $21,519.00
Oza, Pranav            05/10/2022       $17,750.63
Oza, Pranav            06/10/2022       $17,750.63
Oza, Pranav            07/08/2022       $19,808.00
Oza, Pranav            08/10/2022       $20,492.00
Oza, Pranav            09/09/2022       $20,492.00
Oza, Pranav            10/07/2022       $20,492.00
Oza, Pranav            11/10/2022       $20,492.00
Oza, Pranav            12/09/2022       $10,246.00
Oza, Pranav            01/10/2023       $10,246.00
Oza, Pranav            02/10/2023       $15,657.00
Oza, Pranav            03/10/2023       $15,657.00
Oza, Pranav            04/10/2023       $15,657.00
Oza, Pranav            05/12/2023       $15,657.00
Oza, Pranav            06/02/2023       $15,657.00
Patel, Akash           05/10/2022       $59,829.70
Patel, Akash           06/10/2022       $59,829.70
Patel, Akash           07/08/2022       $59,829.70
Patel, Akash           08/10/2022       $62,777.00
Patel, Akash           09/09/2022       $62,777.00
Patel, Akash           10/07/2022       $62,777.00
Patel, Akash           11/10/2022       $62,777.00
Patel, Akash           12/09/2022       $31,388.50
Patel, Akash           12/21/2022       $10,672.09
Peplau, Nancy E.       05/10/2022       $13,748.59
Peplau, Nancy E.       06/10/2022       $13,748.59
Peplau, Nancy E.       07/08/2022       $13,841.00
Peplau, Nancy E.       08/10/2022       $13,748.59
Peplau, Nancy E.       09/09/2022       $13,748.59
Peplau, Nancy E.       10/07/2022       $13,748.59
Peplau, Nancy E.       11/10/2022       $13,748.59
Peplau, Nancy E.       12/09/2022       $6,874.30
Peplau, Nancy E.       12/21/2022       $6,874.29
Peplau, Nancy E.       01/10/2023       $13,748.59
Peplau, Nancy E.       02/10/2023       $13,748.59
Peplau, Nancy E.       03/10/2023       $13,748.59
Peplau, Nancy E.       04/10/2023       $6,093.43
Riad, Dahlia S         05/10/2022       $16,437.55
Riad, Dahlia S         06/10/2022       $16,437.55
Riad, Dahlia S         07/08/2022       $18,150.00
Riad, Dahlia S         08/10/2022       $16,437.55
Riad, Dahlia S         09/09/2022       $16,437.55
Riad, Dahlia S         10/07/2022       $16,437.55
Riad, Dahlia S         11/10/2022       $16,437.55
Riad, Dahlia S         12/09/2022       $8,218.78
Riad, Dahlia S         12/21/2022       $0.00
Riad, Dahlia S         01/10/2023       $8,218.78
Riad, Dahlia S         02/10/2023       $13,534.00
Riad, Dahlia S         03/10/2023       $13,534.00
Riad, Dahlia S         04/10/2023       $13,534.00
Riad, Dahlia S         05/12/2023       $13,534.00
Riad, Dahlia S         06/02/2023       $13,534.00
Rock, Jeffrey          05/10/2022       $21,263.57
Rock, Jeffrey          06/10/2022       $21,263.57
Rock, Jeffrey          07/08/2022       $22,357.00
Rock, Jeffrey          08/10/2022       $25,323.00
Rock, Jeffrey          09/09/2022       $25,323.00
Rock, Jeffrey          10/07/2022       $25,323.00
Rock, Jeffrey          11/10/2022       $25,323.00
Rock, Jeffrey          12/09/2022       $12,661.50
Rock, Jeffrey          12/21/2022       $0.00
Rock, Jeffrey          01/10/2023       $12,661.50
Rock, Jeffrey          02/10/2023       $16,331.00
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Rock, Jeffrey                     03/10/2023       $16,331.00
Rock, Jeffrey                     04/10/2023       $16,331.00
Rock, Jeffrey                     05/12/2023       $16,331.00
Rock, Jeffrey                     06/02/2023       $16,331.00
Shah, Dhrumil                     05/10/2022       $29,513.49
Shah, Dhrumil                     06/10/2022       $27,314.14
Shah, Dhrumil                     07/08/2022       $27,467.49
Shah, Dhrumil                     08/10/2022       $31,026.49
Shah, Dhrumil                     09/09/2022       $31,026.49
Shah, Dhrumil                     10/07/2022       $31,026.48
Shah, Dhrumil                     11/10/2022       $31,026.49
Shah, Dhrumil                     12/09/2022       $15,138.25
Shah, Dhrumil                     12/21/2022       $0.00
Shah, Dhrumil                     01/10/2023       $15,138.25
Shah, Dhrumil                     02/10/2023       $17,663.25
Shah, Dhrumil                     03/10/2023       $17,663.25
Shah, Dhrumil                     04/10/2023       $32,828.65
Shah, Dhrumil                     05/12/2023       $32,828.65
Shah, Dhrumil                     06/02/2023       $32,828.65
Shoemaker Zorovic, Mary Rebecca   05/10/2022       $14,537.00
Shoemaker Zorovic, Mary Rebecca   06/08/2022       $150,000.00
Shoemaker Zorovic, Mary Rebecca   06/10/2022       $15,450.00
Shoemaker Zorovic, Mary Rebecca   07/08/2022       $15,450.00
Shoemaker Zorovic, Mary Rebecca   07/20/2022       $6,361.76
Shoemaker Zorovic, Mary Rebecca   08/10/2022       $187,501.02
Shoemaker Zorovic, Mary Rebecca   12/09/2022       $0.00
Shoemaker Zorovic, Mary Rebecca   12/21/2022       $0.00
Silvia, Joanne                    05/10/2022       $13,628.00
Silvia, Joanne                    06/10/2022       $13,443.15
Silvia, Joanne                    07/08/2022       $13,553.00
Silvia, Joanne                    08/10/2022       $14,780.00
Silvia, Joanne                    09/09/2022       $14,780.00
Silvia, Joanne                    10/07/2022       $14,780.00
Silvia, Joanne                    11/10/2022       $14,780.00
Silvia, Joanne                    12/09/2022       $7,390.00
Silvia, Joanne                    12/21/2022       $7,390.00
Silvia, Joanne                    01/10/2023       $7,390.00
Silvia, Joanne                    02/01/2023       $0.00
Singh, Baljinder                  05/10/2022       $27,262.90
Singh, Baljinder                  06/10/2022       $27,262.90
Singh, Baljinder                  07/08/2022       $30,382.00
Singh, Baljinder                  08/10/2022       $31,324.00
Singh, Baljinder                  09/09/2022       $31,324.00
Singh, Baljinder                  10/07/2022       $31,324.00
Singh, Baljinder                  11/10/2022       $31,324.00
Singh, Baljinder                  12/09/2022       $15,662.00
Singh, Baljinder                  12/21/2022       $0.00
Singh, Baljinder                  01/10/2023       $15,662.00
Singh, Baljinder                  02/10/2023       $20,836.00
Singh, Baljinder                  03/10/2023       $20,836.00
Singh, Baljinder                  04/10/2023       $20,836.00
Singh, Baljinder                  05/12/2023       $20,836.00
Singh, Baljinder                  06/02/2023       $20,836.00
Sprycha, Marcin                   05/10/2022       $31,322.20
Sprycha, Marcin                   06/10/2022       $31,322.20
Sprycha, Marcin                   07/08/2022       $37,388.00
Sprycha, Marcin                   08/10/2022       $37,388.00
Sprycha, Marcin                   09/09/2022       $37,388.00
Sprycha, Marcin                   10/07/2022       $37,388.00
Sprycha, Marcin                   11/10/2022       $37,388.00
Sprycha, Marcin                   12/09/2022       $18,694.00
Sprycha, Marcin                   12/21/2022       $0.00
Sprycha, Marcin                   01/10/2023       $18,694.00
Sprycha, Marcin                   02/10/2023       $21,971.00
Sprycha, Marcin                   03/10/2023       $21,971.00
Sprycha, Marcin                   04/10/2023       $21,971.00
Sprycha, Marcin                   05/12/2023       $21,971.00
Sprycha, Marcin                   06/02/2023       $21,971.00
Thomas, Susan E                   05/10/2022       $12,912.00
Thomas, Susan E                   06/10/2022       $11,536.18
Thomas, Susan E                   07/08/2022       $15,218.00
Thomas, Susan E                   08/10/2022       $15,218.00
Thomas, Susan E                   09/09/2022       $15,218.00
Thomas, Susan E                   10/07/2022       $15,218.00
Thomas, Susan E                   11/10/2022       $15,218.00
Thomas, Susan E                   12/09/2022       $7,609.00
Thomas, Susan E                   01/10/2023       $7,609.00
Thomas, Susan E                   02/10/2023       $11,561.00
Thomas, Susan E                   03/10/2023       $11,561.00
Thomas, Susan E                   04/10/2023       $11,561.00
Thomas, Susan E                   05/12/2023       $11,561.00
Thomas, Susan E                   06/02/2023       $11,561.00
Weinstein, Bruce M                05/10/2022       $28,952.40
Weinstein, Bruce M                06/10/2022       $28,952.40
Weinstein, Bruce M                07/08/2022       $32,179.00
Weinstein, Bruce M                08/10/2022       $34,016.00
Weinstein, Bruce M                09/09/2022       $34,016.00
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Weinstein, Bruce M    10/07/2022       $34,016.00
Weinstein, Bruce M    11/10/2022       $34,016.00
Weinstein, Bruce M    12/09/2022       $16,633.00
Weinstein, Bruce M    12/21/2022       $0.00
Weinstein, Bruce M    01/10/2023       $16,633.00
Weinstein, Bruce M    02/10/2023       $19,712.50
Weinstein, Bruce M    03/10/2023       $19,712.50
Weinstein, Bruce M    04/10/2023       $29,418.33
Weinstein, Bruce M    05/12/2023       $29,418.33
Weinstein, Bruce M    06/02/2023       $29,418.33
Barber, Jamie                          Undetermined
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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION


 In re:
                                                         Chapter 7
 COMPASS MEDICAL, P.C.
                                                         Case No: 23-
                        Debtor


                  DECLARATION REGARDING ELECTRONIC FILING

        I, Jamie Barber, Chief Executive Officer of the above-captioned debtor, hereby declare
under penalty of perjury that all of the information contained in the (i) Schedules A/B-H, (ii)
Summary of Assets and Liabilities for Non-Individuals; (iii) Statement of Financial Affairs for
Non-Individuals Filing for Bankruptcy; and (iv) Declaration Under Penalty of Perjury for Non-
Individual Debtors (collectively, the “Documents”) filed electronically is true and correct to the
best of my knowledge, information and belief. I understand that this DECLARATION is to be
filed with the Clerk of Court electronically concurrently with the electronic filing of the
Documents. I understand that failure to file this DECLARATION may cause the Documents to
be struck and any request contained or relying thereon to be denied, without further notice.

        I further understand that pursuant to the Massachusetts Electronic Filing Local Rule
(MEFLR)-7(a) all paper documents containing original signatures executed under the penalties
of perjury and filed electronically with the Court are the property of the bankruptcy estate and
shall be maintained by the authorized CM/ECF Registered User for a period of five (5) years
after the closing of this case.

Dated: June 23, 2023
                                                     Signed: /s/ Jamie G. Barber
                                                              Jamie G. Barber
                                                              Chief Executive Officer
